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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BLACK LIVES MATTER D.C., et al.,

              Plaintiffs,

       v.
                                                  No. 1:20-cv-01469-DLF
DONALD J. TRUMP, et al.

              Defendants.


   PLAINTIFFS’ OPPOSITION TO DEFENDANT BARR’S, FEDERAL OFFICIAL-
   CAPACITY DEFENDANTS’, AND D.C. DEFENDANTS’ MOTIONS TO DISMISS

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                                          INTRODUCTION

           On the evening of June 1, 2020, law enforcement officers at Lafayette Square near the

White House charged, clubbed, tear-gassed, and violently dispersed civil rights demonstrators who

were lawfully and peacefully protesting police brutality against Black people in the United States.

Officers assaulted journalists and demonstrators alike and endangered children in the crowd.

Officers repeatedly hit unarmed, unthreatening people with batons and shields, knocking them to

the ground. Demonstrators struggled to breathe amidst the chemical attack. Those who attempted

to flee westward were met with a second round of tear gas from local police stationed nearby. This

was no routine, orderly clearing of a safety perimeter for the President’s movement. Rather, it was

an attack by government officers against their own people, of a degree unprecedented on U.S. soil

for the past half-century, occurring suddenly and without warning in the heart of the nation’s

capital.

           The central issue at stake in the Court’s resolution of the various Defendants’ motions to

dismiss this case is whether anyone can be held accountable for these actions or whether, however

blatant the affront to First and Fourth Amendment rights, a high-ranking federal official’s

incantation of the words “presidential security” ends the judicial inquiry. Under a system

committed to the rule of law and checks and balances as two of its fundamental ideals, the answer

is clear: Any reasonable officer—indeed, any reasonable person—would have known that the

Lafayette Square attack was flagrantly unconstitutional, and no court should hesitate for a moment

to hold that the Constitution is enforceable under these circumstances.

           The challenges to the constitutional damages claims are also shot through with a more

mundane but equally fatal flaw: disregarding the Rules of Civil Procedure, they ignore the well-

pleaded allegations of Plaintiffs’ complaint and seek dismissal based not on the facts as alleged



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but on Defendants’ own version of events. It is black-letter law that complaints cannot be dismissed

based on Defendants’ factual assertions; the time to test both parties’ evidence is at summary

judgment and, if necessary, trial.

       Taken together, these two fundamental problems with Defendants’ approach to the

constitutional damages claims add up to the view that no matter how clear the constitutional rights

involved, and no matter how excessive and unjustified the force used to violate them, these rights

are unenforceable as long as the violators say that the magic words, “presidential security,”

followed by speculative assertions in briefs. That cannot be and is not the law.

       For these reasons and the more specific ones below, Defendants’ motions should be denied.

                                 SUMMARY OF ARGUMENT

       In this brief, Plaintiffs respond to the October 1 motions to dismiss filed by Defendant Barr,

the federal official-capacity Defendants, and the D.C. Defendants. ECF 76, 79, 80. Plaintiffs will

separately respond to Defendant Vincent’s October 6 Motion to Dismiss, ECF 83, and to

Defendant Adamchik’s November 16 Motion to Dismiss, ECF 97. Plaintiffs await a response to

their Third Amended Complaint from the other individually-named federal Defendants.

       1. Damages claims for First and Fourth Amendment violations. Defendant Barr and

the D.C. Defendants challenge the constitutional damages claims (Claims 1, 2, 7, & 8) on four

grounds: qualified immunity; the availability of a Bivens claim (Defendant Barr only); whether

Plaintiffs Foley and E.X.F were seized under the Fourth Amendment (D.C. Defendants only); and

Defendants’ alleged lack of personal participation in the constitutional violations.

       On qualified immunity, the Court should deny the motions to dismiss for two independent

reasons. First, the First and Fourth Amendment violations were so clearly past the constitutional

line that their egregiousness alone places the violations beyond debate. Second, reams of precedent



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applicable to demonstrations and to the specific types of force used here also made it clear to any

reasonable officer that attacking peaceful demonstrators violated the Constitution. Defendants’

arguments to the contrary rely on conjuring facts outside of, and often directly at odds, with the

allegations of the complaint. See Part I below.

         On Bivens, this Circuit has for decades recognized the availability of both First and Fourth

Amendment Bivens claims against federal officials for violating demonstrators’ rights and has

never found that “special factors” counsel hesitation in these circumstances. Although the Supreme

Court’s approach to Bivens has evolved over the years, the new approach does not cast doubt on

this Circuit’s case law on this point. Additionally, the primary special factor invoked by Defendant

Barr—presidential security—is inapplicable here, because the demonstrators here posed no threat

to the President. The protestors were law abiding and peaceful. In fact, Defendants were the

aggressors who initiated the entire confrontation. Defendant Barr’s approach would immunize

federal officials from accountability for all constitutional violations taken in the name of

presidential security, no matter how attenuated that interest might be from officials’

unconstitutional conduct. Defendant Barr is also wrong that his high rank or the possibility of an

injunction forecloses a Bivens claim here—the Supreme Court found that these concerns applied

where Plaintiffs sought to use a damages action to challenge a general government policy, not a

discrete incident. And Defendant Barr’s argument that the Federal Tort Claims Act precludes a

Bivens claim has been squarely rejected by both Congress and the Supreme Court. See Part II

below.

         The District’s argument questioning whether Plaintiffs Foley and E.X.F. were seized is

answered by Supreme Court and Circuit precedent holding that even a momentary limitation of a

person’s freedom of moment is a seizure if it results from means intentionally applied. Here,



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Defendants deliberately incapacitated Plaintiffs with tear gas, causing them to cough, choke, and

halt in order to try to recover. See Part III below.

        Defendant Barr and the D.C. Defendants are also wrong that Plaintiffs are trying to impose

liability for constitutional violations in which they did not participate. The complaint alleges

specifically and in detail the personal involvement of each of the Defendants. See Part IV below.

        2. Standing. The federal official-capacity Defendants challenge Plaintiffs’ standing to seek

injunctive relief (Claims 3, 4, 5, 6, 9 & 10). But Defendants apply the wrong legal standard to the

question of future injury, and under the correct standard, Plaintiffs have alleged sufficient facts to

establish standing. Defendants also ignore the ongoing harms to the mission of Black Lives Matter

D.C.—the hindrance to its organizing activities and decline in member participation in its events,

all caused by Defendants’ violent attack—and the concrete diversions of its resources to measures

like new programming and communications that the organization has had to undertake to address

these injuries just to be able to carry out its normal activities. Plaintiffs have adequately pleaded

standing to seek injunctive relief. See Part V below.

        3. Municipal liability. The District argues that Plaintiffs have not adequately pleaded

municipality liability (Claims 9 & 10). But Plaintiffs have plausibly alleged that the District’s

deliberately indifferent failure to train its officers regarding the limits on their use of force caused

the constitutional violations here by D.C. police officers, who gratuitously and for no legitimate

reason tear-gassed fleeing demonstrators. Specifically, the use of force at demonstrations—and the

misuse of chemical irritants in particular—has been a recurring and longstanding problem for the

D.C. police. The District clearly understood that its officers needed to know the constitutional

limits on the use of chemical irritants against demonstrators. And the magnitude of the violations




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here, combined with the prior incidents, provide a solid basis to infer the District’s deliberate

indifference to this need—which is all that is required at the pleading stage. See Part VI below.

       4. Conspiracy claims. Finally, Defendants’ arguments against the conspiracy claims

(Claims 5 & 6) fail. All three sets of Defendants misunderstand the type of intent needed to form

a conspiracy and the manner in which a conspiracy can be shown. Defendant Barr’s reliance on

the intracorporate conspiracy doctrine is misplaced because the conspiracy involved at least three

separate entities—the District, Arlington County, and the United States. Finally, on the question

of injunctive relief, the federal official-capacity Defendants ignore precedent permitting injunctive

relief for civil-rights conspiracy claims, and it is black-letter law that sovereign immunity does not

preclude injunctive relief against federal official-capacity defendants. See Part VII below.

                                         BACKGROUND

   A. Plaintiffs And Other Civil Rights Activists Demonstrate In Lafayette Square Against
      Systemic Racism And Police Brutality.

       On May 25, 2020, George Floyd, a Black man, was killed by a police officer who held his

knee on Mr. Floyd’s neck for nearly nine minutes as Mr. Floyd pleaded “please, please, please, I

can’t breathe.” Third Amended Complaint (“TAC”) ¶ 2. On June 1, 2020, in the wake of this and

other tragic killings of Black people, Plaintiffs and other class members assembled in Lafayette

Square in Washington, D.C., directly across the street from the White House. TAC ¶ 65.

       The individual Plaintiffs are eight local residents of various races and backgrounds, who

came to Lafayette Square to speak out against racism and police brutality. TAC ¶¶ 128-31, 138-

39, 146-47, 165-67, 177-79. One of the Plaintiffs is a veteran of the U.S. Navy. TAC ¶ 138. Two

others are children who came to demonstrate with their parents. TAC ¶¶ 131, 179. Plaintiff Black

Lives Matter D.C. (“BLMDC”) is a D.C. corporation that organizes against systemic racism

through protests, public campaigns, and other programming. TAC ¶ 9. BLMDC members were

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demonstrating, observing law enforcement activities, and providing aid to demonstrators in and

around Lafayette Square on June 1, 2020. TAC ¶¶ 9, 119.

       Many of the named Plaintiffs arrived at Lafayette Square between 6:00 and 6:20 pm. TAC

¶¶ 140, 149, 156, 169. Plaintiffs Foley and E.X.F. arrived earlier in the afternoon to hand out

sandwiches and water to fellow demonstrators. TAC ¶ 180. Plaintiffs Sanders and J.N.C. arrived

at about 4:30 pm. TAC ¶ 132. None of the Plaintiffs saw any dangerous or unlawful activities.

TAC ¶¶ 133, 140, 149, 158, 169, 182. The demonstrators, including Plaintiffs, chanted “I can’t

breathe,” knelt, raised their hands up, and engaged in other acts of non-violent expressive conduct

to protest police brutality against Black people. TAC ¶ 65.

   B. Federal And Local Law Enforcement Clear Lafayette Square And Assault Plaintiffs
      And Other Demonstrators Without Warning Or Justification.

       Federal and local law enforcement officers, including from the U.S. Park Police, U.S.

Secret Service, Federal Bureau of Prisons, D.C. National Guard, and Arlington County Police

Department (“ACPD”), massed at Lafayette Square. TAC ¶ 67. By 5:30 pm, Defendant Vincent

of ACPD was in the Joint Operations Command Center, helping coordinate the actions of ACPD

and federal agencies. TAC ¶¶ 45, 76. District of Columbia Metropolitan Police Department

(“MPD”) officers were in formation one block west of Lafayette Square, forming a line on the

north and west sides of the intersection of 17th and H Streets NW. TAC ¶ 72. Both federal and

MPD officers donned gas masks in preparation for a chemical attack. TAC ¶¶ 75, 77. MPD

regularly acts in coordination with federal law enforcement to police major demonstrations. TAC

¶ 105. At around 6 p.m., an MPD supervisory officer met with U.S. military officers in the presence

of the Chief of Staff of the United States Army on 16th Street NW, less than two blocks north of

Lafayette Square. TAC ¶ 106.




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       At 6:08 pm, Defendant Barr entered Lafayette Square behind law enforcement officers and

pointed north towards St. John’s Church. TAC ¶¶ 78-79. Barr personally ordered Lafayette Square

cleared, as the Department of Justice later acknowledged. TAC ¶ 79. Around the same time, the

Secret Service was notified that President Trump planned to make an appearance outside of St.

John’s Church. TAC ¶ 80.

       At approximately 6:30 pm, on the orders of Defendant Adamchik of the U.S. Park Police,

federal and Arlington County law enforcement officers clad in riot gear attacked the peaceably

assembled protestors. TAC ¶¶ 20, 81-82. At the time the orders were given by Defendants Barr

and Adamchik, Plaintiffs and members of the Plaintiff class were not engaging in unlawful conduct

or conduct that posed a threat of violence against any person or property, or public safety generally.

TAC ¶¶ 86-87, 133, 140, 149, 158, 169, 182. Defendants U.S. Park Police officers Feliciano,

Locasico, Jarmuzewski, Hendrickson, Cox, McDonald, Sinacore, Daniels, Kellenberger, and

Seiberling all took part in the attack. TAC ¶¶ 21-30 (identifying many of these individuals by

helmet or arm patch numbers); cf. ECF 84 (correlating numbers in the complaint with officer

names). The D.C. Defendants stationed a block west of the federal officers’ charge attacked

demonstrators as they fled and drove them farther away from the Square. TAC ¶ 107. The

proximity and similarity between the federal and MPD actions reflect a coordinated plan to drive

demonstrators away from Lafayette Square and its vicinity by force. TAC ¶¶ 105-07.

       Despite the lack of any threat, federal officers fired flash-bang shells, tear gas, pepper

spray, smoke canisters, pepper balls, rubber bullets, and other projectiles and chemical irritants

into the crowd. TAC ¶ 88. Rubber bullets fired by Defendants struck Plaintiff Scallan in her face,

arm, and leg, TAC ¶¶ 159-60; Defendants’ tear-gas cannisters made her struggle to breathe, and

she could hear other demonstrators vomiting. TAC ¶¶ 161-62. Plaintiff Bond aided a demonstrator



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who had a rubber bullet lodged in his face and was bleeding profusely. TAC ¶¶ 150-51. Irritants

caused Plaintiff Sanders to tear up. TAC ¶¶ 135. Plaintiff McDonald witnessed concussion

grenades exploding with enough force to put holes in the ground. TAC ¶ 142. Plaintiffs Foley and

E.X.F. suffered the effects of tear gas fired by federal officers and then, when they attempted to

flee, were injured by more tear gas fired by MPD officers including Defendant Thau under the

supervision of Defendants Alioto and Carroll. TAC ¶¶ 101, 103, 187-94. Plaintiffs Foley and

E.X.F. experienced burning eyes and difficult breathing; E.X.F. could barely open her eyes. TAC

¶ 194. As a result, they stopped to take shelter and attempt to recover at the end of some scaffolding

over the sidewalk. TAC ¶ 195. When Mr. Foley informed MPD officers that his daughter was

injured and needed help, the officers ignored his pleas and told them to move, even though the

only place to go was into the cloud of more tear gas. TAC ¶¶ 196-97. Plaintiffs Foley and E.X.F.

obeyed; the additional gas they encountered exacerbated their symptoms. TAC ¶¶ 198-99. MPD

officers, including Defendants Buchanan, Hargrove, Meyer, Murphy, Payne, Taylor, Thau and

Willis, under the supervision of Defendants Carroll and Alioto, chased demonstrators south down

17th Street NW, further driving them away from Lafayette Square. TAC ¶¶ 102-03.

       Federal officers also hit, punched, shoved, and otherwise assaulted the demonstrators with

their fists, feet, batons, and shields; victims included demonstrators whose backs were turned from

the police and who were trying to flee the officers. TAC ¶ 90. For example, Plaintiff McDonald

was repeatedly struck by multiple officers with their shields. TAC ¶ 141. When the assault began,

Plaintiff Poteet stood with her hands up, holding a sign she had brought with her in one hand and

her phone in another. TAC ¶ 171. An officer charged her, knocking her down with his riot shield

and causing Ms. Poteet to drop her phone. TAC ¶ 172. Even while she was on the ground, the

officer beat her with his baton, kicking or striking her in the stomach and knocking the wind out



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of her. Id. Ms. Poteet attempted to crawl away, briefly stood up, and bent down to pick up her

phone. TAC ¶ 173. The officer knocked her over again, hitting her even harder. Id. She limped

away, struggling to breathe, with flash bangs exploding at her feet. TAC ¶¶ 173-74.

       Others class members experienced similar treatment. For example, a protestor holding a

bandage to his face and walking down H Street towards 17th Street NW was rushed from behind

and slammed into the wall of a building by Defendant Sinacore and other U.S. Park Police officers.

TAC ¶ 91. After the protestor tried to run away, Defendant Sinacore chased him down and beat

him with his baton. Id. Defendant Feliciano used his shield to bash a protestor who was scrambling

to avoid the charging line of law enforcement officers. TAC ¶ 92. Some officers, including

Defendant Seiberling, pursued demonstrators on horseback. TAC ¶ 90.

       Federal officers also committed unprovoked assaults on people who were clearly

journalists. TAC ¶ 96. For example, Defendant Kellenberger beat Australian news correspondent

Amelia Brace in the back with his baton as she was fleeing. TAC ¶ 97. Defendant Daniels charged

and then shoved a journalist holding a microphone and attempting to flee. TAC ¶ 98.

       All of this happened without protestors having received any warning to disperse. TAC

¶¶ 85, 107, 135, 141, 159, 188. And at no time before or during the attack did any of the Defendants

give any indication that Plaintiffs or any demonstrators would be permitted to resume their

demonstration nearby—for instance, after having moved a prescribed distance away. TAC ¶ 108.

Indeed, Defendants’ use of force to scatter the demonstrators was so overwhelming, and injured

so many people, that resuming the demonstration elsewhere was impossible. See TAC ¶ 88.

   C. The President And Attorney General Were Involved In The Attack.

       The attack occurred at least in part at the behest of Defendants Trump, Barr, and other

senior White House officials. TAC ¶ 202. Defendant Barr personally ordered officers to forcibly



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remove Plaintiffs and other class members from Lafayette Square and its vicinity. Id. Shortly after

the attack, the President and his senior advisors, including Attorney General Barr, then-Secretary

of Defense Esper, and others, walked from the White House to St. John’s Church, located across

Lafayette Square from the White House, for photographs. TAC ¶¶ 203-04.

       President Trump’s statements indicate that the attack was pre-planned and the amount of

force used was not in response to any actual or anticipated threat from the demonstrators. In the

days and hours leading up to the Lafayette Square attack, President Trump repeatedly advocated

for the use of force against Black demonstrators and civil rights activists protesting in D.C. and

around the nation. For example, on May 29, President Trump posted on social media about the

protests that “when the looting starts, the shooting starts”—a racist slogan used by a police chief

in 1967 to advocate for police brutality and discrimination against Black Americans. TAC ¶ 54.

On the same day on Twitter, President Trump described racial justice protesters as “THUGS.” Id.

On May 31, President Trump tweeted, “These people [civil rights protesters] are ANARCHISTS.

Call in our National Guard NOW,” TAC ¶ 55, and retweeted: “This isn’t going to stop until the

good guys are willing to use overwhelming force against the bad guys.” TAC ¶ 56.

       On June 1, prior to the violent attack on the demonstrators, President Trump had a

conference call with governors, whom he urged to “dominate your city and your state” in response

to civil rights protests. TAC ¶ 57. When one governor proposed balancing being “tough” with

being “careful,” President Trump corrected him, stating, “You don’t have to be too careful.” TAC

¶ 58. During this call, then-Defense Secretary Esper said that governors needed to “dominate the

battle space”—the “battle space” being the streets U.S. cities where people were peaceably

protesting. TAC ¶ 59. After the call, the President warned, “In Washington we’re going to do

something people haven’t seen before.” TAC ¶ 57. That same day, he told senior advisors that they



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had to show they could control the streets of Washington and the White House area. TAC ¶ 60. As

the Lafayette Square attack was occurring, President Trump gave remarks in the White House

Rose Garden, vowing that “[if] a city or a state refuses to take the actions that are necessary to

defend the life and property of their residents, then I will deploy the United States military and

quickly solve the problem for them.” TAC ¶ 61.

       President Trump has taken a different approach to demonstrators with other viewpoints.

On May 30, while criticizing the racial justice protesters outside the White House, President Trump

specifically encouraged his supporters to engage in a counter-demonstration, tweeting: “The

professionally managed so-called ‘protesters’ at the White House had little to do with the memory

of George Floyd. The @SecretService handled them easily. Tonight, I understand, is MAGA

NIGHT AT THE WHITE HOUSE???” TAC ¶ 64. Earlier in the year, when heavily armed and

predominantly white demonstrators threatened lawmakers and stormed statehouses to object to

coronavirus stay-at-home rules, President Trump posted a series of tweets encouraging these

armed and predominantly white demonstrators; his messages included “LIBERATE

MICHIGAN!”; “LIBERATE MINNESOTA!”; and “LIBERATE VIRGINIA, and save your great

2nd Amendment. It is under siege!” TAC ¶ 63.

       The day after the attack, President Trump praised it, tweeting: “D.C. had no problems last

night. Many arrests. Great job done by all. Overwhelming force. Domination.” TAC ¶ 205.

   D. MPD Failed To Train Its Officers Regarding Demonstrators’ Rights.

       MPD has a long history of using unjustified, excessive force to attack and interfere with

demonstrations, including its response to Inauguration Day protests in 2017 and the January 2005

pepper-spraying and arrest of numerous peaceful protestors demonstrating against the inauguration

at the White House and in Adams Morgan, among others. TAC ¶ 110. After the attack at Lafayette



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Square, MPD continued to use excessive force and intimidation against Black Lives Matter

protestors, including through tear gas and unjustified arrests and detentions. TAC ¶¶ 113-14. The

prior incidents of excessive force during demonstrations, many of which involved chemical

irritants and related to presidential events, made the need for training so obvious, and the violation

of Plaintiffs’ rights so likely, that the District was deliberately indifferent to the risk of

constitutional violations. See TAC ¶¶ 110-15.

   E. The Lafayette Square Attack Injured Plaintiffs.

       Both BLMDC and the individual Plaintiffs were injured by the Lafayette Square attack.

Members of BLMDC were in or near Lafayette Square during the attack and were victims of

Defendants’ use of force. TAC ¶ 120. Defendants’ actions have frustrated the mission of BLMDC

to fight racial injustice. As a result of Defendants’ actions and the fear they caused among its

members, BLMDC’s organizing activities have been hampered and attendance at its protest events

has declined. TAC ¶¶ 122-25. In response, BLMDC has had to divert resources from planned

programming like trainings so that it can create safety plans for protests; fund medical support,

protective gear (such as goggles), mental health services, and transportation from demonstrations

for persons injured by Defendants; and undertake new communications and outreach to counteract

the fear that the Lafayette Square attack has instilled in its members. TAC ¶¶ 126-27.

       The individual Plaintiffs were injured emotionally by the trauma of the event and fear of

excessive force by law enforcement at future demonstrations. TAC ¶¶ 137, 145, 154, 176, 200-01.

They were injured physically, as well—by the tear gas, TAC ¶¶ 135, 142, 162, 174, 187, 193-98,

and by other aspects of the attack. Plaintiff Scallan was hit with rubber bullets, which caused pain

and bruises on her arm and cuts on her face and lips and made it difficult to eat or brush her teeth.

TAC ¶¶ 160, 164. Days after the attack, Plaintiff Poteet still had welts on her torso and bruises



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from where the officer beat her, and her knee (on which she had previously had ACL surgery) was

bruised and swollen. TAC ¶¶ 173, 175. Plaintiff J.N.C., age 9, is traumatized by the assault and

experiences anxiety when Plaintiff Sanders (his stepmother) goes to protests. TAC ¶ 137.

       Plaintiffs intend to continue demonstrating against police brutality, TAC ¶¶ 176, 201,

including at the White House. TAC ¶ 129.

   F. Procedural History.

       Plaintiffs filed this case on June 4, 2020, and have amended the complaint three times,

asserting claims on behalf of themselves and two separate classes of similarly situated individuals

(one class for damages; one for equitable relief). ECF 1, 11, 29, 52. The individual Plaintiffs (and

the damages class) seek damages for First and Fourth Amendment violations under Bivens against

Defendant Barr and eleven named U.S. Park Police officers and other as-yet-unnamed “John Doe”

federal officers (Claims 1 & 2) and (for Plaintiffs Foley and E.X.F. and the damages class) under

42 U.S.C. § 1983 against ten named MPD officers and other “John Doe” MPD officers (Claims 7

& 8). Plaintiff Black Lives Matter D.C., some of the individual Plaintiffs, and the injunctive-relief

class seek declaratory and injunctive relief on First and Fourth Amendment grounds against seven

federal official-capacity Defendants (Claims 3 & 4) and the Chief of MPD (Claims 9 & 10).

Plaintiffs and both classes seek damages (as to all federal and D.C. individual-capacity defendants

along with ACPD Captain Vincent) and equitable relief (as to all official-capacity defendants) for

conspiracy to deprive plaintiffs of their civil rights, and failure to prevent such a conspiracy, under

42 U.S.C. §§ 1985 and 1986, respectively (Claims 5 & 6).

       Plaintiffs sought but were denied early discovery to identify additional individual

defendants. ECF 46. Plaintiffs also moved for class certification; the Court stayed briefing pending

resolution of Defendants’ motions to dismiss. ECF 47; Minute Order of Sept. 3, 2020.



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       On October 1, separate motions to dismiss were filed by Defendant Barr in his individual

capacity, ECF 76 (“Barr MTD”); by all federal Defendants sued in their official capacities, ECF

79-1 (“U.S. MTD”); and by all MPD Defendants, ECF 80-1 (“D.C. MTD”). Defendant Vincent

separately moved to dismiss on October 6. ECF 83. The Court granted Plaintiffs permission to file

this 90-page consolidated opposition to the Barr, U.S., and D.C. motions. Minute Order of Nov. 6,

2020. Plaintiffs will respond to Defendant Vincent’s motion separately.

       Additional Defendants—U.S. Park Police officers sued in their individual capacities—

have begun to file their own motions to dismiss: Defendant Adamchik did so on November 16,

ECF 97; Defendant Seiberling will do so on January 11, see Minute Order of Nov. 16, 2020; other

individual defendants have been served more recently after difficulties in effectuating service.

                                     LEGAL STANDARD

       A complaint need only provide “a short and plain statement … showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). When ruling on a motion to dismiss, the Court must

accept as true all facts plausibly pleaded in the complaint, drawing all reasonable inferences in

plaintiffs’ favor. Hurd v. District of Columbia, 864 F.3d 671, 678 (D.C. Cir. 2017). “Plausibility

does not mean certainty,” only that the claim “rises ‘above the speculative level.’” Sandvig v.

Sessions, 315 F. Supp. 3d 1, 11 (D.D.C. 2018) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). To the extent inferences must be drawn to show that the defendant is liable, they must

merely be reasonable, Hurd, 864 F.3d at 678, and need not be the only possible inferences.

Evangelou v. District of Columbia, 901 F. Supp. 2d 159, 170 (D.D.C. 2012). Indeed, “[a] complaint

survives a motion to dismiss even if there are two alternative explanations, one advanced by the

defendant and the other advanced by the plaintiff, both of which are plausible.” Banneker Ventures,

LLC v. Graham, 798 F.3d 1119, 1129 (D.C. Cir. 2015) (cleaned up). Plaintiffs are permitted to



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plead with less specificity, and even “on information and belief,” “where the facts are peculiarly

within the possession and control of the defendant, or where the belief is based on factual

information that makes the inference of culpability plausible.” Evangelou, 901 F. Supp. 2d at 170

(cleaned up); accord, e.g., Tolton v. Day, 2020 WL 2542129, at *14 (D.D.C. May 19, 2020);

Hedgeye Risk Mgmt., LLC v. Heldman, 271 F. Supp. 3d 181, 189 (D.D.C. 2017).

        Critically, “the Court cannot resolve factual disputes ... on a motion to dismiss” under Rule

12(b)(6). Burnett v. Wash. Metro. Area Transit Auth., 58 F. Supp. 3d 104, 108-09 (D.D.C. 2014);

accord, e.g., Behrens v. Tillerson, 264 F. Supp. 3d 273, 278 (D.D.C. 2017); Richards v. Gelsomino,

240 F. Supp. 3d 173, 178 (D.D.C. 2017). Rather, “unresolved factual questions preclude dismissal”

at this stage and must be adjudicated later. Beyond Pesticides v. Monsanto Co., 311 F. Supp. 3d

82, 88 (D.D.C. 2018); accord, e.g., Holmes v. Univ. of D.C., 244 F. Supp. 3d 52, 54 (D.D.C. 2017).

        Under these standards, Plaintiffs’ allegations easily clear Rule 8’s “low bar.” Holt v. Walsh

Grp., 316 F. Supp. 3d 274, 282 (D.D.C. 2018).

                                              ARGUMENT

        As to the claims for damages for the constitutional violations, Claims 1, 2, 7, & 8, Plaintiffs

adequately allege violations of their clearly established First and Fourth Amendments rights (Part

I). Those claims can be pursued against federal officials under Bivens (Part II). Plaintiffs

adequately allege that Plaintiffs Foley and E.X.F were seized within the meaning of the Fourth

Amendment (Part III), and that Defendant Barr and the D.C. Defendants personally participated

in the constitutional violations (Part IV).

        Plaintiffs adequately allege standing, in particular to seek injunctive relief in Claims 3, 4,

5, 6, 9 & 10 (Part V). Plaintiffs adequately allege municipal liability for Claims 9 & 10 based on

the District of Columbia’s failure to train its officers (Part VI).



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       Finally, Plaintiffs adequately allege that Defendants are liable for engaging in and failing

to prevent a conspiracy to violate their civil rights, Claims 5 & 6 (Part VII).

I.     Plaintiffs State A Claim For Violations Of Clearly Established Constitutional
       Rights; Qualified Immunity Must Therefore Be Denied (Claims 1, 2, 7 & 8).

       We begin with the issue at the heart of the case: whether Defendants violated Plaintiffs’

clearly established First and Fourth Amendment rights. Defendant Barr and the D.C. Defendants

both assert qualified immunity, and the District Defendants also contest the merits of the First

Amendment claim as to them. Barr MTD 33-42; D.C. MTD 20-22, 24-28. Qualified immunity

must be denied where the defendants violated clearly established rights of which a reasonable

person in defendants’ position would have known because either controlling authority or “a robust

consensus of cases of persuasive authority” placed the constitutional question beyond debate.

District of Columbia v. Wesby, 138 S. Ct. 577, 589-90 (2018) (citation and internal quotation marks

omitted). Plaintiffs need not identify a precisely on-point precedent, see id.; rather, the law need

only have provided “fair warning” that the conduct was unconstitutional. Hope v. Pelzer, 536 U.S.

730, 741 (2002); accord Tolan v. Cotton, 572 U.S. 650, 656 (2014) (per curiam).

       Independently, qualified immunity must also be denied in the “‘obvious case,’ where the

unlawfulness of the officer’s conduct is sufficiently clear even though existing precedent does not

address similar circumstances.” Wesby, 138 S. Ct. at 590 (quoting Brosseau v. Haugen, 543 U.S.

194, 199 (2004) (per curiam)); accord Safford Unified Sch. Dist. No. 1 v. Redding, 557 U.S. 364,

377 (2009) (“[O]utrageous conduct obviously will be unconstitutional, this being the reason ... that

the easiest cases don’t even arise.” (cleaned up)). The Supreme Court recently applied this

principle to summarily reverse a grant of immunity because a lower court failed to recognize that

the “particularly egregious facts” alone should have alerted any reasonable officer that the conduct




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at issue was unconstitutional. Taylor v. Riojas, No. 19-1261, 2020 WL 6385693, at *2 (U.S. Nov.

2, 2020).

        This is a case of obvious unconstitutionality. Attacking a peaceful protest in the

“quintessential public forum,” of Lafayette Square, United States v. Doe, 968 F.2d 86, 87 (D.C.

Cir. 1992), without warning and with unprovoked and overwhelming force, including the use of

chemical weapons, rubber bullets, and baton charges, is such a clear violation of both the First and

Fourth Amendments that no elaboration through case law is needed. Even so, on-point cases exist

in droves and provide an independent reason that immunity must be denied. Taking Plaintiffs’

detailed factual allegations as true—as required at this stage—the question isn’t even close.

        This violation was so egregious that none of the Defendants actually defends the conduct

on the merits. The federal official-capacity defendants do not even attempt to defend the

constitutionality of the actions alleged; they contest only Plaintiffs’ right to equitable relief.

Defendant Barr and the D.C. Defendants defend the constitutionality not of the conduct Plaintiffs

allege but of other hypothetical conduct they posit—in contravention of the basic legal standard

applicable to motions to dismiss. The time to dispute the facts, of course, is at trial, not the pleading

stage. Indeed, deciding a motion to dismiss based on matters outside the pleadings is reversible

error. See Hurd v. District of Columbia, 864 F.3d 671, 686-87 (D.C. Cir. 2017). That no Defendant

can even articulate a defense on the merits regarding the conduct alleged speaks volumes.

        Plaintiffs explain in turn why each of the constitutional rights at issue was both obviously

violated and, independently, clearly established by binding authority or a consensus of persuasive

authority such that unlawfulness of Defendants’ conduct was beyond debate.




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   A. No reasonable government official or law-enforcement officer could have thought
      that attacking a peaceful protest was constitutional under the Fourth Amendment.

       1. The Fourth Amendment violation was obvious, as the use of force lacked any
          semblance of justification.

       It is black-letter law that a “use of force is excessive and therefore violates the Fourth

Amendment if it is not ‘reasonable,’ that is, if ‘the nature and quality of the intrusion on the

individual’s Fourth Amendment interests’ is weightier than ‘the countervailing governmental

interests at stake.’” Rudder v. Williams, 666 F.3d 790, 795 (D.C. Cir. 2012) (quoting Graham v.

Connor, 490 U.S. 386, 396 (1989)). Under this standard, “a police officer must have some

justification for the quantum of force he uses. … [Although courts] will accord a measure of

respect to the officer’s judgment about the quantum of force called for in a quickly developing

situation, … the state may not perpetrate violence for its own sake. Force without reason is

unreasonable.” Id. at 977 (cleaned up).

       Taking the facts of the complaint as true, Judge Griffith’s simple and powerful distillation

of the essence of excessive force law—that “[f]orce without reason is unreasonable”—requires

denial of this motion. Plaintiffs broke no laws and posed no threat. TAC ¶¶ 86-87. The Defendants

gave no audible warning that Plaintiffs were obligated to move. TAC ¶¶ 84-85. Every reasonable

law enforcement officer knows that, under the Fourth Amendment, officers cannot use force, much

less tear gas and batons, against people who are doing nothing wrong.

       The degree of force used underscores how far out of bounds Defendants’ conduct was. As

the complaint details, Defendants “fired flash-bang shells, tear gas, pepper spray, smoke canisters,

pepper balls, rubber bullets, and/or other projectiles and other chemical irritants into the crowd,”

TAC ¶ 88, “hit, punched, shoved, and otherwise assaulted the demonstrators with their fists, feet,

batons, and shields, including demonstrators whose backs were turned from the police and who



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were trying to flee the officers,” TAC ¶ 90, pursued demonstrators on horseback, id., knocked

many protestors to the ground, id., and in general “injected danger into what had been a calm

protest as those in the street fled mounted police to avoid being trampled, struck by projectiles or

gassed.” Id. And more: Defendant Sinacore slammed a man into a building from behind and then

beat him when he tried to run away. TAC ¶ 91. Defendant Kellenberger used his baton to strike a

television journalist in the back as she was trying to flee the onslaught. TAC ¶ 97. Defendant Thau

discharged a tear gas grenade launcher into the crowd of fleeing protesters. TAC ¶ 101. Any

reasonable officer would have known that these uses of force were grossly impermissible in the

circumstances alleged in the complaint.

       Defendants’ attempts to defend their conduct fail because they are premised on logical and

legal errors that no reasonable officer would have made and because they dispute the facts as

plausibly alleged in the complaint. To start, Defendant Barr and the D.C. Defendants emphasize

the conduct of other protestors on other occasions. For instance, Barr invokes “criminal actors and

extremist groups” who “attempted to hijack the protests with a number of lawless and dangerous

acts” included “rioting, arson, and looting.” Barr MTD 1. The District similarly discusses various

acts that it asserts occurred at times other than in the early evening June 1 and at places other than

Lafayette Square. D.C. MTD 3-6 (citing reports of events on May 30, on May 31, and at around

10 p.m. on June 1, at locations—“New Jersey Avenue,” Chinatown, and “on Fourth and Seventh

Streets”—nowhere near the White House). Based on prior reports of unrest, Defendant Barr

argues, the officers in Lafayette Square on June 1 “could have thought it reasonable to use

significant force to control the crowd in order to further the government’s interest in law

enforcement and prevent bad actors from using the crowd as cover to endanger the officers.” Barr

MTD 41.



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       This guilt-by-association approach to law enforcement is obviously wrong based on first

principles. Probable cause to search or seize must be particularized to the persons being seized or

searched. See Ybarra v. Illinois, 444 U.S. 85, 91 (1979) (search); Barham v. Ramsey, 434 F.3d

565, 573-74 (D.C. Cir. 2006) (seizure). Nothing in the complaint connects Plaintiffs or the other

demonstrators to Defendants’ assertions of criminal conduct by other actors at other days, times,

or places—except the common message seeking an end to racial injustice and police brutality. If

Plaintiffs can be assaulted because other people with the same social or political views engaged in

illegal activity at some other time and place, then every civil rights demonstrator in the District

this past summer was properly subject to beating, tear-gassing, and arrest. That theory is so

absurdly wrong that no reasonable officer could have entertained it.

       Defendant Barr argues that the “paramount interest” of presidential security justifies

apparently any use of force, no matter how excessive the force and no matter how attenuated from

its objective. Barr MTD 41. That is plainly incorrect. Would the President’s decision to walk across

Lafayette Square have justified a decision to shoot the peaceful demonstrators in the vicinity with

live ammunition? Of course not. The D.C. Circuit has specifically rejected “the Government’s

argument that mere mention of the President’s safety” defeats a claim of a constitutional right.

Quaker Action Grp. v. Hickel, 421 F.2d 1111, 1117 (D.C. Cir. 1969) (“Quaker Action I”). Instead,

courts must “assure [them]selves that [the Government’s] conclusions rest upon solid facts and a

realistic appraisal of the danger rather than vague fears extrapolated beyond any foreseeable

threat,” as “there is a wide gulf between disorderliness on Pennsylvania Avenue and a storming of

the White House over a tall, pointed steel fence and across 230 feet of lawn.” Id. at 1117-18.

       Accordingly, presidential security is not a talisman that wards off all Fourth Amendment

scrutiny; rather, like any other law enforcement interest (including the weighty interests in the lives



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of officers themselves and of civilian bystanders), it is subject to a Fourth Amendment

reasonableness analysis. And like any other interest, it may be so attenuated from a particular

decision to use force and so plainly inadequate to justify the quantum of force applied that in some

circumstances it provides no justification at all. That is the case here. Immunizing any putative

presidential security-related use of force from Fourth Amendment scrutiny would effectively

permit the President to declare his intent to visit any location and then send officers out ahead of

him to attack anyone in the area—as opposed to simply ordering people to move out of the way of

a forthcoming presidential movement, audibly, and with enough time to comply.

       Again, as alleged in the complaint, Plaintiffs were not asked or ordered to move. They were

not disobeying any orders of that kind or any other. They posed no threat to the President or anyone

else. Yet Defendants swept them away from Lafayette Square using tear gas, rubber bullets, and

an armed charge. None of this was remotely necessary to protect presidential security, and no

reasonable officer could possibly have believed that it was.

       In arguing otherwise, Defendants manufacture allegations absent from—and in many cases

at odds with—the complaint. For instance, Defendant Barr cites “information that members of the

crowd were passing rocks amongst themselves, threw a water bottle in the Attorney General’s

direction, threw projectiles at the officers” and also “intelligence that some had stockpiled bricks

and bottles at the church.” Barr MTD 36 n.20. These allegations contradict the complaint, which

squarely alleges that the crowd was peaceful generally, and specifically that at the moment of

Defendants’ attack, “the Plaintiffs and the members of the Plaintiff class were not engaging in

unlawful conduct” or “any conduct that posed a threat of violence against any person, property, or




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public safety generally.” TAC ¶¶ 86-87.1 A motion to dismiss is not the place to resolve factual

disputes, and the Plaintiffs allegations must be taken as true. The Attorney General will have an

opportunity to present an alternative factual narrative at trial.

        Defendant Barr also argues that the complaint contains “no suggestion that the Attorney

General or officers under his control could differentiate among lawful protesters and those who

might have infiltrated the crowd to do violence.” Barr MTD 4. But the very premise that anyone

“might have infiltrated the crowd to do violence” such that Defendants needed a method for

identifying such people comes solely from Defendant Barr’s own brief—not from anything in

Plaintiffs’ complaint. If Defendants’ position is that some nefarious “infiltrators” justified

Defendants’ violent attack on the whole peaceful assembly, that factual claim will have to await

testing at a later stage; it is no part of the complaint. Plaintiffs have alleged in detail that their

peaceful, non-threatening protest was broken up by Defendants’ massive and indiscriminate use




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  Defendant Barr attempts to inject his allegations into the complaint itself by claiming they were
incorporated by reference when Plaintiffs cited news articles about the demonstration. But the
contents of documents cited in complaints are not incorporated where they are not “integral” to the
complaint and do not “form the basis for a claim,” Banneker Ventures, LLC v. Graham, 798 F.3d
1119, 1133 (D.C. Cir. 2015), unless what is at issue is the mere existence of the content, see Nader
v. Dem. Nat’l. Comm., 567 F.3d 692, 700 (D.C. Cir. 2009) (in deciding question of “fraudulent
concealment” for tolling statute of limitations, court could consider the fact that news articles cited
in complaint revealed what plaintiff alleged had been concealed). Applying this principle to news
articles, this Court has explained that plaintiffs do not “adopt every word in a cited document as
true for pleading purposes.” In re Domestic Airline Travel Antitrust Litig., 221 F. Supp. 3d 46, 71
(D.D.C. 2016). Here, the contents of the articles Plaintiffs cite are not integral to their claim; they
merely provide corroborating sources for the allegations to underscore their “plausibility.” And
Defendant Barr mischaracterizes the articles he cites: they do not state as fact any of Barr’s
allegations regarding anything thrown at the Attorney General; or rocks, bricks and bottles; or
projectiles generally; instead, the allegations on which he relies come almost exclusively from
government spokespeople quoted in the stories. See, e.g., Carol D. Leoning et al., Barr Personally
Ordered Removal of Protesters Near White House, Leading to Use of Force Against Largely
Peaceful Crowd, Wash. Post, June 2, 2020, cited at Barr MTD 36 n.20.
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of force. Defendants must meet that allegation squarely rather than creating a straw man based on

alternative assertions of their own.

       In venturing beyond the allegations of the complaint, Defendant Barr cannot even stick to

a consistent story. Although he repeatedly posits that Defendants were reacting to a threat or

clearing the way for the President, Barr MTD 1, 4, 34-36, 39, 41, he separately “disputes plaintiffs’

allegations that he cleared the park for the purpose of allowing the President to deliver his remarks

there,” Barr MTD 35 n.19, and further cites his own testimony to Congress “that the decision to

disperse the protesters was based on an earlier-devised plan within the Executive Branch to expand

the White House perimeter and to install fencing at Lafayette Square,” Barr MTD 21 n.14.

Although parties may argue in the alternative, Barr’s contradictory accounts of his conduct—one

planned in advance, the other reactive to emerging circumstances—only underscore the

importance of the normal requirements in considering motions to dismiss: that allegations in the

complaint are presumed true, and that defendants cannot rely on facts outside the complaint.

Whether Defendant Barr can provide evidence to support any of his competing justifications is a

matter for another stage of the case.

       Like Defendant Barr, the D.C. Defendants introduce their own speculations and hypotheses

in order to try to justify their conduct. According to the District, its officers faced a “surging

crowd,” or—elaborating on the theme—“an aggressive crowd that as a whole had turned its ire

towards them” and “who were confrontational and threatened to overcome the MPD officers’

position.” D.C. MTD 3, 26. From the perspective of what is alleged in the complaint, that is pure

make-believe. Demonstrators were “fleeing.” TAC ¶ 101, 193. The allegations that the

demonstrators had “turned” any “ire” toward anyone such that they “threaten[ed]” anyone’s

“position” are entirely those of the Defendants, not the Plaintiffs.



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       Defendants also cannot avoid Plaintiffs’ allegations by waving around the label

“implausible.” Plaintiffs’ allegations are based on Plaintiffs’ personal experience as eyewitnesses

to the events of which they complain and also supported by news reports and official statements

from the White House and Justice Department—far more than is required for plausible notice

pleading. See TAC ¶¶ 60-61 & nn. 14-15, ¶¶ 88-90 & nn. 16-18, ¶ 202 & n.19. These well-

supported allegations are in no way comparable to those at issue in Ashcroft v. Iqbal, 556 U.S.

662, 683 (2009), which concerned speculation about defendants’ motives without a basis for such

inference.

       Qualified immunity does not suspend the normal rules of civil procedure. See Tolan v.

Cotton, 572 U.S. 650, 656-57 (2014) (per curiam) (summarily reversing appellate court’s failure

to apply settled summary judgment standards in qualified immunity context). Should Defendants

be able to substantiate a justification for their uses of force, they may seek qualified immunity

again later in the case. That possibility is irrelevant to the unavoidable conclusion that the facts in

the complaint state a claim for the violation of Plaintiffs’ clearly established Fourth Amendment

rights by the use of overwhelming force against peaceful, law-abiding demonstrators.

       2. Precedent independently places the Fourth Amendment violation beyond debate.

       In addition to their obviousness, each of the uses of force at issue here violated Fourth

Amendment rights clearly established by binding authority, a consensus of persuasive authority,

or both. The D.C. Circuit has specifically held that baton strikes against non-threatening and non-

resisting individuals violate the Fourth Amendment. See Rudder, 666 F.3d at 795 (baton strike

“unprovoked and without warning” violates the Fourth Amendment). The D.C. Circuit has also

specifically recognized the unjustified use of chemical agents to be unconstitutionally excessive.

Norris v. District of Columbia, 737 F.2d 1148, 1152 (D.C. Cir. 1984) (R.B. Ginsburg, J.).



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Additionally, there is a consensus view, both in this Court and among the federal courts of appeals,

that the gratuitous use of tear gas (or comparable chemical agents) on a person who is not

threatening anyone or resisting officers is excessive force. See, e.g., Tracy v. Freshwater, 623 F.3d

90, 98-99 (2d Cir. 2010); Asociacion de Periodistas de Puerto Rico v. Mueller, 529 F.3d 52, 60-

62 (1st Cir. 2008); Fogarty v. Gallegos, 523 F.3d 1147, 1160-61 (10th Cir. 2008); Henderson v.

Munn, 439 F.3d 497, 502-03 (8th Cir. 2006); Vinyard v. Wilson, 311 F.3d 1340, 1348-49 (11th

Cir. 2002); Headwaters Forest Def. v. County of Humboldt, 276 F.3d 1125, 1128-30 (9th Cir.

2002); Park v. Shiflett, 250 F.3d 843, 852-53 (4th Cir. 2001); Adams v. Metiva, 31 F.3d 375, 385-

86 (6th Cir. 1994); Jones v. Ritter, 587 F. Supp. 2d 152, 157 (D.D.C. 2008).

       Accordingly, courts regularly deny qualified immunity for such uses of force and have

done so for decades, see Henderson, 439 F.3d at 503-04; Vinyard, 311 F.3d at 1355; Adams, 31

F.3d at 387, including specifically in the context of protests, see Fogarty, 523 F.3d at 1160-62

(denying qualified immunity for 2003 incident in which police forcibly escorted non-threatening,

non-resisting antiwar protestor through cloud of tear gas); Headwaters Forest Def., 276 F.3d at

1130 (in 1997, “it would be clear to a reasonable officer that it was excessive to use pepper spray

against the nonviolent protestors” who “were sitting peacefully, were easily moved by the police,

and did not threaten or harm the officers”); Lucha Unida de Padres y Estudiantes v. Green, ___ F.

Supp. 3d ___, 2020 WL 3574593 at *15, *19 (D. Ariz. Jul. 1, 2020) (clearly established in 2017

that use of pepper spray against non-threatening and non-resisting protestors was unconstitutional);

Hamilton v. City of Olympia, 687 F. Supp. 2d 1231, 1241-43 (W.D. Wash. 2009) (clearly

established in 2007 that police cannot pepper spray protestor attempting to assist an injured

protestor without posing a threat, or use batons and pepper spray on protestor calmly trying to

cross the street); Brenes-Laroche v. Toledo Davila, 682 F. Supp. 2d 179, 189, 192 (D.P.R. 2010)



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(clearly established in 2007 that baton strikes to non-threatening, non-resisting protestors was

unconstitutional); Secot v. City of Sterling Heights, 985 F. Supp. 715, 721 (E.D. Mich. 1997)

(clearly unreasonable in 1995 to “[strike] plaintiff while he was peaceably standing in the picket

line and not threatening an officer or other member of the public in any way.”); Lamb v. City of

Decatur, 947 F. Supp. 1261, 1264 (C.D. Ill. 1996) (denying qualified immunity as to firing of

pepper spray into crowd of “allegedly excitab[le]” but “peaceful” demonstrators).

       Defendants’ attempt to resist this broad consensus of both binding and persuasive authority

by relying on conduct of other demonstrators at other times and places, see supra Part I.A.1, is

itself answered by binding precedent. Ybarra v. Illinois, 444 U.S. 85 (1979), emphatically rejected

the theory that one person can be searched or seized based on suspicion of someone else: “[A]

person’s mere propinquity to others independently suspected of criminal activity does not, without

more, give rise to probable cause to search that person.” Id. at 91. Instead, the Court explained, “a

search or seizure of a person must be supported by probable cause particularized with respect to

that person.” Id. The D.C. Circuit applied this principle in Barham v. Ramsey, 434 F.3d 565 (D.C.

Cir. 2006). There, after witnessing acts of vandalism by some demonstrators, id. at 569, then-

Assistant Chief (and here, Defendant) Newsham ordered that hundreds of demonstrators be

arrested, id. at 570. In the arrestees’ ensuing class action, the court affirmed the district court’s

denial of qualified immunity: the “mass arrest … violated the clearly established Fourth

Amendment rights of plaintiffs by detaining them without particularized probable cause.” Id. at

573.

       In language that directly refutes the argument that Defendants here could have used force

against Plaintiffs based on the actions of other people at other times, the D.C. Circuit explained

that “[e]ven assuming that Newsham had probable cause to believe that some people present that



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morning had committed arrestable offenses, he nonetheless lacked probable cause for detaining

everyone who happened to be in the park,” id., as he had “no basis for suspecting that all of the

occupants of Pershing Park were then breaking the law or that they had broken the law before

entering the park.” Id. at 574. Thus, the court rejected Newsham’s attempts to assert probable cause

by “refer[ring] generically to what ‘demonstrators’ were seen doing” and to “excavate probable

cause … from the scattered acts of lawlessness that Newsham and others had witnessed that

morning.” Id. at 573.

       Defendants’ use of force against Plaintiffs at Lafayette Square based on the actions of other

demonstrators on other nights is even more attenuated than the use of force in Barham. Whereas

the authorities’ mistake in Barham was arresting many people based on the actions of a few at

around the same time, here Defendants are attempting to justify force against Plaintiffs based on

the acts of unknown others at entirely different times and places. That is obviously impermissible.

       Defendant Barr’s reliance on Carr v. District of Columbia, 587 F.3d 401 (D.C. Cir. 2009),

which distinguished Barham in the narrow circumstance where individuals in a group engage in

criminal behavior and the group is acting “as a unit” such that “all members of the crowd violated

the law,” id. at 408, is misplaced. Plaintiffs’ complaint here alleges that they were engaged in

peaceful, lawful conduct, and nothing remotely suggests they were acting “as a unit” with some

other, unidentified people who allegedly broke the law at other times or places. The narrow Carr

exception to Barham—and Defendant Barr’s comparable authorities from other circuits, see

Bernini v. City of St. Paul, 665 F.3d 997, 1005 (8th Cir. 2012) (“It was reasonable for the officers

to believe they could arrest those who were acting as a unit with the protestors who attempted to

break through the police barrier[.]”); Lyall v. City of Los Angeles, 807 F.3d 1178, 1195 (9th Cir.

2015) (“If a group or crowd of people is behaving as a unit and it is not possible ... for the police



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to tell who is armed and dangerous or engaging in criminal acts and who is not, the police can have

reasonable suspicion as to the members of the group.”)—obviously did not apply, and no

reasonable officer could have thought that they did.

       Defendant Barr’s other citations are likewise unavailing. He cites Stigile v. Clinton, 110

F.3d 801 (D.C. Cir. 1997), which concerned the constitutionality of random drug testing, and Wood

v. Moss, 572 U.S. 744 (2014), which adjudicated no Fourth Amendment issue at all, for the general

proposition that presidential security is very important. Plaintiffs do not dispute that proposition,

but it does not resolve this case: however strong that interest is, the use of force against non-violent

protestors was utterly unnecessary to serve it. Defendant Barr relies on Berg v. Kelly, 897 F.3d 99

(2d Cir. 2018), which concerned the temporary enclosure of protestors, but that could not have

provided any guidance to Defendants here because, first, it involved neither police violence nor an

excessive force claim, and second, because it did not rule on the constitutional merits, only that

the particular facts at issue there did not present a violation of clearly established law. See id. at

109, 112. Defendant Barr’s remaining authorities, Barr MTD 41-42, are even more clearly

inapposite: they involved law enforcement responses to protestors who posed threats to officers or

the public, broke the law, and/or physically resisted officers’ efforts to cajole them into compliance

by peaceful means. See Felarca v. Birgeneau, 891 F.3d 809, 814-15, 817-18 (9th Cir. 2018)

(protestors unlawfully erected tents, ignored police dispersal orders, and locked arms to obstruct

police removal of tents); White v. Jackson, 865 F.3d 1064, 1079-80 (8th Cir. 2017) (protestor

disobeyed orders to stop approaching while “proceeding directly toward the police skirmish line”);

Dundon v. Kirchmeier, 2017 WL 5894552, at *12, 19 (D.N.D. Feb. 7, 2017) (“law enforcement

officers feared for their physical safety due to the imminent threats of serious bodily injury or death

they were encountering” in “a very chaotic scenario with law enforcement officers outmanned and



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flanked by protesters”); Westfahl v. District of Columbia, 75 F. Supp. 3d 365, 373-74 (D.D.C.

2014) (police officer and civilian “fell to the ground together in an uncontrolled manner” and

appeared to be wrestling); Young v. Akal, 985 F. Supp. 2d 785, 802 (W.D. La. 2013) (police

attempted to clear a street “using verbal instructions, enlisting the assistance of members of the

crowd, requesting assistance from event organizers and participants, and other non-physical

tactics” and then resorted to tear gas only in light of the “increasingly violent nature of the crowd”).

        Based on both binding and persuasive authority, qualified immunity should be denied.

    B. Defendants violated Plaintiffs’ clearly established First Amendment rights in a
       manner that was obvious because of its egregiousness and, independently,
       contravened binding precedent.

        Defendants’ attack on a peaceful and lawful demonstration was a blatant suppression of

core political speech in one of the nation’s most important public forums. Again, the federal

official-capacity Defendants do not defend the conduct on the merits. Defendant Barr, invoking

presidential security, argues that Defendants’ actions were a permissible content-neutral restriction

on time, place and manner. Barr MTD 33-40. That is the wrong framework for analysis, as

Plaintiffs argue below, but even applying the intermediate-scrutiny standard Defendant Barr

proposes, no reasonable officer could have believed the attack here satisfied that standard because

it blatantly failed the narrow tailoring requirement by burdening far more speech than necessary.

        The correct standard—the one that the Supreme Court has applied to (in Defendant Barr’s

words) “an on-the-spot crowd clearing order,” Barr MTD 34—requires that demonstrations not be

dispersed absent a “clear and present danger.” Defendants’ actions were also plainly

unconstitutional under that standard.




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       Yet another independent, clearly established constitutional flaw in Defendants’ conduct is

that it discriminated against Plaintiffs on the basis of viewpoint. Defendant Trump’s own words

make clear that demonstrators with different messages would have been welcome.

       Plaintiffs will address in turn the three distinct ways Defendants’ conduct clearly violated

the First Amendment: (1) by burdening far more speech than necessary to serve the government’s

asserted interest (i.e., failing intermediate scrutiny); (2) by breaking up a demonstration absent a

clear and present danger; and (3) by discriminating based on viewpoint.

       1. By assaulting and completely scattering a lawful, peaceful demonstration,
          Defendants burdened far more speech than necessary.

       Defendant Barr argues that Defendants’ actions should be analyzed as a content-neutral

restriction on the time, place, and manner of speech. He acknowledges that one of the requirements

of a valid content-neutral restriction is that it is “narrowly tailored.” Barr MTD 33 (quoting Ward

v. Rock Against Racism, 491 U.S. 781, 791 (1989)). This means that “it must not ‘burden

substantially more speech than is necessary to further the government’s legitimate interests.’”

McCullen v. Coakley, 573 U.S. 464, 486 (2014) (quoting Ward, 491 U.S. at 799).

       Assuming the applicability of this standard for the sake of argument, 2 any reasonable

officer would have known that Defendants’ assault on Plaintiffs was not “narrowly tailored” to the

government’s interest. The overwhelming use of force put Plaintiffs and the entire class to

headlong flight out of the path of projectiles, chemical weapons, and rampaging officers, some on

horseback. TAC ¶¶ 81-103. The egregiousness of Defendants’ use of force is compounded by its

disproportionality to any legitimate government objective. If the goal had been simply to move




2
  The time/place/manner standard is generally applied to regulatory restrictions on expression, not
to on-the-spot police actions that shut down otherwise-permitted demonstrations. The correct
standard is discussed in the next section, Part I.B.2.
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people out of the President’s way for his walk, see Barr MTD 35, the demonstrators could have

been clearly and audibly instructed which direction to move and how far—something the Secret

Service knows how to do. See Wood v. Moss, 572 U.S. 744, 751-54 (2014) (Secret Service moved

demonstrators away from where President Bush was unexpectedly dining). Although Defendants

need not have used the least restrictive means, the existence of substantially less burdensome

alternatives is “relevant” under this Circuit’s case law, Lederman v. United States, 291 F.3d 36, 44

(D.C. Cir. 2002), and Defendants’ blitzkrieg was practically the most restrictive means they could

have used: short of firing on the Plaintiffs with live ammunition, Defendants could not have more

forcefully disrupted the demonstration and scattered its participants. Defendants’ crackdown, even

analyzed as a content-neutral restriction, blatantly fails intermediate scrutiny.

        Defendant Barr’s argument to the contrary depends on his once again asserting facts not

alleged in the complaint. First, he posits a security threat to the President, claiming he acted “in

response to the need to protect the President and the White House.” Barr MTD 34; see also id. at

36 (citing “the potential danger posed by infiltrators within the unscreened crowd of thousands”).

The “need to protect the President and the White House” is Defendant Barr’s claim, not Plaintiffs’.

Demonstrations occur at Lafayette Square frequently, TAC ¶ 51, so the location alone could not

have made this demonstration a threat, and nothing in the complaint supports Defendant Barr’s

argument that there was in fact any threat to the President, let alone a threat that justified the level

of violence deployed here. Indeed, as discussed, that claim is not just absent from the allegations

in the complaint; it is diametrically opposed to them. See Part I.A.1 above.

        Second, Defendant Barr minimizes the scope of the government response to the

demonstration. In his telling, he issued merely “an on-the-spot crowd clearing order covering a

one-block area,” Barr MTD 34, while posing “no legal obstacle” to protesting outside of some



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“expanded perimeter,” id. at 37 n.21; see also id. at 36-37 (suggesting that Plaintiffs were free to

speak anywhere but “Lafayette Square and a short distance around it”). The complaint tells a much

different story: Defendants gave no indication that anyone would be free to resume demonstrating

anywhere in the vicinity “either at a prescribed location or after having moved a prescribed

distance away from Lafayette Square.” TAC ¶ 108. Indeed, the level of force deployed to shatter

the protest was such that even had Defendant Barr made such a promise, it would have been

meaningless—it is fanciful to imagine Plaintiffs fleeing from an onslaught of chemical weapons,

projectiles, batons, and a mounted charge, and then calmly stopping to resume their demonstration

one block away. For the Plaintiffs who ran west, moreover, what they found one block away was

not a protected protest zone but the D.C. Defendants firing yet more tear gas at them in

coordination with the other Defendants. See TAC ¶¶ 100-07. A defendant’s alternative facts are

an invalid basis for dismissing a complaint.

       If the government, which “bears the burden of showing that its restriction of speech is

justified,” United States v. Doe, 968 F.2d at 90, asserts that the sudden, violent, and complete

dispersal of this peaceful protest was narrowly tailored to a legitimate security objective, it can

support its position with evidence at a later stage, see id. at 90-91 (evaluating tailoring by reference

to the record, including what evidence the government had or had not offered). But courts do not

simply “defer to the Park Service’s [or any other agency’s] unexplained judgment,” id. at 90;

accord Henderson v. Lujan, 964 F.2d 1179, 1185 (D.C. Cir. 1992). Rather “it is the government’s

case to prove.” United States v. Doe, 968 F.2d at 91. Setting aside Defendants Barr’s version of

the facts and taking the complaint’s allegations as true, the Defendants violated the Constitution

several times over. Any reasonable person would have known that.




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       White House Vigil for ERA Committee v. Clark, 746 F.2d 1518 (D.C. Cir. 1984), cited by

Defendant Barr for the proposition that presidential security has “justified substantial limitations

on the manner of expressive activity in Lafayette Square,” Barr MTD 34, is perfectly consistent

with Plaintiffs’ analysis. The regulations at issue there concerned restrictions on the “construction,

size and placement” of signs displayed by demonstrators and on the manner of displaying signs

within a specific twenty-yard zone along the sidewalk (leaving 93% of the sidewalk unrestricted).

Id. at 1522, 1528. Although the court upheld these restrictions as narrowly tailored regulations of

time, place, and manner, it stated that “a strong argument could have been made that a regulation

banning all demonstrations on the White House sidewalk and in Lafayette Park would have been

unconstitutional.” Id. at 1527. Thus, it is that dictum, and not the holding of the case—which

allowed minor restrictions, but not a total ban, on signs—that speaks to the circumstances

presented here. The case did not uphold any restriction on the peaceful assembly of people in

Lafayette Square.

       Without Defendant Barr’s own version of events, his reliance on Wood v. Moss, 572 U.S.

744 (2014), falls apart. Like Defendant Barr here, the defendants there invoked presidential

security, but there the similarities end. Unlike here, Wood involved the relocation of a protest to a

nearby area where it could and did continue. See id. at 754 (noting that “[t]he protesters remained”

where the Secret Service moved them). And the legal question at issue was different than the one

posed here: Wood concerned the relative placement of two groups of demonstrators with opposing

views, see id. at 759-61, not the complete scattering of a protest. Defendant Barr’s protest-zone

cases from other circuits are similarly inapposite, because they did not involve violent dispersals

of peaceful demonstrations and because alternative areas to speak were provided. See Marcavage

v. City of New York, 689 F.3d 98, 102 (2d Cir. 2012) (plaintiffs were asked 17 times to move to



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the designated demonstration zone before they were arrested for blocking traffic); Menotti v. City

of Seattle, 409 F.3d 1113, 1138 (9th Cir. 2005) (considering not the dispersal of a particular protest

but a facial challenge to the imposition of a no-demonstration zone beyond which “[t]he protestors

could reasonably expect their protest to be visible and audible to” their intended audience).

       More generally, presidential security does not preempt the normal constitutional analysis

when it comes to restrictions on speech. The D.C. Circuit strongly suggested that presidential

security would not justify a blanket speech ban in front of the White House, White House Vigil,

746 F.2d at 1527—which the court elsewhere described as “the only absolutely riskless way of

avoiding all conceivable danger to the White House from such demonstrations,” Quaker Action

Group v. Morton, 516 F.2d 717, 733 n.49a (D.C. Cir. 1975) (“Quaker Action IV”)—and the D.C.

Circuit struck down a limit on demonstrations in front of the White House that was unduly broad

in proportion to the security interest asserted. See id. at 721, 723, 731 (affirming judgment striking

down as unduly restrictive 500-person limit on demonstrations in Lafayette Square). Thus, binding

precedent refutes the view that presidential security concerns, no matter how attenuated they may

be in a particular context, automatically justify content-neutral speech restrictions or otherwise

displace the requirements of the First Amendment. Because Defendants badly fail at least one of

those requirements—narrow tailoring—they violated Plaintiffs’ clearly established rights under

intermediate scrutiny.

       2. Breaking up the protest was clearly established to be unconstitutional absent a
          “clear and present danger.”

       Although the constitutional violation was clearly established even under Defendant Barr’s

proposed test, the correct First Amendment test to apply here is provided not by cases dealing with

general time/place/manner regulations but with protest dispersals specifically. The leading

Supreme Court case in this context holds that the First Amendment forbids the dispersal of lawful

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demonstrations in a public forum “unless shown likely to produce a clear and present danger of a

serious substantive evil that rises far above public inconvenience, annoyance, or unrest.” Edwards

v. South Carolina, 372 U.S. 229, 237 (1963); see also Cox v. Louisiana, 379 U.S. 536, 547-51

(1965) (conviction for breach of the peace unconstitutional where defendant led loud but “not

riotous” demonstration on courthouse grounds). This standard has been applied across the decades

and across the circuits (including this one), providing a broad consensus of authority to underscore

the holding of Edwards that absent a serious threat, a peaceful and lawful demonstration may not

be dispersed. See Jones v. Parmley, 465 F.3d 46, 58 (2d Cir. 2006) (Sotomayor, J.) (applying “clear

and present danger” standard to deny qualified immunity for breaking up a demonstration where

“the facts as alleged by plaintiffs reveal an orderly, peaceful crowd”); Quaker Action IV, 516 F.2d

at 729 (D.C. Cir.) (upholding National Park Service standard for denying demonstration permits

near the White House because it was limited to circumstances presenting “clear and present

danger”); accord Keating v. City of Miami, 598 F.3d 753, 758, 766-67 (11th Cir. 2010) (affirming

denial of qualified immunity to officers who ordered dispersal of peaceful demonstration via tear

gas and projectiles); Collins v. Jordan, 110 F.3d 1363, 1367-68, 1371, 1372 (9th Cir. 1996)

(affirming denial of qualified immunity for police chief who banned all demonstrations in San

Francisco and dispersed peaceful protest; and noting “[t]he law is clear that First Amendment

activity may not be banned simply because prior similar activity led to or involved instances of

violence”); Congress of Racial Equality v. Douglas, 318 F.2d 95, 102 (5th Cir. 1963) (reversing

injunction against peaceful civil rights protest as inconsistent with Edwards).

       The D.C. Circuit has repeatedly recognized that Lafayette Square is not just a

“quintessential public forum,” United States v. Doe, 968 F.2d at 87, but one with special status, id.

at 88—“a primary assembly point for First Amendment activity aimed at influencing national



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policies,” id. at 89, “where the government not only tolerates but explicitly permits demonstrations

and protests because of its unique location across the street from the White House,” id. at 88. It is,

in short, a “unique situs for the exercise of First Amendment rights.” Quaker Action IV, 516 F.2d

at 725; accord Women Strike for Peace v. Morton, 472 F.2d 1273, 1287 (D.C. Cir. 1972) (opinion

of Wright, J.) (“There is an unmistakable symbolic significance in demonstrating close to the

White House or on the Capitol grounds[.]”).

       Applying these principles, this Court has held that a peaceful, lawful demonstration on the

White House sidewalk may not be dispersed in the absence of a serious threat to public safety, and

it has rejected the view that a perceived threat of disorder based on previous events provides such

cause. See Tatum v. Morton, 402 F. Supp. 719, 722-24 (D.D.C. 1974). More recently, this Court

has recognized that the right of an “ordinary person[] [to] express[] her views while standing on

the public sidewalk in front of the White House” is “clearly established.” Hartley v. Wilfert, 918

F. Supp. 2d 45, 57 (D.D.C. 2013).

       Other courts have likewise held that the First Amendment does not permit the dispersal of

a peaceful protest in circumstances like those here. See Keating, 598 F.3d at 758, 766-67; Lucha

Unida de Padres y Estudiantes v. Green, ___ F. Supp. 3d ___, 2020 WL 3574593 at *13, *18 (D.

Ariz. Jul. 1, 2020) (clearly established in 2017 that police could not block a peaceful march where

defendants failed to identify a “clear and present danger of substantial evil”); Adams v. New York,

2016 WL 1169520, at *1, *3 (S.D.N.Y. Mar. 22, 2016) (dispersal order issued to protestors

chanting on a public sidewalk was unconstitutional where there was no suggestion of “immediate

threat to public safety or order”); Pena-Pena v. Figueroa-Sancha, 866 F. Supp. 2d 81, 88, 93

(D.P.R. 2012) (peaceful protestors at territorial Capitol building, whom police attacked with tear

gas and batons, stated claim for violation of clearly established First Amendment rights); Rauen v.



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City of Miami, 2007 WL 686609, at *2, *20 (S.D. Fla. Mar. 2, 2007) (denying qualified immunity

to officers who broke up peaceful protest with chemical irritants and rubber bullets, because it was

clearly established that “Plaintiffs were entitled to exercise their right to peacefully protest in the

absence of a compelling government interest in quashing their protest”).

       As with the intermediate scrutiny argument, the only way for Defendant Barr to resist the

application of these authorities here is to make allegations regarding potential security threats

contrary to the facts alleged in the complaint. See supra Part I.B.1. But taking the complaint’s facts

as true, the demonstrators posed no threat to anyone, much less a “clear and present danger of a

serious substantive evil that rises far above public inconvenience, annoyance, or unrest.” Edwards,

372 U.S. at 237. Like the civil rights protestors whose demonstration was unconstitutionally

suppressed in Edwards, the civil rights protestors here were exercising their “rights of free speech,

free assembly, and freedom to petition for redress of their grievances ... in their most pristine and

classic form.” Id. at 235. Thus, breaking up the demonstration was both obviously unlawful based

on general principles and clearly established to be unlawful based on the binding authorities and

consensus of persuasive authorities cited above. “One of the great accomplishments of our

Constitution is its guarantee of the people’s right to take to the streets to say what they think.”

A.N.S.W.E.R. Coal. v. Basham, 845 F.3d 1199, 1202 (D.C. Cir. 2017). That accomplishment would

be wholly undone if a non-threatening demonstration in one of the nation’s most important public

forums could be summarily terminated at the whim of the executive.

       Defendants’ assault on Plaintiffs to shatter their demonstration was obviously

unconstitutional, and that conclusion is confirmed beyond debate by Edwards and its progeny.




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       3. Defendants’ viewpoint discrimination violated Plaintiffs’ clearly established
          rights.

       Breaking up Plaintiffs’ demonstration based on its viewpoint is an independent—and no

less clearly established—constitutional violation. See Iancu v. Brunetti, 139 S. Ct. 2294, 2299

(2019) (principle that “[t]he government may not discriminate against speech based on the ideas

or opinions it conveys” is “a core postulate of free speech law”); Wood v. Moss, 572 U.S. 744,

756-57 (2014) (“It is uncontested and uncontestable that government officials may not exclude

from public places persons engaged in peaceful expressive activity solely because the government

actor fears, dislikes, or disagrees with the views those persons express.”).

       D.C. Circuit authority specifically establishes that impermissible viewpoint discrimination

occurs where the government treats speech expressing one viewpoint differently than it would

have treated a different viewpoint. In Mahoney v. Babbitt, 105 F.3d 1452 (D.C. Cir. 1997), the

National Park Service revoked a permit for anti-abortion demonstrators at President Clinton’s

inauguration, and threatened them with arrest, id. at 1454, even though the government admitted

that “if instead of carrying graphic posters of late term abortions or signs containing criticisms of

the President, Mahoney were to carry signs offering congratulations or best wishes to the President,

he would not be subject to arrest.” Id. at 1456. The court struck down this restriction as “blatant

discrimination between viewpoints.” Id. Plaintiffs have plausibly alleged the same type of

discrimination here—that Defendants’ attack breaking up their civil rights protest would not have

been mounted against a demonstration with a pro-Administration message. Compare TAC ¶ 64

(Defendant Trump tweet boasting that “‘protesters’ at the White House” were “handled ... easily”

by the Secret Service and calling for “MAGA NIGHT AT THE WHITE HOUSE”), and TAC ¶ 63

(promoting civil disobedience at various statehouses in opposition to coronavirus-related safety

regulations), with TAC ¶¶ 53-61 (Defendant Trump calling civil rights protestors “THUGS,”

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advocating calling in the National Guard on them, and urging “overwhelming force” to “dominate”

the civil rights protestors). That differential treatment is the hallmark of viewpoint discrimination

under the D.C. Circuit’s binding decision in Mahoney, 105 F.3d at 1456. Thus, in addition to the

obvious violation of breaking up a peaceful demonstration without sufficient (or really any

legitimate) basis, qualified immunity must be denied for the independent reason that Defendants’

actions amounted to viewpoint discrimination, as demonstrated by the President’s own words.

       Defendant Barr and the D.C. Defendants argue that Plaintiffs’ viewpoint-discrimination

claim cannot succeed against them absent evidence of their own personal animosity. Barr MTD

37 n.22; D.C. MTD 20-22. That confuses viewpoint discrimination with retaliation. Whereas First

Amendment retaliation requires “retaliatory animus,” Nieves v. Bartlett, 139 S. Ct. 1715, 1722

(2019), one way for viewpoint discrimination to occur is “when the specific motivating ideology

or the opinion or perspective of the speaker is the rationale for the restriction” of speech.

Rosenberger v. Rector & Visitors of Univ. of Va,, 515 U.S. 819, 829 (1995) (emphasis added). The

rationale in question is the government’s purpose in taking the challenged action, not the subjective

motive of an official who carried it out—as demonstrated by Mahoney, where the D.C. Circuit did

not inquire if any particular defendant held animosity toward the plaintiff’s viewpoint but found it

sufficient that the government would have treated a speaker with a different viewpoint differently.

Likewise, Rosenberger did not suggest that University officials had anti-Christian animus when

they denied funding to a religious student publication, and there is no reason to suspect that they

had such animus, as they were merely enforcing a preexisting school regulation. See id. at 827.

       President Trump’s statements show that the demonstrators’ opinion was the reason for the

attacking and disbanding the protest, and thus Plaintiffs have plausibly pleaded viewpoint

discrimination in violation of clearly established law.



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       In sum, taking the complaint’s allegations as true, Defendants’ wholly gratuitous use of

force to scatter the demonstrators at Lafayette Square violated Plaintiffs’ clearly established First

Amendment rights in multiple ways. Qualified immunity must be denied.

II.    The Traditional Damages Remedy Against Federal Officers For Violating
       Demonstrators’ First And Fourth Amendment Rights Has Long Been Recognized In
       This Circuit And No Special Factors Counsel Hesitation Here (Claims 1 & 2).

       Apart from qualified immunity, the other principal challenge to Plaintiffs’ constitutional

damages claims is Defendant Barr’s argument, Barr MTD 5-29, that no cause of action is available

under Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971),

which recognized a cause of action arising out of the Constitution for damages against federal

agents who violate a person’s constitutional rights. Bivens reflected both an ideal and a body of

law with deep historical roots extending back to the beginning of the Republic. The ideal,

articulated by Chief Justice Marshall, was that “‘[t]he very essence of civil liberty certainly

consists in the right of every individual to claim the protection of the laws, whenever he receives

an injury.’” Id. at 397 (quoting Marbury v. Madison, 5 U.S. 137, 163 (1803)). And the body of

law, also exemplified by an early Marshall Court case as well as pre-Revolutionary English cases,

showed that executive officials acting beyond their authority could be held liable in damages. See,

e.g., Little v. Barreme, 6 U.S. 170, 178-79 (1804) (holding Navy officer liable for damages in

trespass for seizing a ship pursuant to an invalid presidential order); Entick v. Carrington, (1765)

95 Eng. Rep. 807, 817-18 (KB) (awarding damages for an unlawful search and seizure without

question as to the cause of action). Damages were awarded not just for physical injuries, but also

for injuries to liberty interests. See, e.g., Huckle v. Money, (1763) 95 Eng. Rep. 768, 769 (KB)

(holding damages were justified for wrongful detention even though the detention was brief and



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did not cause physical harm because “it was the most daring public attack made upon the liberty

of the subject”).

        Thus, the federal damages remedy recognized in Bivens was “hardly ... a surprising

proposition” because “[h]istorically, damages have been regarded as the ordinary remedy for an

invasion of personal interests in liberty.” Bivens, 403 U.S. at 395; see generally Franklin v.

Gwinnett Cty. Pub. Sch., 503 U.S. 60, 66 (1992) (“Blackstone described it as ‘a general and

indisputable rule, that where there is a legal right, there is also a legal remedy, by suit or action at

law, whenever that right is invaded.’” (citing 3 W. Blackstone, Commentaries 23 (1783)).3 More

recently, Congress indicated its acceptance of the Bivens remedy through two laws it passed

following the Bivens decision: the Federal Tort Claims Act (FTCA) and the Westfall Act.4




3
  Although today under Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938), courts cannot invoke
a “federal general common law,” to recognize “new claims” or recognize statutory causes of action
in the absence of statutory authority, see Hernandez v. Mesa, 140 S. Ct. 735, 742 (2020), the
inherent power to enforce the Constitution itself is neither statutory nor new. See, e.g., Armstrong
v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (recognizing “long history of judicial
review of illegal executive action”); Franklin, 503 U.S. at 65-70 (discussing presumption that
when a cause of action exists, federal courts may order any appropriate relief).
4
  When it amended the FTCA in 1974, Congress made clear that any FTCA suit would operate in
parallel with the right to bring a suit for damages under Bivens, not replace a Bivens action. 28
U.S.C. § 2680(h); see Carlson v. Green, 446 U.S. 14, 19-20 (1980) (“[T]he congressional
comments accompanying [the FTCA] amendment made it crystal clear that Congress views FTCA
and Bivens as parallel, complementary causes of action.”); James E. Pfander & David Baltmanis,
Rethinking Bivens: Legitimacy and Constitutional Adjudication, 98 Geo. L.J. 117, 133 (2009)
(noting Congress rejected a proposal that “would have eliminated the Bivens action altogether in
favor of suits against the government for constitutional violations”). The Westfall Act of 1988,
Pub. L. No. 100-694, 102 Stat. 4563, is a further endorsement of a personal Bivens remedy, as the
Act exempts claims “brought for a violation of the Constitution of the United States” from the
Act’s immunity/substitution regime. See H.R. Rep. No. 100-700 at 6 (1988) (“Since the Supreme
Court’s decision in Bivens, ... the courts have identified this type of tort as a more serious intrusion
of the rights of an individual that merits special attention. Consequently, [the Act] would not affect
the ability of victims of constitutional torts to seek personal redress from Federal employees who
allegedly violate their Constitutional rights.”).


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       Bivens was a Fourth Amendment case. The D.C. Circuit has found the logic of Bivens to

apply to First Amendment claims, as well. See Dellums v. Powell, 566 F.2d 167, 194-95 (D.C.

Cir. 1977) (holding that Bivens damages were available for demonstrators’ First and Fourth

Amendment claims against law enforcement officers). Since Dellums, a long line of cases in this

Circuit has applied Bivens to violations of demonstrators’ constitutional rights (as detailed below).

       The Supreme Court’s approach to Bivens claims has evolved since its initial recognition of

the remedy. In Ziglar v. Abbasi, 137 S. Ct. 1843 (2017), the Court created a two-step inquiry for

deciding whether a Bivens claim is available. First, courts must assess whether the claim arises in

a “new context,” and second, if the context is new, the courts must then ask whether any “special

factors” counsel “hesitation” in recognizing a Bivens remedy. Hernandez v. Mesa, 140 S. Ct. 735,

743 (2020) (summarizing Abbasi, 137 S. Ct. at 1857, 1859). Examples of “special factors” are

foreign affairs, national security, see Hernandez, 140 S. Ct. at 746-47, and the existence of an

“alternative remedial structure.” Abbasi, 137 S. Ct. at 1858.

       Nonetheless, although “expanding” Bivens is now “disfavored,” id. at 1857, the Court did

not close the door to all Bivens remedies, particularly ones that have long existed. Specifically, the

Court in Abbasi affirmed that the “opinion is not intended to cast doubt on the continued force, or

even the necessity, of Bivens in the search-and-seizure context in which it arose.” Id. at 1856. The

Court has not overturned or limited any of its Bivens precedents to their facts, despite repeated

suggestions that it do so, see, e.g., Hernandez, 140 S. Ct. at 750 (Thomas, J., concurring); Minneci

v. Pollard, 565 U.S. 118, 131-32 (2012) (Scalia, J., concurring).

       Assuming for the sake of argument that the context here is “new” under Abbasi—as the

Supreme Court’s decisions recognizing claims in Bivens, in Carlson v. Green, 446 U.S. 14 (1980)

(Eighth Amendment), and in Davis v. Passman, 442 U.S. 228 (1979) (Fifth Amendment) did not



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concern the First Amendment or a Fourth Amendment claim about a protest—Plaintiffs

nonetheless prevail. The Supreme Court’s recent decisions do not cast doubt on Circuit precedent

holding that Bivens is available for demonstrators’ First and Fourth Amendment claims and

declining to find “special factors” counseling “hesitation” in this context. Importantly, the

existence of “new context” alone does not defeat a claim—otherwise the Bivens analysis would

end at step one. Defendant Barr suggests that it should, Barr MTD 12 (citing Hernandez v. Mesa,

885 F.3d 811, 818 (5th Cir. 2018)), but that is not the Supreme Court’s view, see Hernandez, 140

S. Ct. at 743 (affirming the Fifth Circuit’s result but reiterating the Abbasi two-step framework

rather than adopting the Fifth Circuit’s suggestion that context alone ends the inquiry).

       Rather, the key question here is whether “special factors” counsel “hesitation.” More than

four decades of precedent in this Court and the D.C. Circuit reflect that nothing about permitting

a damages remedy for a violation of demonstrators’ First and Fourth Amendment rights—

particularly violations as egregious as those here—should cause a court to hesitate. And the special

factors invoked by the Defendants are simply inapplicable to this case. The Court should faithfully

apply this Circuit’s cases recognizing a Bivens action for violating demonstrators’ First and Fourth

Amendment rights.

   A. Circuit precedent refutes the notion that “special factors” preclude recognizing
      constitutional damages claims for demonstrators’ rights here and distinguishes this
      case sharply from those in which special factors exist.

       Although the Court’s two-step framework for assessing the availability of Bivens damages

is new, the consideration of special factors in determining whether to apply Bivens is not. The

“special factors” inquiry has existed since Bivens itself, 403 U.S. at 396 (“[t]he present case

involves no special factors counselling hesitation”), and it existed when Dellums and its successor

cases were decided. Yet the D.C. Circuit has never suggested that “special factors” preclude the



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application of Bivens to enforce the First or Fourth Amendment rights of protestors. On the

contrary, the D.C. federal courts have a long history of allowing Bivens First and Fourth

Amendment claims on behalf of protestors.

       Defendants do not dispute the availability of Bivens for excessive force claims generally—

a point the D.C. Circuit has repeatedly reaffirmed. See, e.g., Lash v. Lemke, 786 F.3d 1, 5 n.2

(“There is no question that [a tased demonstrator] may pursue an excessive force claim under

Bivens[.]”); Meshal v. Higgenbotham, 804 F.3d 417, 424 (D.C. Cir. 2015) (when “a federal law

enforcement officer uses excessive force, contrary to the Constitution,” that is “the classic Bivens-

style tort” (quoting Sutton v. United States, 819 F.2d 1289, 1293 (5th Cir. 1987); internal quotation

marks omitted)). More specifically, in Dellums, no special factors prevented the court from

applying Bivens to a context just like this one: where police violated the First and Fourth

Amendments by disrupting a large demonstration in front of the seat of one of our three branches

of government (in Dellums, the Capitol; here, the White House). If no special factors existed there

and then, none exist here and now.

       In Dellums, the D.C. Circuit considered First and Fourth Amendment claims asserted by

demonstrators protesting the Vietnam War on the steps of the Capitol Building. 566 F.2d at 173.

The court affirmed the verdict on the Fourth Amendment Bivens claims, see id. at 175-191, and

concluded that federal courts were capable of addressing First Amendment Bivens claims as well,

see id. at 194-95. Following Dellums, D.C. federal courts have repeatedly recognized Bivens

damages claims for First and Fourth Amendment claims by demonstrators. See, e.g., Lash, 786

F.3d at 5 n.2 (D.C. Cir. 2014) (although U.S. Park Police officers were entitled to qualified

immunity for using taser against a demonstrator resisting arrest, “[t]here is no question that Lash

may pursue an excessive force claim under Bivens”); Hobson v. Wilson, 737 F.2d 1, 56, 62-63



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(D.C. Cir. 1984) (upholding Bivens damages claim against FBI agents involved in targeting anti-

war and pro-civil rights leaders, including by impeding protests, in violation of the First

Amendment), partially abrogated on other grounds, Leatherman v. Tarrant Cty. Narcotics Intel.

& Coord. Unit, 507 U.S. 163 (1993); Patterson v. United States, 999 F. Supp. 2d 300, 303, 308-

311, 317 (D.D.C. 2013) (denying motion to dismiss where demonstrator sued U.S. Park Police

officers for retaliatory arrest in violation of his First and Fourth Amendment rights); Hartley v.

Wilfert, 918 F. Supp. 2d 45, 50-54 (D.D.C. 2013) (denying motion to dismiss where plaintiff sued

Secret Service agents under the First Amendment for attempting to intimidate her out of protesting

near the White House); Bloem v. Unknown Dep’t of the Interior Employees, 920 F. Supp. 2d 154,

156-57, 159-61 (D.D.C. 2013) (recognizing Bivens claim could lie for violations of the First,

Fourth, and Fifth Amendments where agents took and destroyed plaintiff’s protest materials);

Lederman v. United States, 131 F. Supp. 2d 46, 47, 57, 63 (D.D.C. 2001) (allowing Bivens claim

for Capitol Police officer’s arrest of demonstrator in violation of the First and Fourth

Amendments), rev’d on other grounds, 291 F.3d 36 (D.C. Cir. 2002); Torossian v. Hayo, 45 F.

Supp. 2d 63, 66 (D.D.C 1999) (dismissing case on qualified immunity grounds, but recognizing

that “a Bivens action ... has been held to be available to plaintiffs claiming violations of the First

and Fourth Amendments” against demonstrators); Masel v. Barrett, 707 F. Supp. 4, 11-12 (D.D.C.

1989) (denying defendant summary judgment on a demonstrator’s Bivens excessive force claim).

       Regardless of whether these cases can show that the context is not “new” for purposes of

Abbasi, the D.C. Circuit’s longstanding precedent recognizing Bivens remedies for First

Amendment claims, Fourth Amendment excessive force claims, and specifically claims under both

Amendments by demonstrators, show why no special factors counsel hesitation in recognizing

such claims. These decisions continue to bind this Court today, in the absence of contrary Supreme



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Court authority. See Critical Mass Energy Project v. Nuclear Regulatory Comm’n, 975 F.2d 871,

876 (D.C. Cir. 1992). And in terms of harm to national security, foreign affairs, or any of the other

reasons causing either the D.C. Circuit or the Supreme Court to hesitate in recognizing Bivens

claims, the sky has not fallen despite the decades-long and ongoing recognition of Bivens damages

claims in the protest context, including for activity near the White House, see, e.g., Hartley, 918

F. Supp. 2d at 50-52, and at the Capitol, see, e.g., Dellums, 566 F.2d at 173; Lederman, 131 F.

Supp. 2d at 57, 63. Given that the D.C. Circuit has already recognized Bivens claims without

finding that “special factors” counsel “hesitation” in the context of demonstrators’ First and Fourth

Amendment claims, refusing to recognize such a claim here would contravene Circuit precedent.

       The contrast between the factual context of this case and those of the recent Supreme Court

cases finding special factors counselling hesitation underscores how far apart this one is from

those. Whereas Abbasi stressed caution in allowing judicially-created damages remedies as a

means to change ongoing national security policy decisions made by high-ranking federal officials,

137 S. Ct. at 1860-1863, it did not speak to any “special factors” pertaining to domestic political

demonstrators seeking compensation for egregious violations of their First and Fourth Amendment

rights when federal forces violently attacked and disbanded their peaceful demonstration. And

whereas Hernandez refused to extend Bivens to a shooting across the international border because

foreign affairs, national security, and congressional acts limiting remedies for foreigners on foreign

soil counselled hesitation, 140 S. Ct. at 744-47, it did not invite courts to cut off remedies where

U.S. citizens exercising core political freedoms on U.S. soil are met with gratuitous brutality by

federal officers. And neither of these decisions instructs the lower courts to abdicate judicial

responsibility for every claim where federal officials assert a national security interest, however

attenuated. Quite the contrary: Abbasi specifically admonished against the knee-jerk invocation of



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security concerns to preclude a Bivens remedy, warning that “national-security concerns must not

become a talisman used to ward off inconvenient claims—a ‘label’ used to ‘cover a multitude of

sins.’” 137 S. Ct. at 1862 (quoting Mitchell v. Forsyth, 472 U.S. 511, 523 (1985)). Even more to

the point here, the Court observed that danger of the “abuse” of this label is “heightened” in purely

“domestic cases.” Id.

       Special factors that have recently caused the D.C. Circuit pause in applying Bivens are

likewise far afield from this case. Although Loumiet v. United States, 948 F.3d 376 (D.C. Cir.

2020), did involve a First Amendment Bivens claim, the plaintiff there sought damages for

retaliatory administrative enforcement actions under the Financial Institutions Reform, Recovery,

and Enforcement Act—a statute with its own detailed administrative enforcement scheme and

circumscribed availability for judicial review. See id. at 384-85. The principle that a

comprehensive alternative remedy forecloses Bivens is not new and has coexisted harmoniously

for decades with this Circuit’s Bivens jurisprudence regarding demonstrators’ constitutional rights;

indeed, the Bivens precedents most critical to the Loumiet holding were from the 1980s. See id. at

383-85 (focusing on Schweiker v. Chilicky, 487 U.S. 412 (1988), and Bush v. Lucas, 462 U.S. 367

(1983)); accord Liff v. Office of Inspector Gen., 881 F.3d 912, 914-15 (D.C. Cir. 2018) (holding

that comprehensive remedial scheme barred government contractor’s suit against various

government officials for reputational harm). And Meshal v. Higgenbotham, 804 F.3d 417 (D.C.

Cir. 2015), which found that national security and foreign affairs counseled hesitation in allowing

a claim concerning federal agents’ actions with respect to a suspected terrorist in East Africa, is

(literally) a world away from purely domestic law enforcement.

       In sum, the special factors at issue in those cases are all far removed from the contexts of

Dellums and this case and do not call into question Circuit precedent repeatedly recognizing Bivens



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First and Fourth Amendment claims by demonstrators and declining to find any special factors

counseling hesitation in this field.

   B. Presidential security and the other “special factors” invoked by Defendant Barr are
      misplaced here and do not overcome Circuit precedent.

       Defendant Barr argues that federal law enforcement officers’ assault on demonstrators

expressing their opposition to systemic racism and police brutality is impervious to a Bivens

remedy because of national and presidential security concerns, the absence of congressional

legislation providing a remedy, and hypothetical alternative remedies. While these kinds of

concerns may preclude Bivens claims in some circumstances, they have no bearing here. Stripping

Plaintiffs of a remedy would abdicate the judicial responsibility to provide a check against the

Executive branch and would authorize brutality with impunity.

       Defendant Barr devotes substantial ink to establishing that national/presidential security is,

in the abstract, an interest of great weight. But he knocks at an open door; Plaintiffs dispute neither

the importance of this interest nor that it can constitute a special factor for Bivens purposes in some

circumstances. This is simply not such a circumstance. Baldly asserting that the unprovoked attack

on peaceful demonstrators was required by “presidential security” does not make it true. And on a

motion to dismiss, a defendant’s assertion that his actions were necessary because of facts beyond

the complaint is entitled to no weight. That dispute is for trial, not a motion to dismiss.

       Heeding Abbasi’s warning not to permit “national-security concerns” to “become a

talisman used to ward off inconvenient claims,” 137 S. Ct. at 1862, and emulating Abbasi’s focus

on the narrow facts at issue rather than broad generalities, see id. at 1860 (considering “the

confinement conditions imposed on illegal aliens pursuant to a high-level executive policy created

in the wake of a major terrorist attack on American soil” rather than the prison context generally),

courts considering security arguments have not accepted them blindly but rather assessed their

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relevance to the case at hand. See Graber v. Dales, 2019 WL 4805241, at *4 (E.D. Pa. Sept. 30,

2019) (allowing a Bivens claim to proceed against a Secret Service agent in connection with an

arrest outside the 2016 Democratic National Convention because under the circumstances “the

connection to national security is tenuous”); Linlor v. Polson, 263 F. Supp. 3d 613, 623 (E.D. Va.

2017) (allowing a Bivens remedy where a TSA officer used excessive force during a security

screening: “The question is not whether airports present special security concerns—they do—but

whether those concerns have any particular bearing on the context at issue in this case.”).

       Here, Defendants’ security justification for the actions they took is, simply, a canard. There

was no threat to the President posed by Plaintiffs and other protestors. The protestors were law

abiding and peaceful. TAC ¶¶ 65-66. They were in Lafayette Square, not on the White House

Lawn. There were no split-second, difficult decisions that needed to be made. On the contrary, the

Defendants were the aggressors who initiated the entire confrontation. TAC ¶¶ 77-88.

       Lacking a factual basis in the complaint to assert his security concern, Defendant Barr

posits the alarmingly broad theory that federal law enforcement can disperse protestors near the

White House at any time, using any means, without judicial review, because there is always a

potential presidential security threat. Barr MTD 14-15. That theory would obliterate the D.C.

Circuit’s instruction regarding Lafayette Square demonstrations to balance “First Amendment

freedoms against safety requirements,” Quaker Action IV, 516 F. 2d at 722, and replace it with the

rule that every demonstrator on a public street or park in proximity to the White House is subject

to being viciously beaten and tear-gassed at the whim of federal officers. Defendant Barr offers no

limiting principle for when a presidential security interest legitimately counsels hesitation in

applying Bivens. Under his theory, the President could demand to go anywhere, at any time, and

send officers ahead to beat up anyone along the way. That is clearly wrong.



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       The Supreme Court has repeatedly reaffirmed that, “[w]hatever power the United States

Constitution envisions for the Executive in times of conflict, it most assuredly envisions a role for

all three branches when individual liberties are at stake.” Hamdi v. Rumsfeld, 542 U.S. 507, 536

(2004) (plurality opinion); accord Boumediene v. Bush, 553 U.S. 723, 745 (2008); see also Quaker

Action I, 421 F.2d at 1117 (noting that courts must make independent judgments regarding security

threats asserted by the government). Moreover, sufficient deference to decisions made based on

national security is embodied in the substantive First and Fourth Amendment standards

themselves. See, e.g., Wood v. Moss, 572 U.S. 744, 758-59 (2014); Saucier v. Katz, 533 U.S. 194,

208-09 (2001), abrogated on other grounds, Pearson v. Callahan, 555 U.S. 223 (2009). These

standards provide ample latitude for federal officials to make security decisions and protect the

President without the need for an extreme rule that federal officers’ misconduct is immunized from

judicial review merely by invoking a presidential security interest no matter the facts.

       Defendant Barr’s argument that congressional inaction in a heavily regulated field counsels

hesitation, Barr MTD 16-21, is misplaced here, because he misidentifies the relevant field.

Although Congress has legislated heavily in the field of presidential security, it has not “legislated

pervasively,” Barr MTD 21, on the topic of demonstrators’ rights, particularly vis-à-vis federal

actors. Nor would one expect it to, in light of the backdrop of Congress’s implied acceptance of

Bivens via the FTCA. See Carlson, 446 U.S. at 19-20 & n.5 (“[T]he congressional comments

accompanying [the FTCA] amendment made it crystal clear that Congress views FTCA and Bivens

as parallel, complementary causes of action.”).

       Defendant Barr is also wrong that the possibility of injunctive relief or an FTCA remedy

counsels against applying Bivens here. If the mere ability to sue for injunctive relief foreclosed

Bivens, then the alternative-remedies exception to Bivens would swallow the rule. One can always



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seek an injunction against threatened future conduct. Abbasi’s recognition that injunctive relief

could provide an alternative remedy sufficient to foreclose Bivens was limited to a particular

context: where “large-scale policy decisions” are being challenged. 137 S. Ct. at 1862. Here,

Plaintiffs do not challenge a large-scale policy—or any policy at all. Rather, Plaintiffs challenge

the acts taken on this specific day against this specific group of protestors (the damages claims)

and the implied threat to take similar actions in the future at the President’s whim (the injunctive

relief claims). Further, Abbasi’s brief discussion of alternative remedies for challenges to policies

does not purport to supplant the thorough treatment of the alternative remedies question in Minneci

v. Pollard, 565 U.S. 118, 129-30 (2012), which is cited in Abbasi and remains good law. Minneci

instructs that in general, “alternative remedies” must “provide roughly similar incentives for

potential defendants to comply with the [Constitution] while also providing roughly similar

compensation to victims of violations.” 565 U.S. at 130. That standard is not remotely met here.

Given the difficulty of obtaining injunctive relief in many cases because of the absence of

demonstrable future harm (a point Defendants argue here, U.S. MTD 11-14), injunctive relief

alone will often be insufficient to deter officials from unconstitutional acts. Additionally,

injunctive relief would not provide “roughly similar compensation to victims,” because it would

provide no compensation at all. See Aref v. Lynch, 833 F.3d 242, 265 n.17 (D.C. Cir. 2016)

(“Injunctive relief ... cannot provide relief for past harms.”). While an alternative remedy need not

be “perfectly congruent” with Bivens, Minneci, 565 U.S. at 129, injunctive relief here falls so short

as not to counsel hesitation.

       As for potential recovery under the FTCA, Supreme Court precedent squarely holds that

the FTCA is not an “alternative remedy” foreclosing Bivens. Carlson, 446 U.S. at 18-23. The

Supreme Court has held that state tort law constitutes an “alternative remedy” for this purpose only



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where the defendants were private entities. Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 72-73

(2001) (private prison company); Minneci, 565 U.S. at 120 (private prison guard). Here, because

the Bivens Defendants are federal officers, the Westfall Act precludes tort claims against them

arising under state law. See Osborn v. Haley, 549 U.S. 225, 229 (2007). Defendant Barr cites out-

of-circuit cases to suggest that Abbasi implicitly overruled Carlson, Barr MTD 28, but these

decisions go badly astray in arrogating to themselves a power that the Supreme Court has reserved:

lower courts “should follow the case which directly controls, leaving to this Court the prerogative

of overruling its own decisions.” Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490 U.S. 477,

484 (1989). One of the decisions on which Defendant Barr relies regarding the FTCA did not even

mention the FTCA ruling in Carlson. See Oliva v. Nivar, 973 F.3d 438, 444 (5th Cir. 2020). And

nothing in Abbasi comes close to overruling Carlson; it nowhere suggested that the FTCA

forecloses Bivens. This Court should follow the many other courts that have recognized that the

FTCA does not preclude a Bivens remedy, even after Abbasi. See, e.g. K.O. v. ICE, 2020 WL

3429697, at *11 n.3 (D.D.C. June 23, 2020), appeal filed, No. 20-5255 (Aug. 26, 2020); Bueno

Diaz v. Mercucio, 442 F. Supp. 3d 701, 710-11 (S.D.N.Y. 2020); Linlor v. Polson, 263 F. Supp.

3d 613, 620-21 (E.D. Va. 2017).

       In sum, as Chief Justice Marshall recognized two centuries ago, it is the essence of the rule

of law that rights be paired with remedies. Marbury, 5 U.S. at 163. Although in some instances,

special factors require a “hard ‘balance to be struck’” that is “best left to Congress,” Loumiet, 948

F.3d at 385 (quoting Abbasi, 137 S. Ct. at 1863), this is not such a case. Rather, this Circuit has

for decades applied Bivens to protect demonstrators’ First and Fourth Amendment rights without

finding that “special factors” foreclosed these types of claims. Defendant Barr’s arguments provide

no basis to disregard the D.C. Circuit’s longstanding approach. On the contrary, abdicating judicial



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responsibility for enforcing the Constitution would fail to deter a type of grave constitutional

affront that is both at the core of Bivens and at the core of our democracy—unchecked

governmental violence unleashed on those exercising their First Amendment right “peaceably to

assemble, and to petition the Government for a redress of grievances.”

   C. Attorney General Barr’s rank does not automatically exclude him from Bivens, nor
      would discovery against him be unmanageable.

       Defendant Barr raises one type of “special factor” applicable only to himself and none of

the other federal Defendants: his status as a high-ranking official. But high-ranking officials are

not categorically immune from Bivens. Rather, where a high-ranking official participates

personally in a violation (as Plaintiffs have plausibly alleged here, see Part IV below), liability can

attach—as both the Supreme Court and D.C. Circuit have held. See Davis, 442 U.S. 228 (Member

of Congress liable under Bivens); Dellums, 566 F.2d at 173 n.1 (defendants in proper Bivens action

included U.S. Attorney General and Deputy Attorney General).

       The Court has said that Bivens claims against high-ranking officials are inappropriate if

they “would call into question the formulation and implementation of a general policy,” and in

turn lead to intrusive discovery that would “border upon or directly implicate the discussion and

deliberations that led to the formation of the policy in question.” Abbasi, 137 S. Ct. at 1860-61.

Defendant Barr invokes both concerns, but neither applies here. Plaintiffs do not allege that the

U.S. government has a policy of attacking peaceful demonstrators, and Defendant Barr does not

suggest that it does. Accordingly, discovery would not touch upon “the discussion and

deliberations that led to the formation of [any] policy.” The Court has noted that careful judicial

supervision of the timing and scope of discovery can make litigation against high-ranking officials,

even Presidents, manageable. See Clinton v. Jones, 520 U.S. 681, 691-92 (1997); accord Trump v.

Vance, 140 S. Ct. 2412, 2430 (2020); Crawford-El v. Britton, 523 U.S. 574, 598-600 (1998). And

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the distraction concern is completely undercut by the fact that both Defendants Trump and Barr

will be out of office by the time discovery commences in this case. See Aguilar v. ICE, 2011 WL

13258226, at *3 (S.D.N.Y. Jan. 11, 2011) (rejecting government defendants’ concerns about

burdens of discovery as “misplaced” where certain defendants “no longer work for the

Government”). The Court has also rejected the proposition that conversations between the

President and his aides must always be shielded from discovery. See United States v. Nixon, 418

U.S. 683, 703-13 (1974). In any event, even if conversations between President Trump and

Attorney General Barr were protected from discovery, that protection would be enforced by a

specific limitation on discovery, not the wholesale dismissal of claims.

       Defendant Barr’s authorities regarding dismissal of Bivens claims against a former

Attorney General are easily distinguishable, as they involved challenges to government policies,

not to specific actions taken on a particular occasion. See Mejia-Mejia v. ICE, 2019 WL 4707150,

at *4-*5 (D.D.C. Sept. 26, 2019); K.O., 2020 WL 3429697, at *10. Indeed, the plaintiffs in those

cases made no allegations that the then-Attorney General personally took or directed specific

actions toward them. Mejia-Mejia, 2019 WL 4707150, at *4 n.5; accord K.O., 2020 WL 3429697,

at *10 (noting that the challenged conduct and legal theories were the same as in Mejia-Mejia).

Therefore, these suits were “collateral challenge[s] to a government-wide policy[,]” not “discrete

conduct” amenable to a Bivens claim. Mejia-Mejia, 2019 WL 4707150, at *4. Because this case

involves discrete conduct, a Bivens claim is available against Defendant Barr.

III.   The D.C. Defendants Seized Plaintiffs Foley And E.X.F. (Claims 7 & 8).

       Independent of their claim to qualified immunity based on the circumstances of their use

of force, the D.C. Defendants—but not any of the federal defendants—try to avoid the Fourth

Amendment inquiry entirely by arguing that tear-gassing people does not “seize” them. D.C. MTD



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22-24. It is clear under both binding and persuasive authority that they are wrong. The “application

of physical force to restrain movement, even when it is ultimately unsuccessful” is sufficient to

constitute a seizure. California v. Hodari D., 499 U.S. 621, 626 (1991); accord United States v.

Brodie, 742 F.3d 1058, 1061 (D.C. Cir. 2014). Indeed, the concept of a seizure encompasses “the

mere grasping or application of physical force with lawful authority, whether or not it succeeded

in subduing the arrestee.” Hodari D., 499 U.S. at 624; accord id. at 625 (arrest occurs at “the

slightest application of physical force, despite the arrestee’s escape”). The means to restrain the

subject’s movement must be “intentionally applied.” Brower v. Cty. of Inyo, 489 U.S. 593, 596-97

(1989). An arrest need not have resulted. Kyle v. Bedlion, 177 F. Supp. 3d 380, 391 (D.D.C. 2016).

       The D.C. Circuit and this Court have recognized that even a momentary limitation of a

person’s freedom of movement (or the person’s submission to authority) is a seizure if it results

from means intentionally applied. See Brodie, 742 F.3d at 1061 (seizure occurred for the moment

suspect put his hands on a car as directed by police, even though he subsequently fled); Kyle, 177

F. Supp. 3d at 390-92 (partygoer seized when she was shoved into a barbeque by police officer,

because “a seizure can be accomplished in an instant, and there is no minimum time that a

plaintiff’s freedom of movement must be terminated in order to establish that a seizure has

occurred” (citation and internal quotation marks omitted)). Other circuits agree. See Atkinson v.

City of Mountain View, 709 F.3d 1201, 1208-09 (8th Cir. 2013) (where officer’s “bull rush”

knocked subject ten to fifteen feet backward, “a seizure occurred the moment [the officer] charged

into [the subject]”); Nelson v. City of Davis, 685 F.3d 867, 875-76 (9th Cir. 2012) (person rendered

temporarily “immobile” by a projectile filled with pepper spray was seized); Slusher v. Carson,

540 F.3d 449, 452, 454-55 (6th Cir. 2008) (plaintiff seized when an officer momentarily grabbed

her hand); Acevedo v. Canterbury, 457 F.3d 721, 723-25 (7th Cir. 2006) (subject seized by single



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punch that caused him to fall, in spite of the fact that he got back to his feet; “[t]he fact that the

restraint on the individual’s freedom of movement is brief makes no difference”).5

        That principle answers Defendants’ argument. Plaintiffs Foley and E.X.F. allege that

Defendants intentionally applied physical force—specifically, tear gas—to restrain their

movement by making them choke and cough and by making their eyes burn. TAC ¶¶ 193-96. And

in fact the tear gas did force Plaintiffs to halt and “take shelter” as they attempted to recover. Id. ¶

195. The result was not merely a restraint but a nonconsensual bodily intrusion as the gas entered

Plaintiffs’ lungs.6



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  The District’s purportedly contrary authorities prove little. White v. City of Markham, 310 F.3d
989 (7th Cir. 2002), which did not involve chemical irritant, did not even resolve whether a seizure
had occurred on the facts of that case. See id. at 955 (“[I]t is unclear whether a seizure occurred.
We do not need to answer that question ....”). And Slocum v. Palinkas, 50 F. App’x 300, 302 (6th
Cir. 2002), involved a push, not chemical irritant, and although that unpublished case is arguably
in some tension with the decisions cited above, the Sixth Circuit’s authoritative view of the matter
is set forth in its subsequent precedential decision (cited above) in Slusher.
6
  Although the Court need not reach the question because Plaintiffs did halt, federal courts
applying these rules routinely hold that, when an officer intentionally sprays a person with pepper
spray, that person is seized, regardless of whether the person halts. See McCracken v. Freed, 243
F. App’x 702, 708 (3d Cir. 2007) (plaintiff seized when law enforcement threw pepper spray
canisters into her house “with the intent of temporarily debilitating any persons occupying the
home” (citation and footnote omitted)); Bettencourt v. Arruda, 2012 WL 5398475, at *7-*8 (D.
Mass. Nov. 1, 2012) (evidence showed seizure where plaintiff “was subjected to physical force
that was applied by [Officer] Arruda for the purpose of restraining his movement” when “Arruda
pulled him by the arm and sprayed him with pepper spray,” even though it “did not stop him” and
plaintiff was able to drive away afterward); Logan v. City of Pullman, 392 F. Supp. 2d 1246, 1260
(E.D. Wash. 2005) (plaintiffs seized when pepper-sprayed “because the Defendant Officers
dispersed [pepper spray] in an attempt to gain physical control over those individuals”); Yelverton
v. Vargo, 386 F. Supp. 2d 1224, 1228 (M.D. Ala. 2005) (“Officer Vargo’s pepper spraying of
McConnell constituted a seizure even though it did not stop him.”); accord Pluma v. City of New
York, 2015 WL 1623828, at *4 (S.D.N.Y. Mar. 31, 2015); Hamilton v. City of Olympia, 687 F.
Supp. 2d 1231, 1241 (W.D. Wash. 2009). And courts have specifically held that using pepper
spray to redirect demonstrators constitutes a seizure. See Jennings v. City of Miami, 2009 WL
413110, at *9 (S.D. Fla. Jan. 27, 2009); Marbet v. City of Portland, 2003 WL 23540258, at *10
(D. Or. Sept. 8, 2003); see generally Brendlin v. California, 551 U.S. 249, 254 (2007) (seizure
occurs when officer “terminate or restrains [subject’s] freedom of movement” (emphasis added)).


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       That Plaintiffs were not individually targeted by Defendants, but instead were part of a

larger group at which Defendants’ use of force was aimed, does not alter the fact that they were

seized (contrary to the D.C. Defendants’ argument, D.C. MTD 23). As the Supreme Court has

explained, an “unintended person may be the object” of a seizure so long as the act itself is “willful”

rather than “unknowing.” Brendlin v. California, 551 U.S. 249, 254 (2007) (cleaned up); accord

Brower, 489 U.S. at 596. Applying this principle to circumstances like those here, one federal

court of appeals held that where officers shot projectiles at a group of demonstrating students, a

student struck by one of them was seized even if he had not been individually targeted:

       [T]he officers’ conduct resulted in Nelson being hit by a projectile that they
       intentionally fired towards a group of which he was a member. Their conduct was
       intentional, it was aimed towards Nelson and his group, and it resulted in the
       application of physical force to Nelson’s person as well as the termination of his
       movement. Nelson was therefore intentionally seized under the Fourth
       Amendment.

Nelson v. City of Davis, 685 F.3d 867, 876 (9th Cir. 2012). The same reasoning applies here: by

firing pepper spray at the group of fleeing demonstrators that included Plaintiffs Foley and E.X.F.,

Defendant officers intentionally applied physical force to restrain their movement. Plaintiffs Foley

and E.X.F. have sufficiently alleged that the D.C. Defendants seized them within the meaning of

the Fourth Amendment.

IV.    As Pleaded In The Complaint, Both Defendant Barr And The D.C. Defendants
       Participated In The Violations Alleged (Claims 1, 2, 7 & 8).

       Defendant Barr and the D.C. Defendants are incorrect that the complaint seeks to impose

liability for constitutional violations in which they did not participate. Barr MTD 30-32; D.C. MTD

17-20. Although respondeat superior liability is not permitted for constitutional torts, both Bivens

and 42 U.S.C. § 1983 impose liability where a defendant was “personally and directly involved”

in the constitutional violation. Johnson v. District of Columbia, 67 F. Supp. 3d 157, 164 (D.D.C.



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2014) (discussing Bivens); Jo v. District of Columbia, 582 F. Supp. 2d 51, 59 (D.D.C. 2008)

(discussing § 1983). It is not necessary that a defendant be solely responsible for the violation;

rather, under ordinary tort-law principles applicable to § 1983 and Bivens actions, “where several

independent actors concurrently or consecutively produce a single, indivisible injury,” each is

liable. Wesby v. District of Columbia, 841 F. Supp. 2d 20, 41 (D.D.C. 2012), aff’d, 765 F.3d 13

(D.C. Cir. 2014), rev’d on other grounds, 138 S. Ct. 577 (2018). The personal-involvement

standard is satisfied as to both Defendant Barr and the D.C. Defendants.

   A. Plaintiffs have sufficiently alleged the personal involvement of Defendant Barr.

       As alleged in the complaint, on June 1, “[a]t approximately 6:08 pm, Defendant Barr

entered Lafayette Square,” and minutes later, after “pointing north towards St. John’s Church ...

Defendant Barr personally ordered that Lafayette Square be cleared,” TAC ¶¶ 78-79; see also TAC

¶¶ 202 (“Attorney General Barr personally ordered law enforcement officers to forcibly remove

Plaintiffs and other class members from Lafayette Square and its vicinity”). These allegations are

based on a Justice Department statement and reporting by the Washington Post.

       These plausibly-pleaded allegations show that Barr directly and personally participated in

the alleged unconstitutional conduct. Ordering something to be done is a form of participating and

has nothing to do with respondeat superior, which holds a supervisor liable for conduct of which

he may not even have knowledge. Accordingly, officials are liable for ordering unconstitutional

conduct. See Keating v. City of Miami, 598 F.3d 753, 758, 766-67 (11th Cir. 2010) (rejecting

qualified immunity for supervisory officers who ordered dispersal of peaceful protest); Pena-Pena

v. Figueroa-Sancha, 866 F. Supp. 2d 81, 91-94 (D.P.R. 2012) (same). It does not matter that

Plaintiffs do not at this stage have the exact words that Defendant Barr used and cannot precisely

parcel out how much of the instructions came from Defendant Barr and how much from other



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Defendants; that is what discovery is for, not motions to dismiss. Were the law otherwise, Plaintiffs

would be required to plead facts they could not reasonably be expected to have.

       Ashcroft v. Iqbal, 556 U.S. 662 (2009), on which Defendant Barr relies, cannot be read to

rule out every allegation against a high-ranking official. That would make the most powerful the

least accountable. Rather, the allegations in Iqbal failed because they made a wholly conclusory

inference—a “formulaic recitation of the elements”—for which Plaintiffs had no factual basis. Id.

at 681 (citation and internal quotation marks omitted). Here, by contrast, the Department of Justice

admitted the fact on which Plaintiffs rely: that Defendant Barr ordered the challenged conduct.

TAC ¶ 79.

   B. Plaintiffs have sufficiently alleged the involvement of the D.C. Defendants.

       The Court need not tarry long with the D.C. Defendants’ efforts to disclaim responsibility

for any wrongdoing simply because they are not accused of wrongdoing at Lafayette Square itself.

D.C. MTD 17-20. As the complaint makes clear, the D.C. Defendants’ attack on the fleeing

demonstrators constituted excessive force (because Plaintiffs posed no threat and broke no laws)

and violated Plaintiffs’ First Amendment rights by further dispersing them. TAC ¶¶ 72-75, 84-87,

100-03, 107, 190-98. Just because the D.C. Defendants are not responsible for the entire course of

unlawful conduct does not mean they can escape liability for the part in which they participated.

Wesby, 841 F. Supp. 2d at 41.

       And there is obviously no excuse for what the D.C. Defendants did. No force at all was

needed to ensure that the protestors fleeing the federal attack were channeled south down 17th

Street NW; all the D.C. Defendants had to do was maintain their formation blocking off the north

and west sides of the intersection of 17th and H Streets NW, and the demonstrators would have




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continued south on their own. There was no threat to the officers or to anyone else from the fleeing

demonstrators. The D.C. Defendants heaped violence on top of violence—for no reason at all.

V.      Plaintiffs Have Standing, Including For Equitable Relief (Claims 3, 4, 5, 6, 9 & 10).

        The federal official-capacity Defendants challenge Plaintiffs’ standing. U.S. MTD 9-22.

To establish standing, a plaintiff must “present an injury that is concrete, particularized, and actual

or imminent; fairly traceable to the defendant’s challenged behavior; and likely to be redressed by

a favorable ruling.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2565 (2019) (quoting Davis

v. FEC, 554 U.S. 724, 733 (2008)).7 At the motion-to-dismiss stage, “the factual allegations in the

complaint are assumed to be true” and a plaintiff need only “‘state a plausible claim’ that each of

the standing elements is present.” Attias v. Carefirst, Inc., 865 F.3d 620, 625, 627 (D.C. Cir. 2017)

(internal citation omitted). The case may proceed if even one plaintiff has standing. Carpenters

Indus. Council v. Zinke, 854 F.3d 1, 9 (D.C. Cir. 2017). Plaintiffs seeking prospective relief must

show “an ongoing injury or ... an immediate threat of injury.” Dearth v. Holder, 641 F.3d 499, 501

(D.C. Cir. 2011). Plaintiffs here have plausibly alleged both.

     A. Plaintiff BLMDC has plausibly alleged both past and present, ongoing injury.

        To establish organizational standing, an organization must show “actual or threatened

injury in fact that is fairly traceable to the alleged illegal action and likely to be redressed by a

favorable court decision.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir.

2015) (citation and internal quotation marks omitted). One way to establish such an injury is to

show: (1) “the [defendant’s] action or omission to act injured the [organization’s] interest” and (2)



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  Defendants suggest there are four elements to standing—the three traditional Article III elements
and an additional likelihood-of-injury element under City of Los Angeles v. Lyons, 461 U.S. 95
(1983). U.S. MTD 10. In fact, Lyons considered the likelihood question under the injury prong of
Article III standing. 461 U.S. at 101-02. Regardless, whether the likelihood question is a part of
the injury showing or a freestanding requirement is irrelevant to the outcome.
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“the organization used its resources to counteract that harm.” Id. (quoting People for the Ethical

Treatment of Animals v. U.S. Dep’t of Ag., 797 F.3d 1087, 1094 (D.C. Cir. 2015) (“PETA”)).

BLMDC has met both parts of this test. Its past injuries justify damages (Claims 5 & 6), and its

ongoing injuries entitle it to seek injunctive relief (Claims 3, 4, 5, 6, 9 & 10).

       As to the first prong of the inquiry, BLMDC’s mission “is to end systemic racism, in

particular the racially disproportionate use of state-sanctioned violence against the Black

community”; it carries out this mission “through protests [and] public accountability campaigns,”

among other tactics. TAC ¶ 117. Defendants’ unconstitutional attack at Lafayette Square injured

BLMDC’s mission by hindering one of its primary means for carrying out its mission—protests

against government violence. The hindrance has arisen both because of the fear among BLMDC’s

members that future demonstrations will be met with government violence of the type challenged

here, TAC ¶ 123, and because the injuries to BLMDC’s members are causing a drop in

organizational activity. Specifically, traumatized members took time off from organizational

activities like organizing and outreach, the organization refrained from participating in

demonstrations, and attendance at organizational activities has dropped. TAC ¶¶ 122, 124, 125.

Accordingly, Defendants’ actions “have perceptibly impaired the organization’s programs” by

making “the organization’s activities more difficult.” League of Women Voters v. Newby, 838 F.3d

1, 8 (D.C. Cir. 2016) (cleaned up).

       As to the second organizational-standing element, BLMDC has diverted and is diverting

resources to “assess[] and plan[] for potential violence by police,” and to meet “increased needs

for medical support and supplies to counteract the effects of chemical agents.” TAC ¶ 126a.

BLMDC has also diverted resources to “arrange for transportation from the demonstration for




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[injured] persons” and “facilitate medical care.” Id. ¶ 126d-e. These measures are directly “[i]n

response to Defendants’ actions.” TAC ¶ 126.

       Additionally, because of Defendants’ wanton use of force at Lafayette Square, members

and supporters have become fearful of attending BLMDC protest events, TAC ¶ 125—thereby

further undermining BLMDC’s effectiveness and requiring BLM to spend resources to counteract

this fear by “enhanc[ing] efforts to educate members and supporters regarding the potential

dangers of police violence, how to protect themselves, and what to do if there is another assault

like the one in Lafayette Square” and launching a “communications campaign about the events in

Lafayette Square to reduce the deterrent effects of Defendants’ actions on the participation of their

members or supporters.” TAC ¶ 126b-c. Thus, Defendants’ Lafayette Square attack has caused a

“‘drain on the organization’s resources,’ not ‘simply a setback to the organization’s abstract social

interests.’” Vote Forward v. DeJoy, 2020 WL 5763869, at *5 (D.D.C. Sept. 28, 2020) (quoting

Nat’l Ass’n of Home Builders v. EPA, 667 F.3d 6, 11 (D.C. Cir. 2011)).

       That BLMDC has taken these actions voluntarily “does not automatically mean that it

cannot suffer an injury sufficient to confer standing.” Equal Rights Ctr. v. Post Properties, Inc.,

633 F.3d 1136, 1140 (D.C. Cir. 2011). The inquiry “focus[es] on whether [the organization]

undertook the expenditures in response to, and to counteract, the effects” of defendants’ actions.

Id. Here, as the complaint makes clear, BLMDC’s actions are in direct response to, and attempt to

counteract, the effects of Defendants’ actions on BLMDC’s activities. See TAC ¶¶ 125-27.

       Contrary to Defendants’ suggestion that BLMDC “says nothing of a likelihood of a future

constitutional violation,” U.S. MTD 20, BLMDC’s diversions of resources are ongoing. As stated

in the complaint, “[t]he time and effort BLMDC has expended due to Defendants’ conduct has

reduced its capacity” to carry out its usual activities and “[t]his is curtailing the organization’s



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capacity to fulfill its mission.” TAC ¶ 127 (emphasis added); see Garnett v. Zeilinger, 2020 WL

5411295, at *7 (D.D.C. Sept. 9, 2020) (finding standing where “at least some of [plaintiff

organization’s] increased expenditures ... are ongoing, and there is no indication in the record that

[plaintiff] will cease these expenditures in the future” (record citations omitted)).

        BLMDC’s claim is different from that of the plaintiff in Food & Water Watch, on which

Defendants rely. There, the plaintiff consumer-advocacy organization claimed that new

regulations would result in inadequate food inspections and thus would require the organization to

spend resources educating its members. 808 F.3d at 920. But the organization failed to show that

its “organizational activities have been perceptibly impaired in any way.” Id. at 921 (emphasis

added). The organization continued to communicate with members as before, even if the

challenged actions motivated it to say new things. By contrast, BLMDC’s activity of organizing

people to participate in protests has been impeded; as discussed, its work has been interrupted and

obstructed in concrete ways. This distinction—between concretely hindering an organization’s

activities (as here) and a mere “abstract injury to its interests,” id.—is critical to the first prong of

the organizational standing analysis. As this Court recently explained, where an organization

cannot “identify any organizational activities the Department’s actions have impeded directly,” it

simply does not meet the first prong of the test, no matter how many resources it diverts in response

to the alleged harm. Weingarten v. Devos, 2020 WL 3412730, at *8 (D.D.C. June 22, 2020). In

both Food & Water Watch and Weingarten, the government’s regulatory failures may have made

the organizations feel that they had to work harder to educate their members, but the government’s

actions did not hinder the education work itself. That is not the case here; BLMDC’s organizational

activities have been directly impeded by Defendants’ actions.




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        And, unlike the plaintiffs in Food & Water Watch and Weingarten, BLMDC has been

forced to divert its resources in response, just to try to maintain levels of participation in its actions.

TAC ¶ 126b-c. In other words, the government’s actions have forced BLMDC to make

expenditures to counteract the direct effect those actions are having on the organization’s activities.

This effect amounts to an “inhibition of [plaintiff’s] daily operations, an injury both concrete and

specific to the work in which [it is] engaged”—which suffices for standing. PETA, 797 F.3d at

1094 (citation and internal quotation marks omitted). Am. Soc. for Prevention of Cruelty to Animals

v. Feld Entertainment, Inc., 659 F.3d 13 (D.C. Cir. 2011), which Defendants cite, is not to the

contrary; the court there did not rule out standing based on a diversion of resources to educate and

communicate with members to counteract a harm to the organization; rather, it held that the

challenged practice did not cause the injury to which the plaintiff organization was responding.

See id. at 26-28. Additionally, beyond education, BLMDC has had to plan for medical support and

supplies protecting against chemical irritants; arrange for transportation; and facilitate medical

care. TAC ¶ 126. These efforts have reduced BLMDC’s capacity to carry out its ordinary

programming. TAC ¶ 127. Thus, these expenditures are “concrete drains on [its] time and

resources” that “are sufficiently tangible to satisfy Article III’s injury-in-fact requirement.” Spann

v. Colonial Village, Inc., 899 F.2d 24, 29 (D.C. Cir. 1990).

        Defendants’ other authorities, U.S. MTD 20-21, are plainly inapposite: the plaintiffs in

those cases, unlike the Plaintiffs here, alleged no impairment of activities requiring concrete

diversions of resources. See Cigar Ass’n of Am. v. FDA, 323 F.R.D. 54, 62 (D.D.C. 2017) (no

standing where “[e]ach organization does no more than assert that it will have to expend some

undefined amount of additional resources”); Int’l Acad. of Oral Med. & Toxicology v. FDA, 195

F. Supp. 3d 243, 259 (D.D.C. 2016) (no standing where organization “has not explained how the



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[challenged action] has forced it to divert or modify its activities in any meaningful way from its

standard programmatic efforts”).

       BLMDC’s actions are not comparable to the fears of “potential future surveillance”

rejected in Clapper v. Amnesty International USA, 568 U.S. 398, 414 (2013), because unlike that

case, where the plaintiffs could not state whether they had ever been surveilled, see id. at 411

(noting that uncertainty in and of itself “substantially undermines [plaintiffs’] standing theory”),

there is no question even at this preliminary stage that the Lafayette Square attack has had a direct

effect on BLMDC’s members. The fact that BLMDC is taking self-protective steps based on a

probabilistic harm is no barrier to standing; the Supreme Court has repeatedly recognized such

steps as sufficiently related to the challenged harm to ground standing. See Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 154-55 (2010) (farmers had standing to challenge agency

decision to deregulate genetically modified crops because they had to take protective measures for

their crops based on the possibility that they would become contaminated with modified genes);

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. Inc., 528 U.S. 167, 181-84 (2000) (individuals’

decisions to stop using river for recreational activities based on possibility it was contaminated

were sufficient for standing). The problem in Clapper was that the required inference supporting

the plaintiffs’ changed behavior was “highly speculative,” 568 U.S. at 410; see also id. at 419-20

(distinguishing, but not casting doubt on, Friends of the Earth and Monsanto), not that an inference

was required at all.

   B. Plaintiffs are at substantial risk of future injury because the federal Defendants have
      asserted both the power and desire to “dominate” protesters like Plaintiffs.

       As a threshold matter, Defendants misstate the law when they claim that Plaintiffs must

show “that a threatened injury is ‘certainly impending.’” U.S. MTD 11, 22. Recent Supreme Court

decisions hold that an allegation of future injury “may suffice if the threatened injury is certainly

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impending, or there is a substantial risk that the harm will occur.” Dep’t of Commerce, 139 S. Ct.

at 2565 (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014); emphasis added).

The Supreme Court case that comes closest to suggesting otherwise, Clapper, predated these

authorities and discussed the issue only in dicta. See 568 U.S. at 414 n.5 (holding that plaintiffs

failed to meet the standing requirement under either test). Recognizing that point, the D.C. Circuit

has specifically held that “substantial risk” is sufficient and has repeatedly applied that test. See

Attias, 865 F.3d at 626-27 (citing examples).

       Plaintiffs here have shown a substantial risk of future injury. Plaintiffs need not allege the

specifics of how or when Defendants carry out their threatened actions. At this stage, this Court

need only conclude that Plaintiffs’ allegations have “plausibly alleged a risk of future injury that

is substantial enough to create Article III standing.” Id. at 626; see also In re Navy Chaplaincy,

697 F.3d 1171, 1177 (D.C. Cir. 2012) (plaintiffs’ allegations that challenged conduct will likely

result in harm need only be “sufficiently non-speculative to support standing”).8

       The threat of repetition of Defendants’ deployment of violence against lawful and peaceful

demonstrators is substantial because Defendants themselves have made clear they believe they are

entitled to respond that way to any demonstration. The day after the Lafayette Square attack,

Defendant Trump gloated on Twitter about the use of “overwhelming force” to achieve

“[d]omination” in the District of Columbia. TAC ¶ 205. Defendant Trump has additionally urged

governors to “dominate” protesters, TAC ¶ 57, and stated that “when the looting starts, the




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  Because the individual Plaintiffs do not rely on a “chilling effect” alone but also the threat of
future harm, Defendants’ discussion of Laird v. Tatum, 408 U.S. 1 (1972), is inapposite. See id. at
13 (finding plaintiffs lacked standing where “their claim, simply stated, is that they disagree with
the judgments made by the Executive Branch with respect to the type and amount of information
the Army needs and that the very existence of the Army’s data-gathering system produces a
constitutionally impermissible chilling effect upon the exercise of their First Amendment rights”).
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shooting starts.” TAC ¶ 54. And Defendant Trump has threatened to deploy military forces to

confront protesters. TAC ¶ 61. Defendant Esper has described public spaces as “battlespaces”

which law enforcement should “dominate” during protests. TAC ¶ 59. These statements come

from officials with the power to order the threatened violence, and they come on the heels of the

actual use of unlawful violence against Plaintiffs and others—reflecting intent to continue

violating Plaintiffs’ and other protestors’ constitutional rights.

       Defendants’ argument that Plaintiffs’ standing fails because their risk of future harm

“depend[s] on a series of speculative events,” U.S. MTD 13, is based on a misreading of both City

of Los Angeles v. Lyons, 461 U.S. 95 (1983), and the complaint here. Lyons involved a “sequence

of individually improbable events”; it did not create a “per se rule denying standing to prevent

probabilistic injuries.” Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1162 (11th Cir.

2008) (emphasis added). Defendants overstate the chain of contingencies required for the

challenged harm to recur. Defendants’ suggestion that, for further governmental violence to occur,

“the demonstration would need to prompt a response by federal law enforcement,” U.S. MTD 14

(emphasis added), ignores the gravamen of the complaint: that Defendants’ wanton acts of

violence here were entirely unprovoked. Further, Defendants have asserted authority to

“dominate” protesters and put them to flight without regard for whether protesters were engaged

in unlawful activity. Unlike in Lyons, no unlawful conduct by Plaintiffs is necessary here for them

to be once again subject to Defendants’ violence. Plaintiffs cannot be expected to avoid future

injury when their conduct is “entirely innocent” and “there is no tenable argument that [P]laintiffs

should avoid” such behavior. Hodgers-Durgin v. de la Vina, 199 F.3d 1037, 1041 (9th Cir. 1999)

(en banc); cf. Honig v. Doe, 484 U.S. 305, 320 (1988) (Court is generally “unwilling to assume

that the party seeking relief will repeat the type of misconduct that would once again place him or



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her at risk of that injury”). Plaintiffs’ “engag[ing] in an activity protected by the Constitution” is a

“critical factual distinction between Lyons and the instant case ... dictat[ing] a different result.”

Hernandez v. Cremer, 913 F.2d 230, 234 (5th Cir. 1990). Not only were Plaintiffs “not engaged

in any form of misconduct”; they were “exercising a fundamental Constitutional right.” Id. at 234-

35.

       Plaintiffs have specifically alleged that they intend to continue demonstrating against

police brutality, TAC ¶ 176, 201, including at the White House. TAC ¶ 129. Thus, the only

question is whether Defendants will once again wield force to disperse protesters—far from the

long parade of contingencies Defendants invoke. See, e.g., Williams v. Wilkinson, 132 F. Supp. 2d

601, 605-06 (S.D. Ohio 2001) (finding standing where “only one step would be necessary to reach

the complained of conduct”). That possibility poses a substantial risk because of Defendants’ broad

assertions of authority, their demonstrated willingness to deploy it, and their rank: the threat of

future harm here comes from the most powerful officials in the federal government—hardly a

“sporadic, random practice of government officers gone rogue.” Creedle v. Miami-Dade Cty., 349

F. Supp. 3d 1276, 1290 (S.D. Fla. 2018).

       Unsurprisingly, courts around the country considering lawsuits over unlawful policing

tactics in response to protests have issued injunctive relief. See, e.g., Black Lives Matter Seattle-

King County v. City of Seattle, 2020 WL 3128299, at *5 (W.D. Wash. June 12, 2020); Don't Shoot

Portland v. City of Portland, 2020 WL 3078329, at *4-*5 (D. Or. June 9, 2020); Abay v. City of

Denver, 445 F. Supp. 3d 1286, 1294-95 (D. Colo. 2020). Plaintiffs here likewise state a “plausible”

claim for standing. Attias, 865 F.3d at 625.




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VI.    Plaintiffs Have Stated Claims Against The District Of Columbia Because The District
       Was Deliberately Indifferent To The Need To Train Its Officers Regarding Limits On
       The Use Of Chemical Irritants Against Demonstrators (Claims 9 & 10).

       Defendant District of Columbia contends that Plaintiffs have not sufficiently pleaded

municipal liability, D.C. MTD 28-41, but the complaint plausibly alleges that the District’s failure

to train its officers amounts to deliberate indifference. Municipalities are liable for constitutional

violations caused by their deliberately indifferent failures of training. City of Canton v. Harris,

489 U.S. 378, 388 (1989). Deliberate indifference is shown where “in light of the duties assigned

to specific officers or employees the need for more or different training is so obvious, and the

inadequacy so likely to result in the violation of constitutional rights, that the policymakers of the

city can reasonably be said to have been deliberately indifferent to the need.” Id. at 390; accord

Baker v. District of Columbia, 326 F.3d 1302, 1306-07 (D.C. Cir. 2003). This may occur where

(1) “police, in exercising their discretion, so often violate constitutional rights that the need for

further training must have been plainly obvious to the city policymakers, who, nevertheless, are

‘deliberately indifferent’ to the need” or where (2) city policymakers “know to a moral certainty

that their police officers will be required to” engage in a particular task, yet fail to train them for

this task. Id. at 390 n.10. The District’s failure to train its officers regarding the circumstances of

June 1, 2020 meets both standards.

       No specific incidents were necessary here to put the District on notice of the need for

training regarding chemical irritants specifically and the constitutional handling of demonstrations

generally. As the nation’s capital, the District of Columbia is a unique venue for demonstrations.

And the District was of course aware that it had issued chemical irritants to its officers policing

demonstrations. See MPD Standard Operating Procedures 16-01, Attach. E, § F(3) & F(5)

(discussing uses of “chemical force” and “OC spray dispensers,” i.e., pepper spray),



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https://go.mpdconline.com/GO/SOP_16_01.pdf. Indeed, this is a tactic that the D.C. Code

specifically regulates. See D.C. Code § 5-331.16(b) (limiting uses of “chemical irritant”). District

officials therefore “kn[e]w to a moral certainty” that MPD officers would be required at some point

to police demonstrations at which they would need to determine how and when to deploy (or not

deploy) their chemical weapons.

       Additionally, the District has a history of using excessive force against peaceful

demonstrators. TAC ¶ 110. The District objects that the incidents Plaintiffs cite, even the use of

force against unresisting demonstrators during the 2017 Inauguration Day protests, are too dated

to put the District on notice that it needed training prior to the June 2020 assault at issue here. But

the District provides no basis to conclude that the need for training regarding the constitutional

limits on the use of chemical irritants would have diminished with the passage of time. And the

District’s authorities on this point, see D.C. MTD 36-37, all resolved motions for judgment

(summary or otherwise), not motions to dismiss. See Moore v. District of Columbia, 79 F. Supp.

3d 121, 123 (D.D.C. 2015); Dormu v. District of Columbia, 795 F. Supp. 2d 7, 15 (D.D.C. 2011);

Robinson v. District of Columbia, 403 F. Supp. 2d 39, 41 (D.D.C. 2005); Byrd v. District of

Columbia, 297 F. Supp. 2d 136, 138 (D.D.C. 2003). Therefore, the question in those cases was

whether plaintiffs had evidence of what the District should have known. Prior to discovery,

however, such evidence is much harder for plaintiffs to obtain, so less fully developed allegations

are acceptable. Kelleher v. Dream Catcher, LLC, 263 F. Supp. 3d 322, 325-26 (D.D.C. 2017). And

none of Defendants’ authorities imposed a hard-and-fast rule about how recent incidents must be

to provide relevant notice. Cf. Huthnance v. District of Columbia, 793 F. Supp. 2d 183, 187, 197-

200 (D.D.C. 2011) (rejecting judgment as a matter of law for District where plaintiff sued the

District over a constitutional violation that occurred in 2005 and relied on a Civilian Complaint



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Review Board report from 2003 that in turn looked at statistics regarding police conduct from

1995-2000). In denying in part the motion to dismiss in Horse v. District of Columbia, No. 1:17-

cv-01216 (D.D.C. Sept. 27, 2019), this Court held that, at the motion to dismiss stage, examples

from more than a decade before the conduct at issue (including many of the same examples

Plaintiffs cite in their complaint here), sufficed to state a plausible claim for municipal liability on

a failure-to-train theory. See Tr. of Oral Decision 70-72 (copy attached).

       There are two possible inferences one might draw from the fact that some of Plaintiffs’

examples are not recent: either these incidents reflect outdated information about a problem the

District could reasonably expect to have gone away, or they show a pervasive, tenacious problem

that has gone inadequately addressed for more than a decade. Plaintiffs have alleged a number of

incidents of excessive force in which chemical irritants were deployed against unresisting

demonstrators, TAC ¶ 110, followed by repeated “unjustified and excessive use of batons and

chemical irritants causing significant physical injuries” in the weeks after the Lafayette Square

attack. TAC ¶ 114a. These facts suggest a pervasive problem that the Department had failed to fix

previously rather than a spontaneous reemergence of a problem that had subsided or that the

Department had addressed. See Matthews v. District of Columbia, 730 F. Supp. 2d 33, 38 (D.D.C.

2010) (“[T]he Court can plausibly infer from the facts animating plaintiffs’ allegations that the

[violations] were not the result of rogue officers acting contrary to their training. In other words,

given the variety of abuses, the number of officers, and time period during which these abuses

allegedly took place, plaintiffs have raised an inference that the combination of these factors can

demonstrate that the District of Columbia was deliberately indifferent to plaintiff’s constitutional

rights.” (citation, source’s alteration marks, and internal quotation marks omitted)). These facts

also provide far more detail than an allegation of a single instance of unconstitutional conduct



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followed by conclusory recitation of the municipal liability standard or a “generalized assertion of

ignored and unanswered complaints of harassment and police misconduct,” so Defendants’

citations to Miango v. Democratic Republic of the Congo, 243 F. Supp. 3d 113, 128 (D.D.C. 2017),

and Bell v. District of Columbia, 82 F. Supp. 3d 151, 159 (D.D.C. 2015), are inapposite. Plaintiffs’

plausible inference of a persistent, ongoing problem need not be the only possible inference to be

credited at the pleading stage. See Evangelou v. District of Columbia, 901 F. Supp. 2d 159, 170

(D.D.C. 2012).

       Regarding whether the District was deliberately indifferent to the need for training, the

District’s long pattern of excessive and unlawful use of chemical irritants supports an inference of

deliberate indifference. Defendants contend that Plaintiffs’ allegations of a lack of training are

implausible in light of the passage of the First Amendment Assembles Act, which mandated

specific standards and training. D.C. MTD 38. However, a “paper” policy cannot insulate a

municipality from liability where a municipality was deliberately indifferent to the policy’s

violation. Daskalea v. District of Columbia, 227 F.3d 433, 442 (D.C. Cir. 2000); Banks v. Booth,

459 F. Supp. 3d 143, 156 (D.D.C. 2020) And this Court has recognized that orders proscribing the

conduct at issue do not render allegations of deliberate indifference implausible. See Matthews,

730 F. Supp. 2d at 38 (holding that plaintiff stated municipal liability claim despite MPD General

Order prohibiting the cavity searches alleged in complaint); accord McComb v. Ross, 202 F. Supp.

3d 11, 18 (D.D.C. 2016) (same).

       Defendants complain that Plaintiffs do not allege with specificity that training was

inadequate, D.C. MTD 37, but there is no “heightened pleading standard” for cases alleging

municipal liability under 42 U.S.C. § 1983. Leatherman v. Tarrant Cty. Narcotics Intel. & Coord.




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Unit, 507 U.S. 163, 168 (1993). Plaintiffs may plead on information and belief regarding subjects

known only to defendants prior to discovery. Kelleher, 263 F. Supp. 3d at 325-26.

       Finally, the widespread and egregious nature of the constitutional violations at issue here—

including the involvement of an Assistant Chief supervising the conduct—gives rise to a plausible

inference that the District has defaulted in training obligations. MPD officers “fired tear gas at

demonstrators as they fled,” injuring peaceful demonstrators. TAC ¶ 3; see also id. ¶ 89. That

night, MPD officers continued using chemical irritants against demonstrators elsewhere in the

District after attacking those fleeing Lafayette Square. TAC ¶ 113. Even when confronted with

demonstrators injured as a result of the tear gas, MPD officers “provided no assistance and instead

yelled at [Plaintiffs] to move, even though the only place to go was into the cloud of tear gas that

had been deployed further down the street.” TAC ¶ 197. Given these detailed and alarming

allegations, Plaintiffs’ deliberate indifference claim is quite plausible. Whether or not the District

was deliberately indifferent is, accordingly, a question of fact, not a basis for dismissal.

VII.   Plaintiffs Have Stated Claims Under 42 U.S.C. §§ 1985 & 1986 (Claims 5 & 6).

       In 1871, Congress enacted the Ku Klux Klan Act, which included today’s 42 U.S.C.

§§ 1985 and 1986, as a means of combatting the violence directed at newly-freed, formerly

enslaved people and “their supporters” by creating causes of action for conspiracies to deprive

civil rights. United Bhd. of Carpenters & Joiners of Am., Local 610, AFL-CIO v. Scott, 463 U.S.

825, 836 (1983) (“Carpenters”).

       Defendants all challenge Plaintiffs’ civil-rights conspiracy claims under 42 U.S.C. §§ 1985

and 1986. U.S. MTD 22-26; Barr MTD 42-45; D.C. MTD 10-17. With regard to the § 1985 claim,

Defendants all argue that the complaint fails to allege that they joined a conspiracy; Defendant

Barr additionally contends that the intracorporate conspiracy doctrine defeats the claim.



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Defendants Barr and the D.C. Defendants further argue that they did not share President Trump’s

discriminatory intent (an element that the federal official-capacity Defendants do not contest). On

§ 1986, all Defendants argue that the claim fails because Plaintiffs failed to plead a § 1985

conspiracy, which is a predicate for a § 1986 claim. The D.C. Defendants also contest the § 1986

claim by arguing that MPD had no authority over the federal law enforcement officers and

therefore had no ability to prevent or aid in preventing the § 1985 conspiracy. Finally, the federal

official-capacity Defendants argue that injunctive relief is unavailable under §§ 1985 and 1986,

and that sovereign immunity shields it from liability.

       Plaintiffs have stated claims under both statutory sections, including for injunctive relief.

   A. Plaintiffs adequately pleaded claims under 42 U.S.C. § 1985(3).

       To plead a claim under 42 U.S.C. § 1985(3), a plaintiff must allege “(1) a conspiracy; (2)

for the purpose of depriving, either directly or indirectly, any person or class of persons of the

equal protection of the laws, … and (3) an act in furtherance of the conspiracy; (4) whereby a

person is either injured in her person or property or deprived of any right or privilege of a citizen

of the United States.” Martin v. Malhoyt, 830 F.2d 237, 258 (D.C. Cir. 1987) (citation omitted).

Plaintiffs have plausibly pleaded the elements of this claim. All Defendants challenge the first

element: presence of a conspiracy. Defendant Barr and the D.C. Defendants challenge a

component of the second element: that the conspiracy had discriminatory intent. The other

components of the second element, as well as the other elements, are uncontested: Defendants do

not contest that Plaintiffs are a class or classes of persons protected by § 1985, that the rights

Plaintiffs allege Defendants violated are rights protected by § 1985, that Plaintiffs have alleged

acts in furtherance of the conspiracy, or that Plaintiffs pleaded injury.




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       1. Plaintiffs adequately pleaded a conspiracy that includes officers of the United
          States, the District of Columbia, and Arlington County.

       All Defendants contend that Plaintiffs failed to adequately allege Defendants’ participation

in a conspiracy, U.S. MTD 25-26; Barr MTD 43; D.C. MTD 10-13—which depends on the

existence of an “agreement between two or more persons.” Halberstam v. Welch, 705 F.2d 472,

477 (D.C. Cir. 1983); see Barr v. Clinton, 370 F.3d 1196, 1200 (D.C. Cir. 2004) (standard for

establishing a conspiracy under § 1985(3) is the same as civil conspiracy). First, all Defendants

argue incorrectly that evidence of explicit agreement is required. As a matter of law, however, no

explicit agreement is required to establish a conspiracy, and Plaintiffs have adequately pleaded

facts from which an agreement can be inferred. Second, Defendant Barr (alone) argues that there

is no “agreement between two or more persons” on the grounds that all federal defendants must

be treated as a single “person” for the purposes of conspiracy—the intracorporate conspiracy

doctrine. Barr MTD 44. But Plaintiffs have plausibly pleaded a conspiracy between employees of

the Executive Branch and those of two other independent entities: agents of the District of

Columbia and of Arlington County, Virginia.9

           a. Plaintiffs have adequately pleaded the existence of an “agreement between two or
              more persons.”

       Plaintiffs have pleaded more than enough to survive a motion to dismiss. To establish a

conspiracy, Plaintiffs “need not allege that an express or formal agreement was entered into.”

United States v. Comput. Scis. Corp., 53 F. Supp. 3d 104, 134 (D.D.C. 2014); accord Lagayan v.

Odeh, 199 F. Supp. 3d 21, 30 (D.D.C. 2016). Instead, “courts have to infer an agreement from




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  Even if the Court decides to grant the motion to dismiss of one or more defendants, the remaining
defendant(s) remain liable for the conspiracy. See United States v. Dakins, 872 F.2d 1061, 1065
(D.C. Cir. 1989) (explaining that even “if charges are dismissed against all other coconspirators
… dismissal of charges against the remaining conspirator is not required.”).
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indirect evidence in most civil conspiracy cases.” Halberstam, 705 F.2d at 486; Fisher v.

Shamburg, 624 F.2d 156, 162 (10th Cir. 1980) (observing, in context of § 1985(3), that “[d]irect

evidence of a conspiracy is rarely available, and the existence of a conspiracy must usually be

inferred from the circumstances.”); Nat’l Coal. on Black Civic Participation v. Wohl, __ F. Supp.

3d __, 2020 WL 6305325, at *22 (S.D.N.Y. Oct. 28, 2020) (§ 1985(3) conspiracy does not require

proof of explicit agreement). Plaintiffs therefore need only allege facts sufficient to allow an

“infer[ence] from the circumstances that the [conspirators] had a ‘meeting of the minds.’” Adickes

v. S.H. Kress & Co., 398 U.S.144, 157-158 (1970). “Factors like the relationship between the

parties’ acts, the time and place of their execution, and the duration of the joint activity” bear on

whether an agreement was reached between the parties. Halberstam, 705 F.2d at 486.

       Agreement can therefore be shown through circumstantial evidence, such as “the joint

appearance of defendants at transactions and negotiations in furtherance of the conspiracy; the

relationship among codefendants; mutual representations of defendants to third parties; and other

evidence suggesting unity of purpose or common design and understanding’ among conspirators

to accomplish the objects of the conspiracy.” United States v. Wardell, 591 F.3d 1279, 1287-88

(10th Cir. 2009) (cleaned up); see also United States v. Wood, 879 F.2d 927, 938 (D.C. Cir.

1989) (in criminal context, “[c]ircumstantial evidence, including inferences from a ‘development

and a collocation of circumstances,’ suffices to prove participation in a conspiracy”). For instance,

in Lagayan, this Court considered defenses to a civil conspiracy and § 1985 claim arising from an

alleged conspiracy to traffic the plaintiff to the United States and enslave her. 199 F. Supp. 3d at

24, 30-32. The defendants asserted similar defenses to those raised here—namely, that the plaintiff

had “set forth only conclusory allegations of an agreement between the ... Defendants and [had]

failed to allege any particulars ... showing that there was an agreement.” Id. at 30 (internal



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quotation marks omitted). The court rejected this argument, holding that a plaintiff is not required

to allege “the existence of an event, conversation, or document” in which an agreement was

reached and that even if such a requirement existed, the plaintiff had satisfied it. Id. at 31. Instead,

the court inferred the existence of a conspiracy from the mere fact that the defendants had

“coordinated Plaintiff’s international travel to Defendants’ home in the United States.” Id.

       And the necessary agreement can be made in an instant. In United States v. Scott, 2020 WL

6494642 (2d Cir. Nov. 5, 2020), the Second Circuit affirmed convictions under § 1985’s criminal

analogue, 18 U.S.C. § 241, which provides criminal penalties for engaging in conspiracies to

deprive civil rights. See Griffin v. Breckenridge, 403 U.S. 88, 98 (1971) (describing § 241 as “the

closest remaining criminal analogue to § 1985(3)” and looking to its case law to interpret §

1985(3)). In Scott, corrections officers were charged under § 241 for a group beating of an inmate.

They claimed that there was no “conspiracy” because “the assault was spontaneous” and “there

was insufficient evidence of an agreement.” Scott, 2020 WL 6494642, at *3. The Second Circuit

rejected this position, noting that there is no requirement of “an extended period of meditation or

a distinct verbal agreement” to find a conspiracy. Id. Although one officer’s “initial punch may

have been spontaneous,” the conspiracy could be established by evidence showing that “the other

officers acted in concert and purposefully joined the assault.” Id.

       Here, as in Lagayan and Scott, even the barest description of the June 1 attack on protesters

at Lafayette Square and the various parties who effectuated that attack supports a reasonable

inference that the Defendants “acted in concert” and “purposefully joined the assault.” Id. And

there are additional allegations here establishing—or from which one can reasonably infer—that

the Defendants also engaged in an “extended period of meditation” or reached a “distinct verbal

agreement” prior to the assault. Id. For example, Plaintiffs have alleged that the various defendants



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communicated and “coordinated” with each other, TAC ¶¶ 45, 76, 99, 107; that the federal and

Arlington defendants had a “command center” from which the attack was directed, TAC ¶¶ 45,

76, 99, 107; that the District and United States “regularly act[] in coordination” with each other,

TAC ¶ 105; and that an MPD officer met with U.S. military officers in close proximity to and

shortly prior to the attack, TAC ¶ 106. The coordinated nature of the attack is further supported by

the fact that tear gas was deployed ahead of officers advancing on foot and the fact that federal,

D.C., and Arlington officers used the same type of force against protesters throughout the incident.

TAC ¶¶ 141-143, 151, 160-163, 170-174, 186-190, 193.

       Plaintiffs have alleged—with far more specificity than is required—that Defendant Barr

was a member of the conspiracy. Defendant Barr himself entered Lafayette Square and personally

ordered the attack, and in fact admitted so publicly. TAC ¶¶ 5, 17, 60, 79. Defendant Trump had

charged Defendant Barr with “personally lead[ing] the response to the unrest”; as a result,

Defendant Barr had “directed the Federal Bureau of Prisons and other federal law enforcement

agencies to send ‘riot teams’ and other specialized agents to control the protests in Washington,

D.C.” TAC ¶ 60. On June 1, Defendant Barr met with federal law enforcement personnel minutes

before the attack commenced, TAC ¶¶ 5, 183, and “point[ed] north towards St. John’s Church.”

TAC ¶ 79. That meeting followed a “series of statements from Defendant Trump in the days and

hours leading up to [the] attack in which he clearly threatened to use and encouraged violence

against protesters.” TAC ¶ 5. In light of the temporal proximity between Defendant Barr’s meeting

with military and law enforcement leadership in front of Lafayette Square, and the fact that

Defendant Barr pointed in the direction in which the attack ultimately proceeded, a reasonable jury




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could easily infer the existence of an agreement between Defendant Barr and the members of the

conspiracy.10

        The D.C. Defendants’ participation in a conspiracy is likewise readily inferable from

Plaintiffs’ plausible and detailed allegations about MPD officers’ conduct. Immediately before the

attack on protesters began, “an MPD supervisory officer met and conferred with U.S. military

officers in the presence of the Army Chief of Staff on 16th Street NW less than two blocks north

of Lafayette Square.” TAC ¶ 106. MPD established police lines only one block west of Lafayette

Square. TAC ¶¶ 72-74. Like their federal counterparts, MPD officers donned gas masks in

preparation for the deployment of tear gas. TAC ¶¶ 75, 77. It would be quite a coincidence if MPD

officers just happened to decide to set up a police line, outfitted in riot gear, at a location to which

the federal Defendants were about to drive the demonstrators.

        Then the MPD officers acted simultaneously with the federal officers to attack protesters.

TAC ¶ 107. Like federal law enforcement, MPD officers deployed tear gas against protesters. TAC

¶¶ 89, 100-101, 103, 195-198. This is, on a grand scale, the sort of “act[ing] in concert and

purposefully join[ing] the assault” that the Second Circuit found sufficient to prove a conspiracy.

Scott, 2020 WL 6494642 at *3.

        The District Defendants’ protestations that these facts are mere coincidence, see D.C. MTD

15, strain credulity. More importantly, they contravene the standard on a motion to dismiss, under

which all reasonable inferences must be drawn in plaintiffs’ favor even if others are possible. Hurd,




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  It is immaterial whether Defendant Barr himself met with officers from MPD or ACPD because
members of a conspiracy do not all need to meet each other to be co-conspirators. United States v.
Jenkins, 928 F.2d 1175, 1178 (D.C. Cir. 1991) (“[T]here is no requirement that each conspirator
[even] know the identity of every other conspirator.”); United States v. Speed, 78 F. Supp. 366,
368 (D.D.C. 1948) (“An individual member of the combination need not be aware of all of its
ramifications or be cognizant of the number or identity of all of the other participants.”).
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864 F.3d at 678; Banneker Ventures, 798 F.3d at 1129. Given the history of coordination between

MPD and federal law enforcement, the physical proximity of where MPD established its lines to

the location of federal law enforcement, the direct meeting of the MPD supervisory officer with

federal officers near the scene of and shortly before the attack, and the contemporaneous and

complementary actions of MPD and federal officers during the attack, it is certainly plausible to

conclude, and a reasonable jury could find, coordination and, therefore, an agreement between

MPD officers and the other Defendants. Cf., e.g., United States v. Claxton, 685 F.3d 300, 311 (3d

Cir. 2012) (“[T]he jury could draw inferences about Claxton’s knowledge of drugs based on his

association with, and close proximity to, other conspiracy members and the facilities of the

organization[.]”); United States v. Kassar, 660 F.3d 108, 128 (2d Cir. 2011) (“[T]he government

may prove a defendant’s involvement in a conspiracy through circumstantial evidence, such as the

defendant’s presence at critical moments of the conspiracy[.]”).

       The complaint squarely places ACPD officers in the conspiracy as well. Federal law

enforcement officers, together with ACPD officers, “surrounded Plaintiffs and other civil rights

activists assembled in Lafayette Square,” TAC ¶ 67, and then these officers simultaneously donned

gas masks in preparation for the impending attack. TAC ¶ 77. ACPD officers participated in the

assault on the peaceful racial justice demonstrators alongside military and federal law enforcement

officers. TAC ¶ 99. Defendant Vincent of ACPD was present at the Joint Operations Command

Center and “coordinat[ed] the actions of the ACPD officers present at the Square with the federal

defendants.” TAC ¶ 76. His presence and the presence of ACPD officers on the line in Lafayette

Square were obviously not coincidences. ACPD officers do not ordinarily patrol the streets of

Washington, D.C. And, again, even if there were some other possible explanation for their




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presence, all reasonable inferences at this stage must be drawn in favor of Plaintiffs. Banneker

Ventures, 798 F.3d at 1129.

            b. The intracorporate conspiracy doctrine does not apply and Defendant Barr is not
            entitled to qualified immunity on this ground because Plaintiffs allege an
            intercorporate conspiracy.

        Defendant Barr alone contends that there was no “agreement between two or more persons”

because of the “intracorporate conspiracy doctrine,” Barr MTD 44, under which there can be no

conspiracy where a corporation “conspire[d] with its employees” or where its “employees, when

acting within the scope of their employment” conspired with each other. Blakeney v. O’Donnell,

117 F. Supp. 3d 6, 14 (D.D.C. 2015). But Plaintiffs have plausibly pleaded the existence of an

inter-corporate conspiracy: between employees of the District of Columbia, 11 employees of

Arlington County, and employees of the United States—three distinct “corporations.” E.g., TAC

¶¶ 3, 67, 76, 99; see also supra Part VII.A.1.a. Agents of all three entities participated in planning

the attack, and agents of all three entities participated in the attack.

        Defendant Barr asserts qualified immunity on the ground that the applicability of the

intracorporate conspiracy doctrine to § 1985(3) claims is not settled in this Circuit. Barr MTD 44-

45. But that dispute is irrelevant here, because even assuming the doctrine does apply, Plaintiffs

have alleged an intercorporate conspiracy.

        2. Plaintiffs adequately        pleaded     that   the conspiracy was motivated            by
           discriminatory intent.

        Defendants Barr and the D.C. Defendants (but not the federal official-capacity Defendants)

argue that Plaintiffs did not adequately allege discriminatory intent for the § 1985 conspiracy.




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   Although the President commands the D.C. National Guard, D.C. Code § 49-409, MPD reports
to the independently-elected Mayor of the District of Columbia. D.C. Code § 5-101.03.
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       Plaintiffs have pleaded facts sufficient to establish that all Defendants participated in a

discriminatory conspiracy. Under § 1985(3), the discriminatory intent requirement is met where

the conspiracy was targeted at plaintiffs because of their membership in a protected group. For

example, in Griffin, the Court found the requirement met where the respondents had conspired to

“prevent [the] plaintiffs and other Negro-Americans ... from seeking the equal protection of the

laws and from enjoying ... equal rights” because of their race. 403 U.S. at 103. The Court made no

mention of a requirement to show personal prejudice. Id. The Supreme Court and lower courts

have used similar reasoning in other cases. See. e.g., Bray v. Alexandria Women’s Health Clinic,

506 U.S. 263, 272 (1993) (the conspiracy must have “selected or reaffirmed a particular course of

action at least in part ‘because of’ ... its adverse effects upon an identifiable group”); Silkwood v.

Kerr-McGee Corp., 637 F.2d 743, 746 (10th Cir. 1980) (“In order to support a section 1985(3)

claim, the plaintiff must be a member of a statutorily protected class, and the actions taken by

defendant must stem from plaintiff's membership in the class.” (emphasis added)).

       Plaintiffs are Black Americans and civil rights activists. TAC ¶¶ 65, 67, 94, 128, 138, 167,

246, 248. Those who, like Plaintiffs, advocate equal rights for Black Americans, regardless of their

own racial identity, are themselves a protected class under 42 U.S.C. § 1985(3). Carpenters, 463

U.S. at 836 (§ 1985(3) applies to “class-based animus” directed “against Negroes and those who

championed their cause”); Hobson v. Wilson, 737 F.2d 1, 21 (D.C. Cir. 1984) (holding that “[a]t

a minimum ... section 1985(3) reaches conspiracies motivated by animus against Blacks and those

who support them”), partially abrogated on other grounds, Leatherman v. Tarrant Cty. Narcotics

Intel. & Coord. Unit, 507 U.S. 163 (1993).

       Defendant Barr and the District Defendants insist that no § 1985 claim can lie against them

because Plaintiffs did not allege that each of them shared President Trump’s “animus” against



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Plaintiffs. Barr MTD 43-44; D.C. MTD 14-16. These arguments fail because it is the conspiracy,

not each individual conspirator, that must be “motivated” by a “discriminatory purpose.” Lagayan

v. Odeh, 199 F. Supp. 3d 21, 31 (D.D.C. 2016) (noting that a § 1985(3) claim requires a plaintiff

to prove “that the conspiracy was ‘motivated by some class-based, invidiously discriminatory

animus.’” (emphasis added) (quoting Martin v. Malhoyt, 830 F.2d 237, 258 (D.C. Cir. 1987)); see

also Hobson, 737 F.2d at 14 (explaining that “the alleged conspiracy in Griffin was motivated by

racial basis” (emphasis added)); Bedford v. City of Hayward, 2012 WL 4901434, at *14 (N.D. Cal.

Oct. 15, 2012) (finding “no authority that Plaintiff must allege racial animus on behalf of each

individual conspirator, rather than merely alleging ‘some racial, or perhaps otherwise class-based,

invidiously discriminatory animus behind the conspirators’ action” (quoting Griffin, 403 U.S. at

102)). “The conspirators ‘must share the general conspiratorial objective, but they need not know

all of the details of the plan … or possess the same motives .... [I]t simply must be shown that there

was ‘a single plan, the essential nature and general scope of which [were] known to each person

who is to be held responsible for its consequences.’” Hobson, 737 F.2d at 51-52 (quoting Hampton

v. Hanrahan, 600 F.2d 600, 621 (7th Cir. 1979)).

       Defendants Barr and the D.C. Defendants do not and cannot deny that Plaintiffs have amply

alleged facts from which a discriminatory purpose on the part of Defendant Trump can be

inferred. 12 Specifically: in the “days and hours leading up” to the attack in Lafayette Square,

Defendant Trump “repeatedly advocated the use of force against Black demonstrators and civil




12
  Although Plaintiffs need not allege that Defendant Barr had animus, he implicitly admits that he
shared the intent of the Executive Branch—and thus the President—by arguing that he is part of
the federal “corporation” for the purposes of the intracorporate conspiracy doctrine. If the
Executive Branch speaks with one voice, it is the President’s, and no one contests that he expressed
discriminatory intent.


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rights activists,” TAC ¶ 53; he invoked violent and racist slogans from the civil rights era, TAC

¶ 54; he demanded the use of violence against “the bad guys” (referring to civil rights protesters),

TAC ¶ 56; and on June 2 he praised the law enforcement attack: “Great job done by all.

Overwhelming force. Domination,” TAC ¶ 205. Tellingly, Defendant Trump spoke quite

differently about demonstrators not advocating for racial justice—in fact, he urged them to gather

at the White House. TAC ¶ 64. President Trump expressed support for heavily armed and

predominantly white demonstrators who threatened lawmakers and stormed statehouses to protest

coronavirus restrictions, encouraging them to “LIBERATE MICHIGAN!”; “LIBERATE

MINNESOTA!”; and “LIBERATE VIRGINIA.” TAC ¶ 63. As discussed above, see supra Part

VII.A.1.a, Plaintiffs have adequately alleged that Defendant Barr and the District Defendants

joined this conspiracy, the object of which was Defendant Trump’s unlawful discriminatory

purpose.13

       Defendant Barr’s additional argument that “everyone [in the park] was cleared” not just

“Black people and their supporters,” Barr MTD 44, is beside the point. Even if such bystanders

were present, recklessly causing collateral damage is not an excuse for the assault. What matters

is the intent of the conspiracy, not whether the conspirators incidentally harmed others along the

way. In Griffin, for example, a group of white conspirators attacked a car driven by a nonparty,



13
  If the Court deems these allegations insufficient, it should grant leave to amend, as Plaintiffs
have unearthed additional information since filing the previous amended complaint that further
buttresses the claim of discriminatory intent. Specifically, undersigned counsel have been in
contact with a former White House staffer who has personal knowledge that other senior
Administration officials were involved with the planning of the Lafayette Square attack; that there
was a discussion of the need to “mow down” the protesters and “show” them who is in charge;
and that White House officials made discriminatory comments in relation to the death of George
Floyd and subsequent racial justice protests. Plaintiffs are not attempting to amend the complaint
via briefing; because these allegations are not a part of the complaint, Plaintiffs do not contend
that they should not be a basis to determine whether to dismiss the complaint. However, they do
counsel in favor in granting leave to amend if any claims are dismissed.
                                                84
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with a number of Black passengers, on their “erroneous belief that [the driver] was a worker for

Negro civil rights.” 403 U.S. at 106. Nonetheless, “the petitioners [the car’s passengers]—whether

or not the nonparty Grady was the main or only target of the conspiracy—allege personal injury

resulting from [the conspiracy’s] acts” and therefore had a viable § 1985(3) claim. Id. at 103. Just

because Defendants may have also violated the rights of other people in the vicinity does not mean

they did not intentionally violate Plaintiffs’ rights.

    B. Plaintiffs adequately pleaded claims under 42 U.S.C. § 1986.

        The only argument that the federal official-capacity Defendants and Defendant Barr make

against Plaintiffs’ § 1986 claim is that it fails if Plaintiffs’ § 1985 claim fails. U.S. MTD 26; Barr

MTD 45. Because Plaintiffs have stated a § 1985 claim, Defendants’ argument to dismiss the

§ 1986 on this ground must be rejected.

        The District Defendants raise an additional objection to the § 1986 claim: that they did not

have the ability to prevent or aid in preventing the attack on protesters because they have no

authority over the federal Defendants. This argument is also without merit.

        For a 42 U.S.C. § 1986 claim, a plaintiff must show that (1) the defendant had actual

knowledge of a § 1985 conspiracy; (2) the defendant had the power to prevent or aid in preventing

the commission of a § 1985 violation; (3) the defendant neglected or refused to try to prevent a

§ 1985 violation; and (4) a § 1985 violation was committed. Clark v. Clabaugh, 20 F.3d 1290,

1295 (3d. Cir. 1994). For the third element, “negligence is sufficient to maintain a § 1986 claim.”

Park v. City of Atlanta, 120 F.3d 1157, 1160 (11th Cir. 1997); accord Clark, 20 F.3d at 1298.

        The actions of Defendants here—the willful or negligent failure of law enforcement

officers to attempt to stop violence carried out in violation of § 1985—are quintessential § 1986

violations. See, e.g., Park, 120 F.3d at 1159-61 (alleging police did not adequately intervene to



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reduce or halt racially-motivated violence); Clark, 20 F.3d at 1296 (same); Waller v. Butkovich,

584 F. Supp. 909 (M.D.N.C. 1984) (same); Bergman v. United States, 579 F. Supp. 911 (W.D.

Mich. 1984) (federal government liable for failing to prevent racially motivated conspiracy against

Freedom Riders).

       The District Defendants argue that they did not have authority to stop the federal officers.

But defendants are not excused from liability for failing to intervene merely because their

intervention may not have completely stopped or mitigated the conspiracy. The plain text of the

statute imposes liability on those who had the “power to prevent or aid in preventing” wrongs

pursuant to a section 1985 conspiracy. 42 U.S.C. § 1986 (emphasis added). That is, defendants are

liable for failing to act as long as their actions could have reduced the likelihood of the conspiracy

being carried out or the degree of harm inflicted by the conspiracy. District Defendants cite no

authority for the proposition that the phrase “aid in preventing” should be read out of the statute

or that, despite its plain text, § 1986 liability attaches only where defendants could have completely

prevented the conspiracy. To require that a defendant needs to be able to fully prevent a conspiracy

to be liable under § 1986 puts all of the statute’s weight on “to prevent” and renders the disjunctive

clause “or aid in preventing” surplusage. See TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001) (“It is

a cardinal principle of statutory construction that a statute ought, upon the whole, to be so construed

that, if it can be prevented, no clause, sentence, or word shall be superfluous, void, or

insignificant.” (citation and quotation marks omitted)).

       There are a number of actions the District Defendants could have taken to mitigate the

harm from the conspiracy. For example, the District Defendants could have (1) refused to

participate in the conspiracy; (2) directed their officers not to engage in violence against Plaintiffs;

or (3) directed their officers to provide medical assistance and avenues of escape to Plaintiffs



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fleeing the other Defendants’ attacks. TAC ¶ 259; cf. TAC ¶¶ 193-98 (describing MPD officers

firing tear gas at Plaintiffs Foley and E.X.F., denying them medical assistance when requested,

and then yelling at them to move into another cloud of tear gas). Any of these efforts would have

reduced the harm of the § 1985 conspiracy.

       Moreover, MPD officers could have, and should have, affirmatively interposed themselves

and shielded the demonstrators against the unlawful violence, pursuant to the MPD Law

Enforcement Officer Code of Ethics, which states, “As a law enforcement officer, my fundamental

duty is to serve the community, to safeguard lives and property, to protect the innocent against

deception, the weak against oppression or intimidation, and the peaceful against violence or

disorder, and to respect the Constitutional rights of all to liberty, equality and justice.” Gen. Order,

Metro. Police Dep’t, Sworn Law Enforcement Officer Code of Ethics, GO-RAR-202.36 (June 1,

2017). 14 The MPD officers on the scene, and those commanding them, failed to uphold their

commitment. See Symkowski v. Miller, 294 F. Supp. 1214, 1217 (E.D. Wis. 1969) (§ 1986 claim

could proceed where plaintiff claimed that two police officers failed to intervene to stop a beating

by a third officer); see also Bedford, 2012 WL 4901434, at *15 (supervisors can be liable under §

1986 for § 1985 violation predicated on Fourth Amendment violation by inferior officers).15




14
  Available at https://go.mpdconline.com/GO/GO_201_36.pdf. The Court may take judicial
notice of this document because it is a public governmental record. See Kaspersky Lab, Inc. v. U.S.
Dep’t of Homeland Sec., 909 F.3d 446, 464 (D.C. Cir. 2018).
15
   Although there is little case law under § 1986, courts enforce a similar requirement under § 1983
that police officers intervene to stop constitutional violations by other law enforcement officers.
See Gudger v. District of Columbia, 74 F. Supp. 3d 47, 53 (D.D.C. 2014); Fernandors v. District
of Columbia, 382 F. Supp. 63, 72 (D.D.C. 2005); Masel v. Barrett, 707 F. Supp. 4, 8 (D.D.C. 1989)
(“Other circuits that have addressed the issue have uniformly found a constitutional duty for a
police officer, particularly one in a supervisory capacity, to intervene affirmatively to prevent the
violation of constitutional rights by another officer.” (collecting cases)); see also Martin v.
Malhoyt, 830 F.2d 237, 259 (D.C. Cir. 1987) (negligence claim available for failing to intervene).
                                                  87
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       Thus, Plaintiffs pleaded that the District Defendants could have taken actions to prevent or

aid in preventing the harms of the § 1985 conspiracy. It will be a question for summary judgment

or the factfinder whether and to what degree the District Defendants failed to discharge their duty

under § 1986.

   C. Injunctive relief is available under §§ 1985 & 1986, and sovereign immunity is no bar.

       The federal official-capacity Defendants are incorrect that injunctive relief is unavailable

under §§ 1985 and 1986. U.S. MTD 24. In fact, among federal courts that have considered this

issue, there is widespread agreement that injunctive relief is available. E.g., Mizell v. N. Broward

Hosp. Dist., 427 F.2d 468, 473 (5th Cir. 1970) (“We think the same power [to issue equitable

relief] is available to a trial court in an action brought under Section 1985, even though that section

refers in precise terms only to a suit for damages.”); Action v. Gannon, 450 F.2d 1227, 1238 (8th

Cir. 1971) (finding injunctive relief appropriate under § 1985(3) because “Federal courts have the

power to afford all remedies necessary to the vindication of federal substantive rights defined in

statutory and constitutional provisions except where Congress has explicitly indicated that such

remedy is not available”); Gaulter v. Capdeboscq, 404 F. Supp. 900, 904 (E.D. La. 1975) (“An

injunction may properly issue on a cause of action founded on 42 U.S.C. §§ 1983, 1985(3).”);

Freeman & Bass, P.A. v. State of N.J. Comm’n of Investigation, 359 F. Supp. 1053, 1059 (D.N.J.

1973) (“The contention by defendants that the § 1985 allegations of conspiracy must fall because

§ 1985 does not provide for injunctive relief is without merit.”); see also Nat’l Org. for Women v.

Operation Rescue, 914 F.2d 582 (4th Cir. 1990) (affirming district court’s grant of injunctive relief

pursuant to § 1985(3)), judgment rev’d in part and vacated in part on other grounds sub

nom. Bray, 506 U.S. 263 (1993). Defendants provide no basis for disregarding this precedent.




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         Defendants’ opposition to injunctive relief relies heavily on § 1983’s express provision for

injunctive relief and the absence of a similar provision in § 1985. Yet injunctive relief is available

under other Reconstruction statutes where no such relief is provided in the text. For example, in

Jones v. Alfred H. Mayer Co., 392 U.S. 409 (1968), the Supreme Court noted that equitable relief

was available under 42 U.S.C. § 1982, even though that statute “provides no explicit method of

enforcement.” Id. at 414 n.13. Because “section 1985(3) is facially more akin to section 1982 ...

than to section 1983,” Hobson, 737 F.2d at 17, Defendants’ invocation of § 1983 to de-fang

§ 1985(3) is misguided and this Court should reject it. See also Morgan v. District of Columbia,

550 F. Supp. 465, 470-71 (D.D.C. 1982) (looking to § 1982 instead of § 1983, due to similarity of

statutes, in analyzing term “State or Territory”).

         Finally, Defendants’ invocation of sovereign immunity, U.S. MTD 23-24, is misplaced.

Plaintiffs do not seek damages from the official-capacity Defendants. See TAC ¶¶ 253, 261. And

sovereign immunity does not preclude suits against federal official-capacity defendants for

equitable relief—both under the doctrine of Ex parte Young, 209 U.S. 123, 159-60 (1908), see

Phila. Co. v. Stimson, 223 U.S. 605, 620 (1912) (applying Ex parte Young principle to federal

official), and because of the federal government’s general-purpose express statutory waiver of

sovereign immunity in 5 U.S.C. § 702 as to claims for non-monetary relief, see, e.g., DeBrew v.

Atwood, 792 F.3d 118, 124 (D.C. Cir. 2015); Trudeau v. FTC, 456 F.3d 178, 185-87 (D.C. Cir.

2006).

                                          CONCLUSION

         Defendants’ motions to dismiss should be denied. Because of the number and complexity

of the arguments raised in the motions, Plaintiffs respectfully request oral argument.




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November 19, 2020                                     Respectfully submitted,

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November 19, 2020                                     Counsel for Plaintiffs16




16
   Counsel wish to acknowledge the assistance of paralegal Elaine Stamp and Harvard Law School
student Julianna Astarita in the preparation of this motion and the development of the facts.
                                                 90
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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3      Shay Horse, et al.,             )
                                        ) Civil Action
 4                         Plaintiffs, ) No. 17-cv-1216
                                        )
 5      vs.                             )
                                        )
 6      District of Columbia, et al.,   )
                                        )
 7                         Defendants. )
        -------------------------------    STATUS CONFERENCE
 8                                      )
        Jessee P. Schultz, III, et al., ) Civil Action
 9                                      ) No. 18-cv-120
                           Plaintiffs, )
10                                      )
        vs.                             )
11                                      )
        District of Columbia, et al.,   )
12                                      )
                           Defendants. )
13      ___________________________________________________________

14
                                   Washington, DC
15                               September 27, 2019
                                 Time: 1:30 p.m.
16

17                    TRANSCRIPT OF STATUS CONFERENCE
                                 HELD BEFORE
18                 THE HONORABLE JUDGE AMY BERMAN JACKSON
                        UNITED STATES DISTRICT JUDGE
19      ____________________________________________________________

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20

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23

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 1                 THE COURTROOM DEPUTY:      Good afternoon, Your Honor.

 2      This afternoon we have civil action numbers 17-1216, Shay

 3      Horse, et al. versus the District of Columbia, et al., and

 4      civil action number 18-120, Jesse P. Schultz, III versus the

 5      District of Columbia, et al.

 6                 Will counsel for the parties please approach the

 7      lectern, identify yourself for the record, and name the party

 8      or parties you represent, please.

 9                 MR. MICHELMAN:     Good afternoon, Your Honor.            My name

10      is Scott Michelman, from the American Civil Liberties Union of

11      D.C., I represent the Horse plaintiffs.         With me at counsel

12      table are Arthur Spitzer, Michael Perloff, and two of my

13      clients, Elizabeth Lagasse and Judah Ariel.

14                 THE COURT:    All right.     Thank you.

15                 MR. LIGHT:    Good afternoon, Your Honor.       I represent

16      the plaintiffs in the Schultz case.

17                 THE COURT:    Good morning -- afternoon.

18                 MR. BLECHER:     Good afternoon, Your Honor.          I'm

19      Matthew Blecher.     I represent the District and all the

20      individually named defendants except for John Doe.              My

21      colleague is Scott Michael -- excuse me, Scott Kennedy.                Scott

22      entered his appearance this morning.

23                 THE COURT:    All right.

24                 MR. BLECHER:     Thank you.

25                 MR. GONZALEZ:     Good afternoon, Your Honor.             Joseph
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 1      Gonzalez, Schertler & Onorato.       I represent Officer John Doe.

 2                 THE COURT:    Okay.    Good afternoon.     Let me confer

 3      with Mr. Haley on one matter.

 4                 (Pause.)

 5                 THE COURT:    As I hope Mr. Haley informed you, that

 6      the purpose of the hearing this afternoon is not to argue the

 7      motion to dismiss, but, rather, to have me give you my ruling

 8      on the motion to dismiss.

 9                 In cases where a large portion of the case is going

10      to survive the motion to dismiss, there is no point in going

11      through all the extra bells and whistles that are necessary to

12      turn an opinion into a docketed, written, appealable opinion.

13      And both of these cases are going to go forward in large

14      measure, although there are some claims that will not go

15      forward.

16                 Therefore, I am going to give you the benefit of my

17      ruling from the bench right now, and so I encourage everyone to

18      get comfortable.     There are a lot of counts here.       You should

19      feel free to get your pens and pads out and take lots of notes,

20      or prepare to order a transcript because there will not be a

21      written memorandum opinion.       This is my ruling.

22                 And I've had this situation come up in the past where

23      I spoke for a considerable period of time and counsel just sat

24      there and then at the end stood up and said, So, are you going

25      to issue a written opinion?       I said, No, that was it.      So I
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 1      want to let you know up front that this is going to be it.

 2                  Also, because of the substantial overlap between the

 3      legal theories underlying the claims in the two complaints,

 4      what I'm going to do is go through the facts of the Horse

 5      complaint and then quickly add -- shift gears and do the facts

 6      of the Schultz complaint, and then what I'm going to do is go

 7      through all of the claims in the Horse complaint, and then I'll

 8      take up the claims in the Schultz complaint.         But to the extent

 9      they are the same claims, I am simply going to say they're

10      denied or granted for the same reasons that I just set forth in

11      the Horse case.

12                  So if you hear a claim coming up in the Horse case

13      that's something that you've also alleged, that's probably

14      going to be the same reasoning applied to you.          Where there's a

15      difference, I will address those things separately after I'm

16      finished with all the claims in the Horse complaint.

17                  And I appreciate everyone's patience with this

18      exercise.   I confess that sometimes when I do this even I get

19      tired of the sound of my voice.       But it seems like the most

20      efficient way to let you all know what's in and what's out, so

21      we can start to move forward with these cases.

22                  And I also want to say, you know, I appreciate the

23      quality of all the briefing on both sides.         Everybody has made

24      it crystal clear what the issues are, what facts are at issue,

25      what the legal standards are, and that's always greatly
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 1      appreciated.

 2                 On the date of President Donald J. Trump's

 3      inauguration, January 20th, 2017, hundreds of individuals

 4      across the country assembled in the District of Columbia to

 5      express their disapproval of his policies.         That's in the

 6      amended complaint, which is Docket 29.        And from now I'm going

 7      to be quoting from the Horse complaint, this amended complaint,

 8      at page 2, paragraph 15.

 9                 Plaintiffs are six individuals who participated in or

10      observed the demonstration.       The amended complaint alleges that

11      when an identifiable minority of those demonstrating started to

12      become violent, D.C. police officers indiscriminately used

13      chemical irritants and detained and arrested hundreds of

14      people, most of whom were peaceful and did not commit any

15      crimes.   That's in the complaint, paragraph 2.

16                 Three of the plaintiffs were among those who were

17      detain and arrested.     The other three were allegedly pepper

18      sprayed and/or assaulted.

19                 Plaintiffs have filed this lawsuit bringing multiple

20      constitutional claims, alleging violations of the First,

21      Fourth, and Fifth Amendments, including other tort claims;

22      unlawful arrest, excessive force, unlawful conditions of

23      confinement, various tort claims including assault and battery,

24      and intentional infliction of emotional distress, and claims

25      arising out of alleged violations of the District's First
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 1      Amendment Assemblies Act, which I'll be referring to as the

 2      FAAA, or maybe the F-Tripple-A.

 3                  The defendants are the District of Columbia, Chief of

 4      Police Peter Newsham, and 28 Metropolitan Police Department

 5      officers.

 6                  Defendants have moved to dismiss all the claims under

 7      Rule 12(b)(6), Docket 38; plaintiffs' opposition, Docket 45;

 8      defendants replied at Docket 47.

 9                  For the reasons that I'm going to set forth in

10      detail, I'm going to dismiss Claims 2, 4, 5, 8, 9, 10, 13, and

11      14.   And Claims 1, 3, 6, 7, 11, 12, 15, and 16 will move

12      forward.

13                  Plaintiff Shay Horse is a resident of New York and a

14      free-lance photojournalist who attended the demonstration to

15      photograph it; paragraph 3.       Plaintiff Judah Ariel is a

16      resident of the District of Columbia and a licensed attorney

17      who served as a legal observer to document any violations of

18      rights that may occur; in paragraph 4.

19                  Plaintiff Elizabeth Lagesse is a resident of D.C. who

20      participated in the protest.       Milo Gonzales is a resident of

21      New York who participated in the protest.         And finally,

22      plaintiffs Gwen Frisbie-Fulton and her minor son, A.S., are

23      residents of North Carolina who traveled to D.C. to participate

24      in the protest.

25                  Paragraphs 17 and 18 allege that between 10 a.m. and
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 1      11 a.m. on January 20th, 2017 hundreds of demonstrators, taking

 2      up two to three blocks, walked on 13th Street Northwest from

 3      Logan Circle towards the National Mall.         Paragraph 24, there

 4      were approximately 100 police officers present, along with

 5      approximately ten police vans and five or six additional police

 6      vehicles.

 7                   During this time period some individuals engaged in

 8      acts of vandalism on 13th Street between Logan Circle and

 9      Franklin Square.     Plaintiffs allege, in paragraphs 21 and 22,

10      that those committing the vandalism were identifiable because

11      they were all wearing black -- they were wearing all black and

12      masks.

13                   When the few individuals committed the acts of

14      vandalism, the complaint alleges, in paragraphs 32 and 34, that

15      Commander Deville declared that the march was a riot, even

16      though, plaintiffs allege, he knew that not all of the

17      individuals marching were committing vandalism and that some

18      people were either journalists documenting the march or legal

19      observers.

20                   While the vandalism was happening, people joined and

21      left the march freely, and not all individuals marching knew

22      that the acts of vandalism had occurred, including Lagesse, who

23      had joined the march 30 minutes after it began.

24                   Commander Deville ordered MPD officers to stop people

25      from continuing the march further south; paragraphs 32, 35, 53,
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 1      and 55.   The complaint alleges, in paragraphs 38, 39, 42 and

 2      43, that the officers did not order the marchers to disperse.

 3      Instead, it alleges the officers started to deploy pepper

 4      spray, sting balls -- which shoot out rubber pellets and

 5      chemical irritants -- and noise-emitting crowd control devices.

 6      And it's alleged that the officers used these devices

 7      indiscriminately, without regard to whether they were necessary

 8      to prevent unlawful conduct or to subdue those resisting

 9      arrest.   Plaintiffs Horse, Lagesse, and Gonzalez were hit with

10      pepper spray.

11                 During the confrontation, many demonstrators ran away

12      from the police.     The police officers blocked off numerous

13      egress routes to force the protesters to one location.          That's

14      at paragraph 60, 61.     The officers, including, allegedly,

15      Officers Howden, Rock, Thau, Washington, and Sergeant Alioto

16      established a blockade.      More than 200 individuals were

17      detained in this area, which the parties refer to as the

18      kettle, which was cordoned off.       Among those detained were

19      plaintiffs Horse, Lagesse, and Gonzalez.

20                 The individuals remained in the kettle for hours.

21      Commander Deville declared that all detainees were under arrest

22      and that no one could leave the kettle.         By 11:30 a.m., within

23      30 minutes of the formation of the kettle, the MPD was ready to

24      begin processing the detainees.       But, the complaint alleges,

25      that handcuffing and moving the detainees to the transport
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 1      vehicle took until after sunset.        And that's set out in

 2      paragraph 77, 78, 97, and 98.

 3                  According to the complaint at paragraph 79 to 80,

 4      while individuals were detained, the officers used pepper spray

 5      against the people inside the kettle without warning and even

 6      where there was no threat to the officers or public safety.

 7      Complaint also alleges that individuals in the kettle requested

 8      food, water, and access to bathrooms but their requests were

 9      denied.

10                  At around 1 to 1:30 p.m. plaintiffs Frisbie-Fulton,

11      A.S., and Ariel were present at the intersection of 12th and

12      L Street Northwest, although they were outside of the kettle.

13      Their story is set out beginning at paragraphs 108 and 114 to

14      -15 of the complaint.      Many of those who were outside demanded

15      the rel ease of those being detained.

16                  At about 1:45 p.m., according to the complaint,

17      without warning or dispersal order, police officers began to

18      pepper spray those outside the kettle, despite no threat to

19      safety.    Ariel was hit with the pepper spray.

20                  Frisbie-Fulton, seeing what was happening, told her

21      son that they had to leave.       A.S. was then knocked to the

22      ground by a line of police officers.         Frisbie-Fulton attempted

23      to protect her son, but they became entangled in a group of

24      protesters and police officers.        They managed to break free and

25      started to run, although they inhaled pepper spray while doing
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 1      so.

 2                  When plaintiffs Horse and Lagesse were formally

 3      arrested, they were handcuffed using zip ties.          According to

 4      the complaint at paragraphs 146 and 149, the zip ties were

 5      applied so tightly that they cut Lagesse's wrists and Horse

 6      lost feeling in his finger.

 7                  Horse alleges, in paragraphs 153 through 159, that he

 8      was not given food or water for 10 to 11 hours.          Lagesse

 9      alleges that she was not given access to a toilet for seven to

10      eight hours, water for 11 to 12 hours, and food for 13 to 16

11      hours.   Gonzalez alleges that he went nine to ten hours without

12      a bathroom in paragraph 161, and wasn't given food or drink for

13      10 or 11 more hours, paragraph 164.

14                  After Horse and Gonzalez were arrested, they were

15      detained at the Metropolitan Police Academy.          According to

16      them, Officer John Doe patted them both down, and plaintiffs

17      assert that while doing so he inserted his finger into each of

18      their rectums and fondled Gonzalez's testicles.

19                  The plaintiffs have brought 16 claims of

20      constitutional, tort, and statutory violations.          They all claim

21      that they suffered injuries from the alleged violations that

22      occurred that day.      Defendants moved to dismiss all claims for

23      failure to state a claim under Federal Rule of Civil Procedure

24      12(b)(6), and Officer John Doe has brought a separate motion to

25      dismiss and for summary judgment.
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 1                  As everyone knows, to survive a Rule 12(b)(6) motion

 2      to dismiss a complaint must contain sufficient factual matter,

 3      accepted as true, to state a claim to relief that is plausible

 4      on its face.     So I will be applying the Ashcroft versus Iqbal

 5      standard, 556 U.S. 662, which is based on Bell Atlantic

 6      Corporation versus Twombly, 550 U.S. 544.

 7                  A pleading must offer more than labels or conclusions

 8      or a formulaic recitation of the elements of a cause of action,

 9      and threadbare recitals of the elements of a cause of action,

10      supported by merely conclusory statements, will not suffice

11      according to those precedents.

12                  Importantly for today, though, in evaluating a motion

13      to dismiss under 12(b)(6), I must treat the complainant's

14      factual allegations as true and must grant the plaintiff the

15      benefit of all inferences that can be derived from the facts.

16      Sparrow versus United Airlines, Inc., 216 F.3d 1111, D.C.

17      Circuit 2000.     Therefore, when considering a motion to dismiss

18      I must construe a complaint liberally in the plaintiffs' favor.

19      Kowal versus MCI Communications Corporation, 16 F.3d 1271.

20      Nevertheless, I don't need to accept inferences drawn by the

21      plaintiff if they're not supported by the facts alleged in the

22      complaint, nor must I accept the plaintiffs' legal conclusions.

23                  In ruling on a motion, I may ordinarily consider only

24      the facts alleged in the complaint, documents attached as

25      exhibits or incorporated by reference in the complaint, and
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 13 of 98      13


 1      matters about which I can take judicial notice.

 2                   So let's start with Claim No. 1, the Fourth Amendment

 3      violation, arrest without probable cause.         Plaintiffs Horse and

 4      Lagesse -- is it Lagesse or Lagesse?         Am I pronouncing it

 5      correctly?

 6                   PLAINTIFF LAGESSE:    Lagesse, Your Honor.

 7                   THE COURT:   All right.    I didn't want to sit here

 8      with you there and pronounce your name wrong all morning --

 9      afternoon.

10                   They assert that they were arrested without probable

11      cause in violation of the Fourth Amendment.          They bring this

12      claim against the District's Chief of Police Newsham, Commander

13      Deville, Officers Green, Howden, Rock, Thau, Alioto,

14      Washington, Bogardus, and Hinostroza under 42 U.S.C. § 1983.

15                   Defendants move to dismiss the complaint on three

16      bases:    One, they say the facts in plaintiffs' complaint show

17      that there was probable cause to arrest them, so there's no

18      Fourth Amendment violation.       Second, they say the individual

19      defendants are untitled to qualified immunity because it was

20      not clearly established that the arrests of Horse and Lagesse

21      lacked probable cause.      And, three, they say plaintiffs have

22      failed to state a claim of unlawful arrest against Officers

23      Howden, Rock, Thau, Washington, and Alioto because they fail to

24      allege that those defendants were actually involved in the

25      arrest.
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 1                  I'm not going to dismiss this claim at this stage of

 2      the proceeding.     Taking all the facts in the complaint as true

 3      and drawing all inferences in favor of the plaintiffs, which

 4      I'm required to do at this stage, plaintiffs have stated a

 5      clearly established right and a Fourth Amendment violation.

 6      The complaint, therefore, meets the test to be applied at this

 7      stage and alleges sufficient facts to establish that the

 8      defendants are not entitled to qualified immunity.

 9                  To determine whether qualified immunity should be

10      afforded to an official is a two-step inquiry.          First, the

11      threshold question is, taken in the light most favorable to the

12      party asserting the injury, do the facts alleged show the

13      officer's conduct violated a constitutional right?           That's

14      Saucier versus Katz, 533 U.S. 194, page 201, from 2001.

15                  Second, the Court must determine whether the right

16      was clearly established.       That's set out in the same case, also

17      page 201, and also Lederman versus United States, 291 F.3d 36,

18      at page 46, D.C. Circuit 2002.        These steps don't necessarily

19      have to be analyzed in that order.

20                  The question of whether a right is clearly

21      established involves an analysis of whether the Supreme Court

22      of the District of Columbia Circuit, and to the extent that

23      there is a consensus, other circuits have spoken clearly on the

24      lawfulness of the conduct at issue.        Butera versus District of

25      Columbia, 235 F.3d 637, D.C. Circuit 2001.
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 15 of 98        15


 1                  Additionally, the contours of the right must be

 2      sufficiently clear that a reasonable officer would understand

 3      that what he is going violates that right.          Anderson versus

 4      Creighton, 483 U.S. 635.       If it would be clear to a reasonable

 5      officer that his conduct was unlawful in the situation he

 6      confronted, the right is considered clearly established.         Groh

 7      versus Ramirez, 540 U.S. 551, at 563, quoting Saucier at 202.

 8                  Although this Court's case law does not require a

 9      case directly on point for a right to be clearly established,

10      the Supreme Court has explained existing precedent must have

11      placed the statutory or constitutional question beyond debate.

12      That's Kisela versus Hughes, 138 S.Ct. 1148, quoting White

13      versus Pauly, 237 S.Ct. 548.

14                  Four cases from the D.C. Circuit I think are relevant

15      in determining the contours of the constitutionality of a mass

16      arrest in the context of a protest:        There's Washington

17      Mobilization Committee versus Cullinane, 566 F.2d 107, which

18      found that the tenor of a demonstration as a whole determines

19      whether police may intervene.       And if it is substantially

20      infected with violence or obstruction, the police may act to

21      control it as a unit.      Dellums versus Powell, 566 F.2nd 167,

22      the D.C. Circuit found that it was the chief of police's burden

23      to show that he honestly believed that the plaintiff as a group

24      were violating the law and that this belief was reasonable in

25      light of the facts available to him at the scene of the all
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 16 of 98   16


 1      arrests.

 2                  Finally, Barhum versus Ramsey -- not finally -- 434

 3      F.3d 565, D.C. Circuit 2006.       The Court found that where the

 4      record indicated that the demonstrators never operated as a

 5      cohesive unit and that the demonstration was a dynamic and

 6      diverse situation, the chief of police was not entitled to

 7      qualified immunity.      And that in Carr versus District of

 8      Columbia, 578 F.3d 401, the Circuit found that if the officers

 9      have grounds to believe that all of the arrested persons were

10      part of the unit observed violating the law, then they were

11      entitled to qualified immunity.

12                  Thus, in order to conduct a constitutional mass

13      arrest, the officers at the scene must have had probable cause

14      to believe that the group was acting as a cohesive unit in its

15      lawbreaking and violence.       The Court, therefore, finds that the

16      right to be free from unlawful arrest in the context of a mass

17      protest is clearly established.        Furthermore, plaintiffs allege

18      facts that if taken as true show that a constitutional

19      violation occurred.

20                  Plaintiffs allege, in paragraphs 16, 71, 73, that a

21      majority of the demonstrators were peaceful and that they did

22      not participate in any unlawful activity or encourage anyone to

23      break the law.     Plaintiffs have pled that those that were

24      committing the acts of violence that ultimately led to the

25      police officers declaring the scene a riot were a minority and
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 1      were easily distinguishable from the peaceful protesters given

 2      what they were wearing; paragraphs 21 and 22.          Plaintiffs also

 3      allege that the group was large, took up almost two city

 4      blocks, and the protesters left and joined while it was

 5      happening, making it a dynamic situation, as the one in Carr;

 6      paragraphs 18, 35, and 52.

 7                  For example, the complaint alleges that Horse walked

 8      alongside the march to take photos and Lagesse joined the

 9      protest 30 minutes after it began, in paragraphs 19 and 53.

10                  Defendants say the case is similar to Carr, so

11      they're entitled to qualified immunity.         They say, like in

12      Carr, plaintiffs allege that they were with a large group, that

13      members of the group engaged in acts of vandalism, and that

14      they remained with the group at least 15 minutes after the

15      vandalism began, as the group continued to travel together

16      through the District.

17                  But in Carr, there was evidence that the group

18      started together at a D.C. church where bandanas and vinegar

19      were handed out and torches were lit and they traveled down

20      Pennsylvania Avenue together as a unit.         Police officers

21      observed the group acting in unison and cheering on those

22      individuals breaking windows.       Thus, there was evidence that

23      the group as a whole was violating the law.

24                  Here, the complaint does not allege that the group of

25      demonstrators were a finite and delineated group, or that it
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 18 of 98    18


 1      was one group that traveled together.         Rather, the complaint

 2      alleges that the demonstration consisted of a mass of people

 3      that organized in a fluid manner as people left and entered

 4      continuously; paragraph 35.

 5                  Nor have plaintiffs pled facts supporting a finding

 6      at this stage that the crowd exhibited behavior as a unit that

 7      would allow an officer to reasonably believe that everyone

 8      present had committed a crime, particularly within the kettle

 9      that was within the officers' observation.

10                  Therefore, plaintiffs have alleged, for purposes of

11      overcoming a motion to dismiss, that the officers did not have

12      probable cause to arrest them.        Whether the crowd was acting

13      cohesively, whether the officers had probable cause, or whether

14      that probable cause was reasonable are highly fact dependent

15      questions, which will be assessed again at the summary judgment

16      stage.   But accepting the truth of the plaintiffs' allegations,

17      the Court finds that the complaint states a claim for Fourth

18      Amendment violation and it will not be dismissed on qualified

19      immunity grounds.

20                  Defendants also argue that Claim 1 should be

21      dismissed as to Officers Howden and Rock, Thau, Washington, and

22      Sergeant Alioto because they did not actually arrest plaintiffs

23      Horse and Lagesse.      But one who directs or assists an unlawful

24      arrest may be liable.      That's Wesby versus District of

25      Columbia, 841 F.Supp.2d 20, which was affirmed at 765 F.3d 13,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 19 of 98     19


 1      although it was reversed on other grounds.          And it cites Gordon

 2      versus Degelmann, 29 F.3d 295, 298, from the Seventh Circuit.

 3                  Plaintiffs have sufficiently alleged that these

 4      defendants established the kettle in which the plaintiffs were

 5      detained, and they allege that another officer had declared

 6      those within the kettle under arrest.         Therefore, the complaint

 7      states that the officers directed or assisted an unlawful

 8      arrest and that they may be held liable for that assistance.

 9                  Again, these are very fact dependent allegations.

10      They're just allegations at this point, they will need to be

11      proved.

12                  Count 2, Claim 2, alleges a First Amendment violation

13      arrest for protected speech.       Plaintiffs Horse and Lagesse

14      assert that they were arrested because of their protected

15      speech, in violation of the First Amendment.          They bring this

16      claim against the District, Chief Newsham, Commander Deville

17      and Officers, Green, Howden, Rock, Thau, Alioto, Washington,

18      Borgardus, and Hinostroza under § 1983.

19                  Defendants say they're protected by qualified

20      immunity because the arrests were conducted based on probable

21      cause.    They also argue the plaintiffs have failed to state a

22      claim because they don't allege a causal link between their

23      arrests and the exercise of their First Amendment rights.         To

24      establish a claim for retaliation under the First Amendment an

25      individual must prove:      One, that he engaged in protective
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 1      conduct; two, that the government took some retaliatory action

 2      sufficient to deter a person of ordinary firmness in

 3      plaintiff's position from speaking again; and, three, that

 4      there exists a causal link between the exercise of the

 5      constitutional right and the adverse action taken against him.

 6      It's Doe versus District of Columbia, 796 F.3d 96, D.C. Circuit

 7      2015.

 8                  The Court said in that case that to satisfy the

 9      causation link the plaintiff must allege that his or her

10      constitutional speech was the but-for cause of the defendant's

11      retaliatory action.      Plaintiffs have a clearly established

12      First Amendment right to be free from arrest without probable

13      cause based on their speech.       And plaintiffs have asserted

14      enough facts to show that the arrest itself was not based on

15      probable cause, as I've already stated.         Thus, plaintiffs are

16      not entitled to qualified immunity at this stage.

17                  But, I do find that plaintiffs have not sufficiently

18      alleged the -- the Horse plaintiffs have not sufficiently

19      alleged a causal link between their arrests and the exercise of

20      their First Amendment rights.       They allege that they were

21      detained, quote, merely because they were exercising their

22      First Amendment rights, close quote; paragraphs 72 and 74.

23                  Plaintiffs contend that because the arrest was not

24      based on probable cause and they allege they were in fact

25      exercising their First Amendment rights, then the inference
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 21 of 98      21


 1      that their First Amendment activity was the reason for their

 2      arrest is highly plausible.       I find the allegations to be

 3      highly conclusory.      Plaintiffs merely state that a causal link

 4      exists, without any other facts to support it.

 5                  Since the allegations are bare legal conclusions, the

 6      Horse plaintiffs have failed to state a claim for First

 7      Amendment retaliation.      Therefore, Claim 2 in the Horse

 8      complaint will be dismissed without prejudice for failure to

 9      state a claim.

10                  Claim 3, common law false arrest and false

11      imprisonment.     Plaintiffs Horse and Lagesse assert common law

12      false arrest and false imprisonment claims against the

13      District, Chief Newsham, Commander Deville and Officer Green,

14      Howden, Rock, Thau, Alioto, Washington, Bogardus, and

15      Hinostroza.    Defendants argue that plaintiffs fail to state a

16      claim because they were arrested based on probable cause and

17      the defendants acted in good faith.        As I've already explained

18      in my qualified immunity analysis above, if we take the facts

19      asserted in the complaint as true, there was no probable cause

20      to arrest the plaintiffs.

21                  Furthermore, at this stage a good faith defense is

22      inappropriate.     It is the defendants' burden to prove good

23      faith.   Plaintiffs are not required to plead that the officer

24      acted in bad faith to survive a motion to dismiss.           See Scales

25      versus District of Columbia, 973 A.2d 722, the D.C. Court of
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 1      Appeals in 2009, Marshall versus District of Columbia, 391 A.2d

 2      1374.

 3                  So Claim 3 will not be dismissed at this time.

 4                  Which brings me to Claims 4, 5, 8, 13, and 14, the

 5      violations of the D.C. First Amendment Assemblies Act.           The Act

 6      is a subchapter of Title 5 of the D.C. Code, devoted to police,

 7      firefighters, medical examiners, and forensic scientists.          It

 8      sets out standards for the police to follow when handling

 9      demonstrations, rallies, marches or other gatherings, quote,

10      conducted for the purpose of expressing political, social or

11      religious views, close quote.       That's in the definition

12      section, the D.C. Code § 5-331.02(1).         It does not contain any

13      express provision that creates a private cause of action

14      towards violations, though.

15                  Plaintiffs allege violations of five provisions of

16      the Act.

17                  Claim 4 alleges a violation of § 5-331.08, which

18      addresses the use of police lines.

19                  Claim 5 alleges a violation of § 5-331.07(e)(1),

20      which addresses police handling in response to First Amendment

21      assemblies.

22                  Claim 8 alleges a violation of § 5-331.16(b), which

23      addresses violations of provisions on use of riot gear and riot

24      tactics.

25                  Claims 13 and 14 allege violations of
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 23 of 98        23


 1      § 5-331.12(b)(2) and (a)(1), respectively, which address the

 2      prompt release of persons arrested in connection with the First

 3      Amendment assembly.

 4                  For each plaintiffs assert two alternative theories

 5      of liability.

 6                  You can understand why this opinion is so long.

 7                  First, plaintiffs argue that defendants' conduct is

 8      directly redressable under the Act because there is an implied

 9      private right of action under the statute.          Defendants have

10      said this wasn't actually clear from the face of the complaint,

11      so plaintiffs shouldn't be permitted to amend their complaint

12      now through a pleading.      But, since I'm going to find that

13      there is no private right of action, I don't really need to

14      address that argument.

15                  Plaintiffs also argue that even if there isn't an

16      implied private right of action under the statute, the conduct

17      in violation of the statute would constitute negligence per se.

18      Defendants say there is no implied private right of action

19      under the statute and the plaintiffs cannot predicate a

20      negligence per se claim under these provisions of this statute.

21                  I agree with the defendants, there is no implied

22      right of action within the statute and plaintiffs cannot

23      support a negligence per se claim with respect to the

24      provisions of the Act that they are relying on.

25                  Let's first talk about the first theory of liability,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 24 of 98         24


 1      the private right of action.       Where there is no express right

 2      of action within a statute, the Court examines the following

 3      factors to determine whether there's an implied right of

 4      action:

 5                   First, whether the plaintiff is one of the class for

 6      which special benefit the statute was enacted.          Second, whether

 7      there is any indication of legislative intent, explicit or

 8      implicit, either to create such a remedy or to deny one.

 9      Third, whether it's consistent with the underlying purposes of

10      the legislative scheme to imply such a remedy for the

11      plaintiff.    Robert Siegel, Inc., versus District of Columbia,

12      892 A.2d 387 at 392.

13                   The ultimate issue is whether the legislature

14      intended to create a particular cause of action, because unless

15      legislative intent can be inferred from the language of the

16      statute, the statutory structure or some other source, the

17      essential predicate for implication of a private remedy simply

18      doesn't exist.     D.C. Court of Appeals said that in Coates

19      versus Elzie, 768 A.2d 997 in 2001, citing the Supreme Court in

20      Karahalios versus National Federation of Federal Employees, 489

21      U.S. 527.

22                   Both plaintiffs and the defendants point to the same

23      provision of the Act, which states:        The provisions of this

24      chapter are intended to protect persons who are exercising

25      First Amendment rights in the District of Columbia.              And the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 25 of 98        25


 1      standards for police conduct set forth in the subchapter may be

 2      relied upon by such persons in any action alleging violations

 3      of statutory or common law rights.        That's D.C. Code

 4      § 5-331.17.

 5                  Plaintiffs say this means that the D.C. Council

 6      intended the Act to be privately enforceable.          But the

 7      reference to, quote, any action alleging violations of

 8      statutory or common law rights, close quote, seems to suggest

 9      that the standards are merely relevant to claims brought under

10      some other theory.      So the plain text is not determinative.

11                  The legislative history of the law indicates that the

12      D.C. Council heard various arguments for and against creating a

13      private right of action.       There is a council committee on the

14      judiciary report on bill No. 15-968, dated December 1st, 2004,

15      which is an exhibit to the defendants' reply.          And that was

16      attached at Docket 47-1.

17                  Drafts of a provision creating an explicit private

18      right of action were heard and ultimately rejected, which

19      suggests that the council did not intend to make the act

20      privately enforceable.      One Court in this District considered,

21      in passing, whether the law encompassed a private right of

22      action.    In Mahoney versus District of Columbia, 662 F.Supp.2d

23      74 in 2009, the Court in this district refused to recognize an

24      implied right of action, in a footnote, because the D.C.

25      Council had considered including a private right of action but
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 26 of 98        26


 1      ultimately rejected it.

 2                  The Court also considered that a private right of

 3      action appeared to be inconsistent with a statutory scheme,

 4      which provides for direct administrative review of the MPD's

 5      denials of and modifications to assembly plan proposals.

 6                  Plaintiffs argue that Mahoney didn't consider why the

 7      council decided against the private right of action.             And they

 8      say that the council thought the Act would already be privately

 9      enforceable and, therefore, the council intended to make it

10      enforceable.     For that argument the plaintiffs cite to the

11      committee's summary of the testimony of George Valentine from

12      the D.C. Office of the Attorney General, which states that

13      first he, referring to Valentine, addressed the private right

14      of action, stating that it is not needed because anytime the

15      District enacts a statute it can be enforced without such an

16      explicit right being created.

17                  Moreover, he pointed out that there are already

18      federal and civil rights remedies available to demonstrators.

19      He said that common law would dictate if the statute was

20      violated, it would constitute negligence per se and the

21      department would have to defend its conduct.          And that's the

22      committee report at page 26, summarizing what Mr. Valentine had

23      to say.

24                  Now, first of all, it is a summary and it's not a

25      transcript or a quotation.       But, assuming this is what he said,
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 1      it's true that the first sentence of the testimony seems to

 2      support plaintiffs' position, but the thrust of the paragraph

 3      as a whole favors the defendants' position.          It indicates that

 4      a private right of action is unnecessary because the provisions

 5      would be enforceable through other statutes, such as § 1983, or

 6      through tort remedies like negligence per se.

 7                  And this reading of the testimony is supported by the

 8      official written comments on the bill submitted by the attorney

 9      general, which said, at the committee report at pages 183 to

10      -84, there are a number of adequate remedies at common law

11      under federal civil rights statutes currently available to

12      someone claiming to be aggrieved by the District of Columbia in

13      the context of mass protests and demonstrations.

14                  For example, putative plaintiffs have a common law

15      remedy of negligence, false arrest, false imprisonment,

16      malicious prosecution, excessive use of force, assault and

17      battery, or the negligent or intentional inflection of mental

18      or emotional distress which can be the basis for damages

19      against the District and individual police officers.

20                  Likewise, in cases where the police officer's conduct

21      violates federal civil rights, there's also a remedy in place

22      for a civil rights lawsuit for damages and injunctive relief

23      against the District and the individual officer for damages and

24      reasonable attorney's fees.       Those federal claims can already

25      be filed in either federal or superior court.
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 1                  So, I agree with the Court in Mahoney and find that

 2      the legislative intent to create a cause of action cannot be

 3      inferred from the language of the statute, the statutory

 4      structure, or some other source, and that there is no implied

 5      private right of action under the FAAA.

 6                  But there's another theory of liability under the

 7      statute, negligence per se, and plaintiffs invoke that as well.

 8                  The general rule in this jurisdiction is that where a

 9      particular statutory or regulatory standard is enacted to

10      protect persons in the plaintiffs' position or to prevent the

11      type of accident that occurred, and the plaintiff can establish

12      his relationship to the statute, an unexplained violation of

13      that standard renders the defendant negligent as a matter of

14      law.    Ceco Corporation versus Coleman, 441 A.2d 940, D.C. 1982,

15      quoting Richardson versus Gregory, 281 F.2d 626, and

16      Sibert-Dean versus WMATA, 721 F.3d 699, from the Circuit in

17      2013.

18                  Therefore, where a party violates a statute and the

19      violation is the proximate cause of an injury which the statute

20      was designed to prevent, there is a rebuttable presumption of

21      negligence on the part of the violator.         Robinson versus

22      District of Columbia, 580 A.2d 1255, D.C. Court of Appeals

23      1990, citing Lewis versus WMATA, 463 A.2d 666, 1983.

24                  But, a violation of a statute or regulation may

25      constitute negligence per se only if the statute is meant to
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 1      promote safety, if the plaintiff is a member of the class to be

 2      protected by the statute, and if the defendant is a person upon

 3      whom the statute imposes specific duties.         It's Night & Day

 4      Management, LLC versus Butler, 101 A.3d 1033, D.C. 2014.

 5                  An exception to the rule of negligence per se,

 6      though, is that the statute at issue, quote, must not merely

 7      repeat the common law duty of reasonable care, but must set

 8      forth specific guidelines to govern behavior.          That's McNeil

 9      Pharmacy versus Hawkins, 686 A.2d 567 at 579, D.C. 1996.             And

10      also the Sibert-Dean case again, 721 F.3d at 703.

11                  So, to determine whether the exception to negligence

12      per se applies, the key question is not whether the regulation

13      contains certain words or phrases, but whether it allows a

14      factfinder to determine whether it has been violated without

15      resorting to a common law reasonable care analysis.              That's

16      Sibert-Dean, again, at 704, quoting Chadbourne versus Kappaz,

17      779 A.2d 293, D.C. 2001.

18                  The Court in Sibert-Dean analyzed two traffic

19      regulations and it found that one regulation which required --

20      or, there were two regulations in question, 18 D.C.M.R.

21      § 2213.4, which requires that an operator shall, when operating

22      a vehicle, give full time and attention to the operation of the

23      vehicle, and 18 D.C.M.R. § 2206.1, which states that no person

24      shall start a vehicle which is stopped, standing, or parked

25      unless and until the movement can be made with reasonable
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 1      safety.

 2                  It found that the first regulation could support a

 3      negligence per se theory, but the second could not because the

 4      first required more than just reasonable or due attention, it

 5      required full-time attention.       But the second regulation

 6      included a reasonableness evaluation to determine whether it

 7      had been violated.

 8                  It said that the important point is not just the

 9      presence of the word, however, but how it affects the operation

10      of the regulation as a practical matter.         It's not possible to

11      tell whether a person has violated the standard in the

12      regulation they were talking about without evaluating his or

13      her actions against a common sense and common law baseline of

14      reasonable behavior.      And the same analysis was applied in Joy

15      versus Bell Helicopter Textron, Inc., 999 F.2d 549, D.C.

16      Circuit 1993.     And again in Chadbourne versus Kappaz, 779 A.2d

17      293, D.C. Court of Appeals in 2001, which dealt with a leash

18      law.

19                  And there are many other D.C. decisions that hold

20      that when a statute is too general, negligence per se is

21      inappropriate.     Thoma versus Kettler, 632 A.2d 725, District of

22      Columbia versus Mitchell, 533 A.2d 629, Lewis versus WMATA, 463

23      A.2d 666.

24                  So what we have to do is go through each of these

25      provisions one by one.
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 31 of 98   31


 1                  Plaintiffs say that the Act is enforceable under the

 2      negligence per se doctrine because the statute is a public

 3      safety measure, plaintiffs are in the class intended to be

 4      protected by it, and the law imposes duties upon MPD that are

 5      specific and directive and not simply a common law duty of

 6      reasonable care.

 7                  Certainly, the second factor is not in dispute.

 8      § 5-331.17 of the Act states:       The provisions of this

 9      subchapter are intended to protect persons who are exercising

10      First Amendment rights in the District of Columbia, and the

11      standards set forth in this subchapter may be relied upon by

12      such person in any action alleging violations of statutory or

13      common law rights.

14                  But the defendants say that specific provisions

15      relied upon don't include sufficiently specific guidelines.

16      And they also say that some of the provisions aren't the

17      provisions that are about public safety.

18                  I have found that each provision of the Act that

19      plaintiffs cite turns on a common law reasonable care analysis.

20      And, therefore, the exception to the negligence per se doctrine

21      is going to apply.

22                  Claim 4 alleges a violation of D.C. Code § 5-331.08,

23      which states that no emergency area or zone will be established

24      by using a police line to encircle or substantially encircle

25      demonstration, rally, parade, march or similar assembly
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 32 of 98      32


 1      conducted for the purpose of persons expressing their

 2      political, social, or religious views, except where there's

 3      probable cause to believe that a significant number or

 4      percentage of the persons located in the area have committed

 5      unlawful acts and the police have the ability to identify those

 6      individuals and have decided to arrest them, provided that the

 7      section doesn't prohibit the use of a police line to encircle

 8      an assembly for the safety of the demonstrators.

 9                  This position is similar to the ones in Joy,

10      Chadbourne, and the second regulation in Silbert-Dean.           It sets

11      forth general guidelines that rely on resorting to a

12      reasonableness standard.       When the statute uses the phrases

13      "probable cause to believe," "significant number," "ability to

14      identify," "have decided to arrest," they are all general terms

15      and don't provide clear rules that govern the officer's

16      conduct.    Whether the officers believe that a significant

17      number or percentage of the people in the area committed

18      unlawful acts turns on the inquiry regarding the reasonableness

19      of their belief and actions and what a reasonable person

20      considers to be a significant number.

21                  Thus, the law doesn't set out the kind of specific

22      guidelines that would allow one to determine whether the

23      statute has been violated without resorting to a common law

24      reasonable care analysis, which is what the Court said in

25      Chadbourne at 297.
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 33 of 98      33


 1                  So Claim 4 will be dismissed.

 2                  Claim 5 alleges a violation of § 5-331.07(e)(1),

 3      which states:     If and when MPD determines that a First

 4      Amendment assembly, or part thereof, should be dispersed, MPD

 5      shall issue at least one clearly audible and understandable

 6      order to disperse using an amplification system or device, and

 7      shall provide the participants a reasonable and adequate time

 8      to disperse, make clear and safe route for dispersal.

 9                  The first phrase, if and when MPD determines that a

10      First Amendment assembly should be dispersed, is necessarily

11      dependent upon the reasonable determination.          And then it sets

12      forth that the police shall provide participants a reasonable

13      and adequate time to disperse, which, again, requires an

14      analysis of what is a reasonable time.         The statute doesn't set

15      forth the specific guidelines that would enable a fact finder

16      to decide whether the statute has been violated without

17      resorting to a reasonable care analysis.         Thus, this claim

18      fails as a basis for negligence per say as well.

19                  Claim 8 alleges a violation of D.C. Code

20      § 5-331.16(b), which states:       Large scale canisters of chemical

21      irritant shall not be used at First Amendment assemblies absent

22      the approval of a commanding officer at the scene, and the

23      chemical irritant is reasonable and necessary to protect

24      officers or others from physical harm or to arrest actively

25      resisting subjects.
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 1                  It also says, paragraph 2:       Chemical irritant shall

 2      not be used by officers to disperse a First Amendment assembly

 3      unless the participants or others are committing acts of public

 4      disobedience endangering public safety and security.             And,

 5      finally, there's a requirement that the commanding officer who

 6      makes the determination specified in the first paragraph has to

 7      file a written report with the chief of police within a certain

 8      period of time.

 9                  There are certainly aspects of this provision that

10      are sufficiently precise, such as the requirement of approval

11      of a commanding officer in paragraph 1 and the report in

12      paragraph 3.     But those are not the provisions that the

13      complaint has alleged were violated.         The amended complaint

14      alleges that the chemical irritants were not reasonable and

15      necessary to protect officers or others from physical harm, or

16      to arrest actively resisting suspects -- subjects, and that

17      they were used when people were not committing acts of public

18      disobedience; paragraph 230 of the amended complaint.

19                  Those portions of the provision, again, turn on an

20      analysis of what is reasonable and necessary to protect

21      officers or others.      So again, as in Sibert-Dean, it's not

22      possible to tell whether the officers violated this standard

23      without evaluating their actions against a common law baseline

24      of reasonable behavior.      I'm going to dismiss that claim.

25                  Claim No. 13 alleges a violation of D.C. Code
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 35 of 98   35


 1      § 5-331.12(b)(2), which addresses the delay in providing food

 2      to arrestees and states:       MPD shall provide to any person not

 3      released within a reasonable time of arrest food appropriate to

 4      the person's health.

 5                  Thus, this claim fails again because it rests upon an

 6      analysis of the common law reasonableness standard when it

 7      states that the MPD shall provide food to any person not

 8      released within a reasonable time and appropriate to the

 9      person's health and doesn't set forth sufficient guidelines.

10      Obviously, it's not part of my ruling here that these

11      regulations were necessarily complied with, I'm just saying

12      that they're not the kind of regulations that had the

13      specificity that would permit a negligence per se claim based

14      on those specific regulations.

15                  Finally, Claim 14 alleges a violation of D.C. Code

16      § 5-331.12(a)(1), which states:        The MPD shall promptly process

17      any person arrested in connection with the First Amendment

18      assembly to determine whether the person is eligible for

19      immediate release pursuant to a lawful release option, and

20      shall promptly release any person so eligible who opts for

21      release.

22                  In addition to arguing that this provision turns on

23      discretionary decisions and merely repeats the general

24      reasonableness standards, defendants argue that this provision

25      was not designed to promote public safety because it has to do
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 36 of 98          36


 1      with processing of persons arrested.         And because it doesn't

 2      promote public safety, it's not the basis of a negligence

 3      per se action.

 4                  I agree that while it could have some limited bearing

 5      on public safety, it really has little to do with public

 6      safety.    While it may have safety implications, the purpose of

 7      the provision is to ensure an arrestee's Fourth Amendment

 8      interest in brought before a neutral magistrate for prompt

 9      determination of probable cause.

10                  The legislative history states that this section

11      reflects the standards contained in Lively versus Cullilane,

12      451 F.Supp. 1000.     In that case the Court recognized the

13      consequences of prolonged detention, such as an interruption of

14      income sources and impaired relationships and identified the

15      liberty interest at stake, such as freedom of movement and

16      reputation.    These are very important constitutional concerns,

17      but they are not what one thinks of when identifying public

18      safety concerns.

19                  Moreover, given the discretionary aspect of the

20      provision it is not necessary to rule on that basis.             What

21      constitutes prompt processing is a general position that turns

22      on a reasonableness analysis and, therefore, does not set forth

23      specific guidelines to govern behavior and can't be the basis

24      of a negligence per se action.

25                  Thus, because the particular provisions of the Act
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 37 of 98     37


 1      identified can't support plaintiffs' negligence per se claims,

 2      those claims will be dismissed.        It's important to emphasize,

 3      though, that the standards as the council intended are relevant

 4      to other statutory and tort claims.

 5                   Claim 6 alleges a Fourth Amendment violation, and

 6      that is excessive force through the overuse of chemical

 7      irritants.    All plaintiffs allege that in using chemical

 8      irritants against peaceful demonstrators the District and

 9      defendants Rock, Thau, Washington, Murphy, Whiteside, Hill,

10      Baldwich, Flash, Steffes, Roccato, Baskerville, Brooks,

11      Vongkeo, Dennis, Parker, and Williams violated the Fourth

12      Amendment.

13                   Defendants raised four arguments in support of their

14      motions to dismiss this claim.        They say that plaintiffs

15      Frisbie-Fulton, A.S., and Ariel don't sufficiently plead that

16      they were seized.     They say that plaintiff Horse doesn't assert

17      that he was seized specifically by Officer Murphy, and so the

18      claim against Murphy should be dismissed.         And they also say

19      that plaintiffs Horse, Lagesse, and Gonzalez failed to

20      sufficiently plead that defendants Washington, Rock, and Thau's

21      use of force was unreasonable.

22                   Finally, they say the officers are entitled to

23      qualified immunity.

24                   I'm not going to dismiss this claim.       First of all,

25      the officers are not entitled to qualified immunity on the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 38 of 98      38


 1      excessive force claims at this point.         An officer's use of

 2      force is excessive and can violate the Fourth Amendment if it's

 3      not reasonable.     That is, if the nature and quality of the

 4      intrusion on the individual's Fourth Amendment interests is

 5      weightier than the countervailing government interests at

 6      stake.   It's Graham versus Connor, 490 U.S. 386.

 7                  To be sure, the D.C. Circuit said:        Not every push or

 8      shove, even if it may later seem unnecessary in the peace of a

 9      judge's chambers, violates the Constitution.          Still, a police

10      officer must have some justification for the quantum of force

11      he uses.    The Circuit said that in Rudder versus Williams, 666

12      F.3d 790, quoting Johnson versus D.C., 528 F.3d 969, from the

13      Circuit in 2008.

14                  In this Circuit it is a clearly established rule

15      that, quote, An officer's act of violence violates the Fourth

16      Amendment's prohibition against unreasonable seizures if it

17      furthers no governmental interest.        That's Johnson at 528 F.3d

18      at 976 and Rudder, 666 F.3d at 795.

19                  While there is no precedent in this Circuit

20      specifically holding that using chemical irritants alone may

21      qualify as excessive force, the Court may look to outside

22      circuits to determine whether there is a consensus of cases of

23      persuasive authority to determine whether the right is clearly

24      established.     Supreme Court said that in Ashcroft versus

25      al-Kidd, 563 U.S. 731.
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 1                  Other courts have found that the use of pepper spray

 2      or chemical agents can constitute a significant degree of force

 3      and can form the basis of an excessive force claim.              The Second

 4      Circuit said so in Tracy versus Freshwater, 623 F.3d 90.

 5      There's the First Circuit in Asociacion de Periodistas de

 6      Puerto Rico versus Mueller, 529 F.3d 52, Fogarty versus

 7      Gallegos, 523 F.3d 1147, out the Tenth Circuit.

 8                  Henderson versus Munn, 439 F.3d 497, the Eighth

 9      Circuit.    Vinyard versus Wilson, 311 F.3d 1340, the Eleventh

10      Circuit.    Headwaters Forest -- I'm not sure what DEF stands for

11      there.   Defense? -- versus County of Humboldt, 276 F.3d 1125,

12      Ninth Circuit 2002; Park versus Shiflett, 250 F.3d 843, in the

13      Fourth Circuit; Adams versus Metiva, 31 F.3d 375, in the Sixth

14      Circuit all involved pepper spray.        All of those involved

15      pepper spray.     Thus, the right to be free from excessive force

16      by police officers using chemical irritants is clearly

17      established if there's no justification for their use.

18                  Defendants argue that the complaint does not allege

19      that Officers Washington, Rock, and Thau's use of the pepper

20      spray was unreasonable.      But that's a highly fact-dependent

21      question that cannot be determined at this stage of the

22      proceedings.     And plaintiffs have sufficiently pled facts to

23      support an inference that the excessive use of pepper spray by

24      the officers was not justifiable.        Plaintiffs assert that those

25      who were pepper sprayed were not disobeying any orders, they
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 1      had not engaged in violence or threatening behavior, and that

 2      they had already been detained and were not moving or running

 3      away.   That's the amended complaint paragraphs 48, 56, 59, 70,

 4      71, 80, 119, 112, and 130.

 5                  Therefore, the officers are not entitled to qualified

 6      immunity at this stage.

 7                  Also, plaintiffs sufficiently allege that they were

 8      seized.    There is no dispute that the plaintiffs in the kettle

 9      were seized.     This analysis is necessary only with respect to

10      plaintiffs Ariel, Frisbie-Fulton, and her son A.S.

11                  For purposes of the Fourth Amendment, a seizure

12      occurs when physical force is used to restrain movement or when

13      a person submits to an officer's show of authority.              That's

14      United States versus Brodie, 742 F.3d 1058, D.C. Circuit 2014,

15      quoting California versus Hodari, 499 U.S. 621.          A seizure

16      occurs even when an unintended person or thing is the object of

17      the detention or taking, but the detention or taking itself

18      must be willful, Brower versus County of Inyo, 489 U.S. 593.

19                  Where police actions do not show an unambiguous

20      intent to restrain or when an individual submission takes the

21      form of passive acquiescence the test for telling when a

22      seizure occurs is whether, in light of all the surrounding

23      circumstances, a reasonable person would have believed he was

24      not free to leave.      That's Brendlin versus California, 551 U.S.

25      249, from 2007.
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 1                  The D.C. Circuit has recognized in Brodie that even a

 2      momentary limitation of a person's freedom of movement could

 3      constitute a seizure.      In that case, the Court examined when a

 4      suspect was directed to put his hands on a car and he submitted

 5      for a moment and then fled the scene.         The Court found that a

 6      seizure had occurred, even though the duration of his

 7      submission was short.      Later acts of noncompliance do not

 8      negate the defendant's initial submission as long as it was

 9      authentic, the Court said.

10                  The D.C. Circuit hasn't yet touched upon the issue of

11      whether the use of pepper spray itself can constitute an

12      unlawful seizure, but other courts have.         In Bettencourt versus

13      Arruda, 2012 WL 5398475, District Court in Massachusetts, found

14      that the evidence showed a seizure where plaintiff was

15      subjected to physical force that was applied by the officer for

16      the purpose of restraining his movement when the officer pulled

17      him by the arm and sprayed him, even though it didn't stop him

18      and the plaintiff was able to drive away.

19                  The Third Circuit, McCracken versus Freed, 243

20      F. App'x 702, said the plaintiff was seized when law

21      enforcement threw pepper spray canisters into her house with

22      the intent of temporarily debilitating any persons occupying

23      the home.    Logan versus City of Pullman, 392 F.Supp.2d 1246,

24      Eastern District of Washington.        Plaintiffs were seized when

25      they were pepper sprayed.       This isn't a house situation because
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 1      the defendant officers dispersed pepper spray in an attempt to

 2      gain physical control over the individuals.          Also, a case out

 3      of the Middle District of Alabama, Yelverton versus Vargo, 386

 4      F.Supp.2d 1224.     And in Brower County -- Brower versus County

 5      of Inyo, 489 U.S. 593, the Supreme Court emphasized what a

 6      seizure is when it examined a road block which resulted in a

 7      stopped car.     It held that that could be a seizure because the

 8      roadblock is not just a significant show of authority to induce

 9      a voluntary stop, but it is designed to produce a stop by

10      physical impact if voluntary compliance doesn't occur.

11      Similarly, the use of pepper spray can be a show of authority

12      that's meant to stop a person from moving, even temporarily.

13                  So while it can constitute a seizure under the Fourth

14      Amendment, the question is whether there are allegations

15      that support the inference with respect to the particular

16      plaintiffs in question.

17                  Here, the complaint alleges that the officers

18      intentionally deployed the pepper spray at the individuals

19      gathered at 12th and L Streets outside the kettle.           That's

20      paragraph 120.     Resolving all inferences in favor of the

21      plaintiffs, Frisbie-Fulton and A.S. sufficiently allege that

22      they were seized when Frisbie-Fulton inhaled paper spray, and

23      A.S. asserts that the spray landed on his head as well.

24      Frisbie-Fulton alleges that she began to cough and choke and

25      that because of the pepper spray she wasn't able to hold on to
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 1      her son anymore.     A.S. alleges that he felt his throat get

 2      clogged up and he began to cough uncontrollably.           That's in the

 3      complaint at paragraphs 139 to -42.

 4                  Thus, they have pled enough facts at this stage to

 5      raise the inference that the officers attempted to gain

 6      physical control over them and their movement was stopped, even

 7      if only temporarily.      Plaintiff Ariel also sufficiently pleads

 8      that he was seized because he alleges that the officers pepper

 9      sprayed him with no justification and he felt his lungs and

10      eyes burning, began to choke, and was on the verge of passing

11      out.    While he was not ultimately incapacitated and he did

12      flee, he's alleged enough facts to raise the inference that he

13      was temporarily incapacitated, in paragraphs 120, 121, 125, and

14      126.

15                  Thus the plaintiffs have alleged sufficient facts to

16      allege an unconstitutional seizure at this stage.           The ultimate

17      determination will turn upon a fuller evaluation of the facts.

18                  Finally, contrary to defendants' argument, plaintiff

19      Horse does assert that Officer Murphy seized him.           He pleads

20      that Officer Murphy pepper prayed him while he was restrained

21      in the kettle without warning or justification, in paragraphs

22      46 through 49.     So this claim will not be dismissed at this

23      time.

24                  That brings us to Count 7, assault and battery.         All

25      six plaintiffs bring an assault and battery claim arising out
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 44 of 98     44


 1      of the use of the chemical irritants against the defendants the

 2      District of Columbia, Chief Newsham, Commander Deville, and

 3      Officers Green, Rock, Thau, Washington, Murphy, Whiteside, Hill

 4      Baldwin, Flash, Steffes, Roccato, Baskerville, Brooks, Vongkeo,

 5      Dennis, Parker, and Williams.

 6                  Under D.C. law an assault is an intentional and

 7      unlawful attempt or threat, either by words or acts, to do

 8      physical harm to the victim.       See Evans-Reid versus District of

 9      Columbia, 930 A.2d at 937.

10                  To prove an assault a plaintiff must show that he

11      suffered apprehension of harmful or offensive contact and that

12      a reasonable person in his position would have experienced such

13      apprehension.     An essential element of the ancient tort of

14      assault is the intentional putting another in apprehension of

15      immediate and harmful or offensive conduct -- immediate and

16      harmful or offensive conduct, Madden versus D.C. Transit

17      System, Inc., 307 A.2d 756, D.C. Court of Appeals 1973.

18                  A battery is an intentional act that causes harmful

19      or offensive bodily contact.       That's Halcomb Versus Woods, 767

20      F.Supp.2d 123, quoting Evans-Reid, 930 A.2d at 937.

21                  To prove a battery a plaintiff must show that he

22      suffered harmful or offensive bodily contact from defendant's

23      intentional act.     Jackson versus D.C., 412 A.2d 948, the

24      District of Columbia Court of Appeals 1979.          Contrary to

25      defendants' contention, these torts do not require that the
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 1      officers intended to harm individuals or personally targeted

 2      the plaintiffs.     A person need not intend to bring about the

 3      harm to a specific person to commit an intentional tort.

 4      Rather, a person need only intend the conduct that brought

 5      about the harm.     See the Roger versus Loews L'Enfant Plaza

 6      Hotel case, at 526 F.Supp. 523, 529, from the court in this

 7      district in 1981, quoting Prosser, The Law of Torts, § 10 at 35

 8      through 37, the Fourth Edition.

 9                  As applied here, the officers need to only intend to

10      pull the trigger with the pepper spray.         They don't have to

11      intend that the pepper spray actually hit or harmed a specific

12      target.

13                  Thus, in Count 7 all plaintiffs have sufficiently

14      alleged that the officers intentionally discharged the chemical

15      irritants into the crowd.       See amended complaint paragraphs 47

16      to 49, 79 to 86, 120, 123 to -26, 129 to -35, 138 to -42.

17      They've also alleged that these acts caused them injury in

18      paragraphs 49, 84 to 86, 125 to -27, 131 to -34, 140, 142, 144,

19      175, 182 to -83, 188 to -89, 190, 194 to -95.

20                  Defendants argue that Claim 7 should be dismissed as

21      to defendants Newsham, Green, Deville, Whiteside, and Hill

22      because they were not personally involved and they only

23      authorized the use of the pepper spray or the sting ball.        But

24      it is enough to plead that the torts were directed by these

25      individuals to state a claim because while respondeat superior
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 1      has no application between a police officer and his

 2      subordinates, this exception to that general rule is when the

 3      officer directs or countenances the tortious act.

 4                  In Eskridge versus Jackson, 401 A.2d 986, the D.C.

 5      Court of Appeals said, and also King versus Kidd, 640 A.2d 656:

 6      Of course, if a supervisory public officer directs or

 7      countenances the tortious act of a subordinate, then that

 8      officer is subject to direct, rather than vicarious liability

 9      for his own actions.      By pleading these defendants authorized

10      the use of the irritants or ordered the officers to rush

11      forward, it's enough for now to state a tort claim against

12      them.   And that's in amended complaint paragraph 129.

13                  With respect to defendants Washington, Rock, Thau,

14      Murphy, Whiteside, Hill, Baldwin, Flash, Steffes, Roccato,

15      Baskerville, Brooks, Vongkeo, Dennis, Parker, and Williams,

16      defendants say they're covered by the qualified immunity

17      privilege because their use of chemical irritants was

18      reasonable under the circumstances and the authorization came

19      from superiors with a more complete perspective of the events.

20      This is a defense that may well be more fully developed at a

21      later point.     But at this stage plaintiffs have sufficiently

22      pled that the use of the chemical irritants was not reasonable

23      because, plaintiffs assert, among other things, MPD officers

24      pepper sprayed into a large and peaceful crowd of individuals

25      without warning and for no apparent reason, paragraph 3 -- or,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 47 of 98   47


 1      page 3.

 2                   At the time Officer Murphy pepper-sprayed Mr. Horse,

 3      Mr. Horse was not engaged in any unlawful or dangerous

 4      activity.    He was not disobeying any orders by any police

 5      officer; paragraph 48.

 6                   Paragraph 56 alleges that they deployed pepper spray

 7      without warning or as a dispersal order when they faced no

 8      threat to themselves or to public safety or any disobedience.

 9      Similarly, paragraphs 180, 121, and 123 all allege facts that

10      support the claim and, therefore, the claim will not be

11      dismissed.

12                   Okay.   We're up to Claims 9 and 10, which were the

13      claims of assault and battery and excessive force involving

14      plaintiff A.S. in particular.

15                   In Claim 9 plaintiff A.S. brings a claim of excessive

16      force against the District and Officers Whiteside, Hill, Masci,

17      and Angulo, alleging that they used excessive force in

18      violation of the Fourth Amendment when he was knocked down by

19      the line of police officers.       In Claim 10 he alleges assault

20      and battery based on the same conduct against the same

21      defendants.

22                   Defendants say plaintiffs failed to plead that the

23      actions underlying the claims were intentional because the

24      complaint states that the officers collided with A.S., so the

25      claim -- complaint does not allege that the officers
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 48 of 98        48


 1      intentionally knocked him down.

 2                  In full, the complaint says without warning or

 3      provocation, a line of police officers, including Officer

 4      Joseph Masci and Officer Angulo, rushed forward.           Officer Masci

 5      and Angulo collided with A.S., knocking him to the ground.

 6      Defendant Lieutenant Michael Whiteside and Sergeant Sean Hill

 7      walked behind the line of officers, speaking to them moments

 8      before the charge.

 9                  This conduct, in combination with the coordinated

10      action by multiple officers, reflects that the defendants

11      Whiteside and Hill ordered the charge into nonviolent

12      protesters, despite the absence of a threat to officer or

13      public safety or disobedience of any officer's command.          That's

14      the amended complaint in paragraphs 129 to -30.

15                  A violation of the Fourth Amendment requires an

16      intentional acquisition of physical control.          A seizure can

17      occur even when an unintended person or thing is the object of

18      the detention or taking, but the detention or taking itself

19      must be willful.     That's the Supreme Court case I read from

20      earlier, Brower versus County of Inyo, 489 U.S. at 595 to -96.

21      And as stated before, both assault and battery require that the

22      plaintiff show he suffered a threat of physical harm or

23      offensive bodily contact that was intentional.

24                  I acknowledge, as I stated earlier, that the

25      plaintiff only needs to allege, as was sufficient in Claim 7,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 49 of 98       49


 1      that the defendant intended the act that brought about the

 2      harm.   But the use of the word "collided" doesn't give rise to

 3      an inference of anything other than negligence and it's

 4      inconsistent with the intent requirement for both the excessive

 5      force and the assault and battery allegations.          It is easily

 6      distinguished from intending an act that is inherently harmful

 7      and offensive or can likely cause harm, such as spraying a

 8      chemical irritant at a group, even if one didn't spray with the

 9      intent to harm a particular person.

10                  What is absent from these counts is the intent to

11      place plaintiff in apprehension of an immediate and harmful or

12      offensive act or the intent to make contact with him.            Without

13      more, intent can't be inferred from the allegation in the

14      complaint and, therefore, these claims will be dismissed

15      without prejudice for failure to state a claim.

16                  Claim 11 is the Fourth Amendment violation alleging

17      excessive force involving the zip ties.         Plaintiffs Horse and

18      Lagesse assert that Officers Hinostroza and Bogardus used

19      excessive force when their zip ties were excessively tight.            In

20      response, defendants admit that there is a clearly established

21      right to be free from injury-inflicting handcuffing when an

22      individual complains about the tightness of the cuffs, but they

23      say here these plaintiffs assert only de minimis injuries.

24      This claim will not be dismissed.

25                  While there may not be a D.C. Circuit case on point,
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 1      a Court in this district has held that tight handcuffing can

 2      constitute excessive force where the handcuffing has resulted

 3      in injury or where an individual complains about the overly

 4      tight cuffing.     That's Dormu versus D.C., 795 F.Supp.2d 7,

 5      citing Howard versus Kansas City Police Department, 570 F.3d

 6      984 from the Eighth Circuit, which found that it clearly

 7      established that the Fourth Amendment prohibited officers from

 8      unreasonably ignoring complaints that unduly tight handcuffs

 9      were causing more than minor injury.

10                  In Dormu the plaintiff had averred that as a result

11      of the tight handcuffs, he continued to experience pain and

12      numbness in his right wrist, that he received surgery for this

13      problem, and that he has stopped performing surgeries himself

14      that require a certain level of muscle strength.           Other

15      circuits have found where some physical injury is alleged it's

16      enough to sustain an excessive force claim, such as Lyons

17      versus City of Xenia, 417 F.3d 565, from the Sixth Circuit;

18      Meredith versus Erath, 342 F.3d 1057, from the Ninth Circuit;

19      Kopec versus Tate, 361 F.3d 772, from the Third Circuit; Payne

20      versus Pauley, 337 F.3d 767, from the Seventh Circuit; Mickle

21      versus Morin, 297 F.3d 114, from the Second Circuit.

22                  Here, the complaint alleges that Horse's zip ties

23      were so tight that he lost feeling in some of the fingers on

24      both of his hands, paragraph 146.        He alleges in 147 that he

25      complained to Officer Hinostroza that the zip ties were
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 51 of 98     51


 1      painfully tight, but the officer refused to remove them.         He

 2      alleges, in 178, that as a result of the tight zip ties,

 3      Horn -- Horse experienced pain in his hands.          Several fingers

 4      on his left hand remained numb for more than four months after

 5      his arrest.    Because of the numbness, he had difficulty with

 6      important daily tasks, such as typing on a keyboard or

 7      operating his camera.

 8                  The complaint alleges that Lagesse's zip ties were so

 9      excessively tight that one of her wrists was cut and began to

10      bleed; paragraph 149.      It alleges that they were around her

11      wrist for two it three hours, in 148 and 151.          She also alleges

12      that she complained to Officer Borgardus that the zip ties were

13      painfully tight, but the officer refused to remove it them;

14      paragraph 150.     She also alleges, in paragraph 185, that as a

15      result of the excessively tight zip ties her wrists bled, she

16      experienced pain in his wrist and hand and she still has a scar

17      on her wrist.     Because plaintiffs state an injury, they have

18      stated a claim for excessive force and the claim will not be

19      dismissed on its face.

20                  Claim 12 alleges Fourth and Fifth Amendment

21      violations arising out of the conditions of the plaintiffs'

22      confinement.     Plaintiffs Horse, Lagesse, and Gonzales assert

23      that they were subjected to a prolonged period without access

24      to food, water, or toilets, in violation of their Fourth and

25      Fifth Amendment rights.      The claim is brought against the
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 1      District, Chief of Police Newsham, and Officers Alder, Carroll,

 2      and Niepling.

 3                   Defendants move to dismiss the claim on two grounds.

 4      First, they argue that plaintiffs haven't sufficiently alleged

 5      that Newsham, Alder, Carroll, or Niepling deprived them of

 6      food, water or toilets because plaintiffs do not allege that

 7      Newsham was at the kettle or that the other officers were at

 8      the kettle for the duration of the time period in question, or

 9      that they knew that plaintiffs were without food, water, or

10      toilets the entire time plaintiffs were confined.

11                   Second, defendants contend that plaintiffs do not

12      allege a clearly established Fifth or Fourth Amendment right

13      and, thus, the individual defendants are entitled to qualified

14      immunity.

15                   Dismissing the claim on the first basis would be

16      premature.    Accepting all of plaintiffs' assertions as true and

17      drawing all inferences in their favor, plaintiffs have

18      sufficiently pled that MPD officers were communicating with

19      their supervisors, the individual defendants here, regarding

20      the requested accommodations, that plaintiffs specifically

21      requested food, water, and access to a bathroom, or that

22      defendants were aware that there was a need for food, water and

23      rest rooms and defendants refused to provide the accommodations

24      to plaintiffs on purpose.       See paragraph 87 to 93, 96 to 99,

25      153 to -54, 156, 158 to -59, 161 and 164.
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 1                  The D.C. Circuit has held that under § 1983 a

 2      supervisor who merely fails to detect and prevent a

 3      subordinate's misconduct can't be liable for that misconduct.

 4      The supervisor must know about the conduct and facilitate it,

 5      approve it, condone it, or turn a blind eye for fear of what

 6      they might see.     The Court said that in International Action

 7      Center versus U.S., 365 F.3d 20, in 2004, quoting Jones versus

 8      City of Chicago, 856 F.2d 985, from the Seventh circuit in

 9      1988.   Plaintiffs have alleged that these defendants, as

10      supervisors, directed the officers at the scene to not provide

11      the needed food, water, and bathroom.

12                  With respect to the second ground for dismissing

13      Claim 12, the question of whether a right is clearly

14      established, as I said earlier, involves the Butera test of

15      whether the Supreme Court, D.C. Circuit, or other circuits in a

16      consensus have clearly spoken on the lawfulness of the conduct

17      at issue.

18                  Plaintiffs argue their conditions of confinement

19      contravene both the Fourth and Fifth amendments of the

20      Constitution.     The Supreme Court and the D.C. Circuit have

21      found that pretrial detainees' conditions of confinement are

22      protected under the due process clause of the Fifth Amendment.

23      That's Bell versus Wolfish, 441 U.S. 520; Jones versus Horne,

24      634 F.3d 588, the D.C. Circuit.        And the Fourth Amendment may

25      also apply in pre-arrest situations, where people are detained
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 54 of 98    54


 1      and are being processed or transported to be arrested, because

 2      of its temporal proximity to the seizure.         Seventh circuit made

 3      that point in Ortiz versus City of Chicago, 656 F.3d 523;

 4      Chambers versus Pennycook, the Eighth Circuit, 641 F.3d 898,

 5      noting that it's appropriate to use the Fourth Amendment

 6      framework to analyze excessive force claims arising out of

 7      incidents occurring shortly after arrest because those

 8      incidents still occur in the course of a seizure of a free

 9      citizen.    These incidents include the transportation, booking

10      and initial detention of recently arrested persons.

11                  The Tenth Circuit said something similar in Austin

12      versus Hamilton, 945 F.2d 1155, 1991.         As plaintiffs point out,

13      courts in this district have used both standards, depending on

14      what the facts were alleged in the complaint.

15                  In Bell versus Wolfish the Supreme Court instructed

16      that in evaluating the constitutionality of conditions or

17      restrictions of pretrial detention that implicate only the

18      protection against depravation of liberty without due process,

19      the proper inquiry is whether those conditions amount to

20      punishment of the detainee.       So, that is essentially the Fifth

21      Amendment standard.      Punishment is found if actions taken

22      against the detainee are motivated with an intent to punish or

23      that, in the absence of an express intent to punish, the

24      actions are not rationally related to a legitimate nonpunitive

25      governmental purpose or the actions appear excessive in
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 1      relation to that purpose.       The Supreme Court emphasized that in

 2      135 S. Ct. 2466, Kingsley versus Hendrickson.

 3                  While the D.C. Circuit hasn't said whether the

 4      question of denying food, water, and bathrooms amounts to

 5      punishment, such as to constitute a constitutional violation,

 6      other circuits have.      The Eastern District of Virginia in Smith

 7      versus Fargo, 2015 WL 6125709, denied a motion to dismiss a

 8      pretrial detainee's due process claim for denial of water and

 9      toilets for six hours; the Seventh Circuit, Davis versus

10      Wessel, 792 F.3d 793, denied qualified immunity on a civil

11      detainee's claim that the guards refused to uncuff him to let

12      him use the toilet, causing him to soil himself while urinating

13      and to refrain from defecating for three hours.

14                  Other cases involve Gobel versus Maricopa County, 867

15      F.2d 1201, from the Ninth Circuit; Merritt versus County of Los

16      Angeles, 875 F.2d 765; and Anela versus City of Wildwood, 790

17      F.2d 1063; and Putman versus Gerloff, 639 F.2d 415, out of the

18      Eighth Circuit, where the Court said a reasonable jury could

19      find a due process violation where defendants chained pretrial

20      detainees overnight for 12 hours so as to deny them toilet

21      access.

22                  Courts applying the Fourth Amendment have condemned

23      similar conduct.     In Heitschmidt versus City of Houston, 161

24      F.3d 834, out of the Fifth Circuit, the Court reversed the

25      dismissal of a complaint where the plaintiff was physically
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 1      pushed into the trunk of a car and handcuffed -- onto the trunk

 2      of a car and handcuffed in the street and then detained in pain

 3      without a restroom break for more than four hours.           The Court

 4      there found that on the basis of the pleadings, that the

 5      plaintiff had conceivably alleged a violation of his clearly

 6      established Fourth Amendment rights and that the officers were

 7      not entitled to qualified immunity.

 8                  The Court similarly denied qualified immunity in a

 9      case out of the Northern District of Illinois, Carroll versus

10      Village of Homewood, 2001 WL 1467708.         And the D.C. Circuit has

11      held that sustenance and sanitation are basic needs, in Inmates

12      of Occoquan versus Barry, 844 F.2d 828.         Thus, the laws clearly

13      establish that the depravation of food, water, and access to a

14      bathroom can amount to a constitutional violation.           And

15      plaintiffs allege enough facts that if taken as true, rise to

16      an inference of intended punishment, in violation of the due

17      process clause, or in violation of the Fourth Amendment because

18      the conduct could constitute an unreasonable search and

19      seizure.

20                  Plaintiffs allege that they asked for food, water,

21      and to use the restroom, but they were refused; paragraph 89.

22      They allege that officers were throwing away food in front of

23      the detainees on purpose to taunt them; paragraph 90.            They

24      were ridiculed, told to defecate themselves and forced to

25      rummage through trash cans; paragraphs 90 to 93.           One officer
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 1      allegedly told Gonzalez, if you wanted to go to the bathroom,

 2      you shouldn't have gotten arrested; paragraph 96.

 3                  If other facts are developed that demonstrate a

 4      legitimate government purpose, that can be the basis for a

 5      motion for summary judgment.       But at this stage of the

 6      proceedings the defendants are not entitled to dismissal of

 7      Claim 12 based on qualified immunity.

 8                  Claim 15, intentional infliction of emotional

 9      distress.    Plaintiff Gonzalez asserts that he suffered

10      emotional distress when defendants District of Columbia,

11      Officers Newsham, Alder, Carroll, and Niepling denied him

12      access to go to the bathroom for nine to ten hours.              Defendants

13      argue that he failed to state a claim because he fails to

14      allege intent or severe emotional distress.          They also argue

15      that failure to provide a toilet is not outrageous and reckless

16      conduct.

17                  To establish liability under D.C. law for intentional

18      infliction of emotional distress the plaintiff must show, one,

19      extreme and outrageous conduct on the part of the defendant,

20      which, two, either intentionally or recklessly, three, caused

21      the plaintiff severe emotional distress.         That's Larijani

22      versus Georgetown University, 791 A.2d 41, D.C. 2002.             The

23      conduct must be so outrageous in character and so extreme in

24      degree as to go beyond all possible bounds of decency and to be

25      regarded as atrocious and utterly intolerable in a civilized
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 1      community, Kaiser versus U.S., 761 F.Supp. 150 at 156.

 2                  Plaintiff Gonzalez alleges that he was held without

 3      access to a toilet, in pain and anxiety for nine to ten hours

 4      for no reason, and was not given privacy to ultimately relieve

 5      himself.    That's paragraph 92 to 96, 161 to -63.         He also

 6      alleges, in paragraphs 89 and 96, that when he asked for access

 7      to a toilet he was mocked.       And he alleges the MPD had the

 8      resources to process him faster but chose not to to maximize

 9      his discomfort; paragraphs 97 to 99.

10                  He further asserts, in paragraph 251, that when

11      Newsham, Alder, Carroll, and Niepling ordered or approved his

12      detention for a prolonged period without access to a toilet, it

13      caused him severe emotional distress.

14                  Defendants argue that Gonzalez has failed to plead

15      intent.    But as explained above, plaintiff need only show the

16      intent to do the act that caused the harm.          The intent standard

17      is satisfied when defendants intentionally placed Gonzalez in

18      the kettle and then denied him a toilet when he requested one.

19      And plaintiff has pled that he suffered from severe emotional

20      distress in the form of difficulty sleeping, nightmares, and

21      anxiety around the police; in paragraphs 193 and 251.            And the

22      Court, in Williams versus District of Columbia, 268 F.Supp.3d

23      178, in that case another Court in this District did find that

24      such allegations stated a claim of intentional infliction of

25      emotional distress, at least at this stage.
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 1                  Finally, Gonzalez has sufficiently pled extreme and

 2      outrageous conduct for the claim to move forward.           He was in

 3      pain and he was mocked when he simply asked to relieve himself

 4      after being detained for nine to ten hours.

 5                  The next issue I have to take up is that with respect

 6      to Claims 1, 2, 6, and 12, the complaint alleges that the

 7      District itself is liable for the alleged constitutional

 8      violations set forth.      The arrest without probable cause in

 9      Claim 1, the arrest for protected speech in Claim 2, excessive

10      force in using chemical irritants in Claim 6, and the

11      conditions of pretrial confinement in Claim 12, all under

12      § 1983.

13                  Defendants maintain the plaintiffs have not alleged a

14      plausible basis to impose municipal liability because they did

15      not allege an express municipal policy that facilitated the

16      conduct at issue; they failed to plead that a custom or policy

17      gave rise to the alleged constitutional violations; they failed

18      to allege the deliberate indifference necessary because

19      plaintiffs don't allege that defendants were on notice of a

20      failure to train or to supervise and that plaintiffs have

21      failed to allege the actions of a final policy maker because

22      the chief of police is not a final policy maker.

23                  Plaintiffs predicate their theories of municipal

24      liability on three basis.       As to Claims 1, 2, 6, and 12, they

25      say Chief of Police Peter Newsham was a final policy maker who
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 1      directed the actions that gave rise to the constitutional

 2      violations.    They allege that he acknowledged that the kettling

 3      procedure was not a mere happenstance, but part of a

 4      coordinated strategy, in paragraph 198; that the chief

 5      coordinated the MPD response which included the pepper

 6      spraying, assaulting individuals with noise and light-emitting

 7      weaponry, and detaining demonstrators, all from the command

 8      center, in paragraph 199.       And that the officer on the scene,

 9      Commander Deville, was in constant communication with the

10      control center and taking orders from the chief, in paragraph

11      200.

12                  Second, with respect to Claims 1, 2, 6, and 12,

13      plaintiffs assert that the chief deliberately failed to

14      supervise and restrain defendants Green and Deville and other

15      officer under his command from violating the rights of

16      plaintiffs and others repeatedly, in paragraph 201, and that he

17      was aware of the large scale MPD actions taken against

18      individuals who marched down 13th Street.

19                  Finally, as to Claim 6, plaintiffs allege that the

20      District failed to adequately train its officer in how and when

21      to use pepper spray.      That's paragraph 203.      They point to four

22      other instances during which MPD used excessive force against

23      demonstrators and submit that this shows the District's

24      knowledge of and indifference to the problem; paragraph 202.

25                  The law is quite clear, a municipality cannot be held
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 1      liable solely because it employs a tortfeasor.          Instead, it is

 2      when the execution of a government's policy or custom, whether

 3      made by its lawmakers or by those whose edicts or acts may

 4      fairly be said to represent official policy, inflicts the

 5      injury that the government as an entity is responsible under

 6      § 1983.    That's what the Supreme Court said in Monell versus

 7      Department of Social Services, 436 U.S. 658.          That's why this

 8      is usually referred to as Monell, Monell test for municipal

 9      liability.

10                   Municipalities may be held liable under § 1983 only

11      for the acts for which the municipality itself is actually

12      responsible.     That is, acts which the municipality has

13      officially sanctioned or ordered.        Supreme Court said that in

14      City of St. Louis versus Praprotnik, 485 U.S. 112, 123, citing

15      Pembaur versus City of Cincinnati, 475 U.S. 469, at 480.

16                   The decision of a municipal officer who has the

17      authority to make final policy in the area at issue may qualify

18      as official policy under Monell.        The Supreme Court said that

19      in Praprotnik at page 123.       And even a single decision by a

20      municipal policy maker may give rise to municipal liability

21      according to Pembaur, 475 U.S. at 480.         But, quote, municipal

22      liability under § 1983 attaches where, and only where, a

23      deliberate choice to follow a course of action is made from

24      among various alternatives by the official or officials

25      responsible for establishing final policy with respect to the
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 1      subject matter in question.       That's Pembaur again at 483,

 2      citing Oklahoma City versus Tuttle, 471 U.S. at 822.

 3                  Municipal liability, therefore, can't be predicated

 4      on the actions of every public official, and not even on the

 5      decisions made or directions issued by very high-ranking or

 6      supervisory officials.

 7                  Because the official policy requirement was intended

 8      to distinguish acts of the municipality from acts of employees

 9      of the municipality, the Supreme Court explained in Pembaur at

10      479, it can only be satisfied by the action of a policy maker

11      with the government, quote, whose acts or edicts may fairly be

12      said to represent official policy, close quote.          It's Pembaur,

13      page 480.

14                  While at first blush it would seem logical that the

15      city's top law enforcement officer who is alleged to have been

16      personally supervising the MPD response to the march would

17      qualify, there is binding precedent that I have to follow that

18      compels the conclusion that he was not.         Whether a particular

19      official has final policymaking authority is a question of

20      state law and the challenged action must have been taken

21      pursuant to a policy adopted by the official or officials

22      responsible under state law for making policy in that area of

23      the state's business -- of the city's business.          That's from

24      Praprotnik, 485 U.S. at 123.

25                  Pembaur at 475 U.S. at 481 makes the same point.           It
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 1      said:   The official must also be responsible for establishing

 2      final governmental policy respecting such activity before the

 3      municipality can be held liable.        Authority to make municipal

 4      policy may be granted directly by legislative enactment or may

 5      be delegated by an official who possess such authority.          And

 6      there Pembaur was citing Oklahoma City versus Tuttle, 471 U.S.

 7      at 822 to 824.

 8                   The D.C. Circuit addressed this issue in Singletary

 9      versus District of Columbia, 766 F.3d 66, D.C. Circuit from

10      2014, that I know well.      In that case the question presented

11      was whether a decision by the D.C. Board of Parole, which had

12      already been determined to be unconstitutional by the D.C.

13      Circuit, could be attributed to the District, making the

14      District liable for the plaintiff's undeniably unlawful

15      detention.

16                   The D.C. Circuit found that the D.C. Board of

17      Parole's decision to revoke Singletary's parole could not be

18      the basis for municipal liability because the board was not a

19      final policy maker.      The Court found that the mayor possessed

20      rulemaking authority to implement the statutory provisions

21      governing the board's exercise of its powers, subject to

22      disapproval by the D.C. city council.         Since there was no

23      suggestion or allegation that the board acted under direction

24      of any such rule when it revoked Singletary's parole based on

25      unreliable evidence, the Court found there could be no Monell
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 1      liability.

 2                   The Court recognized that the board had the

 3      discretion to revoke parole depending on the fact of each

 4      presented -- each case presented to them, but it said, quote,

 5      such discretion is insufficient to create municipal liability

 6      unless the decision maker had been granted final policymaking

 7      authority under D.C. law in the area of parole revocation, and

 8      then cited the pages of Pembaur that I just read, and found

 9      that the parole board didn't have authority to promulgate

10      general rules or policies.       And, therefore, the board was,

11      quote, constrained by policies not of its making, close quote,

12      and its decision to depart from those policies was not an act

13      of the municipality for purposes of § 1983, citing Praprotnik.

14                   So that's the binding authority that binds my

15      decision in this case.

16                   Here, too, Chief of Police Newsham was constrained by

17      policies not of his own making and any decision to depart from

18      those policies was not an act of the municipality.

19                   Plaintiffs say, well, the chief of police was the

20      final policy maker and he directed the officers at the scene to

21      take certain actions that led to constitutional violations,

22      including kettling, detaining individuals, arresting

23      individuals who didn't commit any crimes, using chemical

24      irritants on peaceful demonstrators, and more.          But it is the

25      D.C. council and the mayor who are the final policy makers with
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 1      respect to the relevant subject matter, First Amendment

 2      Assemblies.    This is evidence through the First Amendment

 3      Assemblies Act which was passed by the council in 2004.

 4                  The very purpose of the legislation, as the council

 5      put it at the time, was to preclude preemptive actions by the

 6      police department by requiring a standard of imminent

 7      likelihood of law breaking before police can surround or

 8      otherwise disrupt an event, and place limits on the use of

 9      physical restraints by banning the use of wrist and ankle ties,

10      and created a process of checks and balances for occasions when

11      police investigate the activities of members of political

12      organizations.     And that was in the committee report that I

13      cited earlier at docket 47-1.

14                  Further, the council explicitly stated that this

15      legislation is presented as a response to and policy guidance

16      for District of Columbia law enforcement based on the past

17      record and the need for elected officials to clearly articulate

18      the priorities of this jurisdiction.         The council described the

19      legislation precisely as a statement of policy for the District

20      of Columbia, and it is supposed to represent, quote, the best

21      practices, close quote, in law enforcement with regards to

22      First Amendment assemblies.

23                  Therefore, this law -- I've never had this much water

24      in a hearing in my eight years on the bench -- or however many

25      years it's been.
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 1                  Therefore, this law, which was promulgated by the

 2      D.C. city council, represents the policy regarding the police

 3      response to mass demonstrations.        The Act sets forth when to

 4      use chemical irritants, riot gear and riot tactics, steps to

 5      take when unlawful activity occurs, how detainees shall be

 6      treated, and the procedures that the MPD should undertake to

 7      promptly process arrests, and more.

 8                  The act does give MPD certain discretion.            For

 9      example, in § 5-331.16(b), it states that chemical irritants

10      may be used if reasonable and necessary to protect officers and

11      that a commanding officer must make that determination.                But

12      the ability to exercise some discretion doesn't mean that the

13      chief of police is a final policy maker.         In Pembaur the Court

14      made a point of distinguishing the power to exercise discretion

15      in implementing policy and the power to make policy at 475 U.S.

16      at 483, note 12.

17                  Here, as the defendants have noted, whatever policy

18      making authority existed for the chief in policing First

19      Amendment assemblies prior to the passage of the Act is now

20      constrained by the detailed rules and regulations established

21      by that statute.     The chief has discretion over his police

22      force in how to use the force, but he's working within the

23      confines of that Act.      It is the D.C. council that has

24      promulgated the policy through the First Amendment Assemblies

25      Act and, thus, it is the final policy maker in this area.               Even
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 67 of 98     67


 1      if the chief of police made decisions that were contrary to

 2      those policies and the Act and, therefore, acted in an

 3      unconstitutional or negligent manner, that doesn't mean that

 4      the municipality itself should being liable for his conduct.

 5                  It is true that some courts in this district have

 6      found the chief of police can exercise final policy making

 7      authority in making MPD employment decisions.          For instance,

 8      Sanders versus District of Columbia, 85 F.Supp.3d 523, Medina

 9      versus District of Columbia, 718 F.Supp.2d, or when executing

10      an undercover sting, see O'Callaghan versus D.C., 741 F.Supp.

11      273.

12                  These situations are distinguishable, though, because

13      D.C. municipal regulations have delegated the policy making

14      authority from the mayor to the chief of police regarding his

15      department and all functions, resources, officials, and

16      personnel assigned thereto.       That's in D.C.M.R., Chapter 6,

17      § 800.7.    The chief of police has, in municipal regulations,

18      been described as the chief executive officer of the

19      Metropolitan Police Department, see § 800.1.          And those

20      regulations give the chief the authority to plan and prescribe

21      departmental policy in 800.16.

22                  These regulations are clear, the chief of police is

23      the final policy maker with regards to internal operations of

24      the MPD and, therefore, it makes sense that the chief is the

25      final policy maker in terms of employment decisions within the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 68 of 98   68


 1      MPD.   O'Callaghan held that the chief was the final policy

 2      maker regarding a sting operation, and that court reasoned that

 3      the operation was internally planned for months by police

 4      officers, sanctioned by the chief, and was executed by the

 5      officers.

 6                   While the same reasoning could arguably be applied to

 7      the march on inauguration day, the 1990 nonbinding decision of

 8      another district court may not be consistent with the more

 9      recent decision in Singletary and, therefore, I can't find it

10      to be instructive or persuasive here.

11                   Thus, the plaintiffs cannot proceed with their § 1983

12      claims against the District of Columbia on the theory that the

13      chief acted as a final policy maker that gave rise to

14      constitutional violations.

15                   This leaves two other theories of municipal

16      liability:    Failure to supervise and failure to train.

17                   A city's inaction, including its failure to train or

18      supervise its employees adequately, constitutes a policy or

19      custom under Monell when it can be said that the failure

20      amounts to deliberate indifference towards the constitutional

21      rights of persons in its domain.        That's Daskalea versus D.C.,

22      227 F.3d 433, D.C. Circuit 2000, quoting City of Canton, Ohio

23      versus Harris, 489 U.S. 378.

24                   As the Supreme Court explained, in some circumstances

25      the need for more or different training is so obvious and the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 69 of 98      69


 1      inadequacy so likely to result in the violation of

 2      constitutional rights, that the policy makers of the city can

 3      reasonably be said to have deliberately -- to have been

 4      deliberately indifferent to the need.         That's Canton at 390.

 5                  Deliberate indifference, according to the D.C.

 6      Circuit in Warren versus District of Columbia, 353 F.3d 36,

 7      quoting the Baker case at 326 F.3d 1306, is determined by

 8      analyzing whether the municipality knew or should have known of

 9      the risk of constitutional violations but did not act.

10                  This is a stringent standard which requires that the

11      municipality have actual or constructive notice of the risk

12      that its employees will violate constitutional rights.           It's

13      Connick versus Thompson, 563 U.S. 51, at 61.          Connick says a

14      pattern of similar constitutional violations by untrained

15      employees is ordinarily necessary to demonstrate deliberate

16      indifference for purposes of failure to train.

17                  On rare occasions, a single unconstitutional incident

18      may suffice to show deliberate indifference if the

19      unconstitutional consequences of failing to train are so highly

20      predictable and patently obvious.        In Connick the burden was on

21      the plaintiff to show that the violation was so predictable

22      that failing to train or supervise amounted to conscious

23      disregard of his rights.

24                  Plaintiffs allege that the chief failed to supervise

25      MPD officers despite his knowledge that constitutional
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 70 of 98      70


 1      violations were being committed on January 20th, 2017.           It's in

 2      the complaint at paragraphs 200 to 201.         They specifically

 3      allege in those paragraphs that the chief was in constant

 4      communication with officers at the scene from his post in the

 5      command center and thus was aware of the situation and failed

 6      to restrain the officers at the scene.

 7                  While ordinarily one instance doesn't amount to a

 8      policy of inaction, it is the functional equivalent of a

 9      decision by the city itself to violate the Constitution,

10      according to Connick at 563 U.S. at 61.

11                  The facts adduced with respect to prior

12      demonstrations bear on both the failure to supervise and the

13      failure to train allegations.       And both theories should move

14      forward to the summary judgment stage, given their substantial

15      overlap.

16                  Plaintiffs also allege that the MPD officers'

17      unconstitutional overuse of chemical irritants reflects the

18      district's deliberately indifferent failure to train its

19      officers regarding proper use of pepper spray.          And plaintiffs

20      point to an alleged pattern of constitutional violations by

21      referring to four separate instances between 2000 and 2005 in

22      which lawsuits against MPD led to large settlement payouts to

23      victims of MPD violence.

24                  In January 2005, the MPD used excessive force against

25      and unconstitutionally detained demonstrators during the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 71 of 98      71


 1      counter-inaugural demonstrations in Adams Morgan.           The pepper

 2      spraying and arrest of numerous peaceful demonstrators led to

 3      lawsuits resolved by large settlement payments to victims of

 4      MPD violence.

 5                  In January of 2005 the MPD also allegedly used

 6      excessive force against demonstrators during counter-inaugural

 7      demonstrations near the White House and other demonstrators

 8      have -- after other demonstrators had removed a portion of

 9      security fencing.     The pepper spraying of law-abiding

10      demonstrators led to a lawsuit resolved by a large settlement

11      payment made to victims of MPD violence.

12                  Complaint also alleges, in paragraph 202, that in

13      September 2002 the MPD used excessive force against and

14      unconstitutionally detained demonstrators during the World Bank

15      protests in Pershing Park; the mass arrests and hogtying of

16      protesters led to lawsuits resolved by large settlement

17      payments to victims of MPD violence.

18                  And in April 2000 MPD allegedly used excessive force

19      against and unconstitutionally detained antiglobalization

20      demonstrators; the kettling, use of pepper spray, and denial of

21      food and water to detainees led to lawsuits, again resolved by

22      large settlement payments to victims of MPD violence.

23                  The Court finds the plaintiffs have stated a claim

24      for municipal liability for failure to supervise and failure to

25      adequately train its officers in the use of chemical irritants,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 72 of 98   72


 1      particularly since at least two examples took place after the

 2      First Amendment Assemblies Act was enact in 2004.

 3                  Giving the benefit to the plaintiff of all

 4      inferences, which is what I'm supposed to do right now, the

 5      allegations give rise to the inference that the District was on

 6      notice of a particular omission in its training program and

 7      that it acted with deliberate indifference in failing to train

 8      its officers and that the chief was deliberately indifferent to

 9      a need for enhanced oversight on the day of the march.

10                  The defendants say that these instances are too old

11      to put the District on notice of a particular omission in its

12      training.    But all the cases that it points to for support were

13      resolved at the summary judgment stage and not at the motion to

14      dismiss stage.     For example, Moore versus D.C., 79 F.Supp.3d at

15      121; Dormu versus D.C., 795 F.Supp.2d 7; Robinson versus D.C.,

16      403 F.Supp.2d 39; and Byrd versus District of Columbia, 297

17      F.Supp.2d 136.

18                  Therefore, I find for purposes of the motion to

19      dismiss, that the claim for municipal liability will go forward

20      on those two grounds.

21                  I think this is the last claim.

22                  Claim 16, the Fourth Amendment violation against John

23      Doe individually.     In Claim 16, plaintiffs Horse and Gonzalez

24      allege that during a pat-down after their arrest Officer John

25      Doe jabbed each of them in the rectum and grabbed Gonzalez's
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 73 of 98        73


 1      testicles without reasonable suspicion of probable cause, in

 2      violation of the Fourth Amendment.        This is set out in the

 3      complaint in paragraphs 254 -- the amended complaint, 254 to

 4      255.

 5                  Defendant John Doe has filed his own motion with

 6      respect to Claim 16.      He moves to dismiss or, in the

 7      alternative, for summary judgment for two reasons.           First of

 8      all, he says the Court should strike plaintiffs' allegations

 9      because plaintiffs made objectively false representations in

10      the amended complaint, and he argues that he's entitled to

11      qualified immunity because the evidence he has submitted

12      disproves that there was any constitutional violation.           And so

13      here he's moving to dismiss or, in the alternative, for summary

14      judgment at Docket 55.

15                  The Court does have some discretion to strike

16      obviously false and sham allegations that have changed from the

17      complaint to the amended complaint.        And the District noted

18      that in Clay versus Howard University, 128 F.Supp.2d 22, citing

19      Bradley versus Chiron Corporation, 136 F.3d 1317.           It said

20      reconcilable small variations between complaints are

21      acceptable, but direct contradiction is not.

22                  When an amendment -- amended complaint falls shy of a

23      180-degree change in the allegations, though, courts have

24      tended to decline to strike the allegations.          See, for example,

25      CopyWatch, Inc. versus American National Red Cross, 299
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 74 of 98       74


 1      F.Supp.3d 189, or the Clay case at 128 F.Supp.3d 27.

 2                  In the original complaint Horse and Gonzalez allege

 3      that they were subjected to an intrusive search alongside three

 4      other detainees.     And that was paragraph 115 of the original

 5      complaint, Docket 1.      That Officer Doe pushed his finger into

 6      Horse's rectum for several seconds, that Officer Doe reached

 7      inside of Gonzalez's underwear when he put his finger inside of

 8      his rectum, and that Officer Doe moved down the line and

 9      subjected three other detainees to similar treatment.            That's

10      in paragraphs 119 and 120 and 124.

11                  In the amended complaint plaintiffs allege that

12      Officer Doe pushed his finger into Horse through his clothes

13      and Officer Doe reached in Gonzalez's underwear to fondle his

14      testicles and insert the finger.        And that's in paragraphs 168,

15      171 and 172 of the amended complaint.

16                  The Court finds that some of the changes are

17      troubling and they may bear on the plaintiffs' credibility

18      moving forward, but the factual allegations in the amended

19      complaint fall short of the 180-degree change required to

20      strike them.     The allegations in the amended complaint don't

21      rise to the level of direct contradiction.          Thus, the amended

22      complaint will not be stricken and Doe's motion to dismiss will

23      be denied on that basis.

24                  But Doe has also moved for summary judgment on the

25      grounds that he's entitled to qualified immunity because, one,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 75 of 98      75


 1      he didn't commit a constitutional violation and, two, the

 2      pat-down searchs he performed were not clearly unreasonable and

 3      did not violate a clearly established right.

 4                  The Fourth Amendment generally establishes that law

 5      enforcement have probable cause for conducting a search.

 6      That's U.S. versus Scott, 987 A.2d 1180, D.C. Court of Appeals

 7      2010.   However, a critical exception to this rule are searches

 8      conducted incident to arrest.

 9                  The Supreme Court has explained:        The authority to

10      search a person incident to a lawful custodial arrest, while

11      based upon the need to disarm and to discover evidence, does

12      not depend on what a court may later decide was the probability

13      in a particular arrest situation that weapons or evidence would

14      in fact be found upon the person of the suspect.           A custodial

15      arrest of a suspect based on probable cause is a reasonable

16      intrusion under the Fourth Amendment; that intrusion being

17      lawful, a search incident to arrest requires no additional

18      justification.     It's United States versus Robinson, 414 U.S.

19      218.

20                  Here, plaintiffs have alleged sufficient facts in the

21      complaint give rise to an inference that plaintiffs Horse and

22      Gonzalez's arrests were not conducted with probable cause, so

23      the searchs incident to those arrests would require additional

24      justification.     Even if there was probable cause to arrest

25      Horse and Gonzalez, though, where a search incident to arrest
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 76 of 98      76


 1      is unusually intrusive, the search may be deemed unreasonable

 2      and, therefore, in violation of the Fourth Amendment.

 3                  In Bell versus Wolfish the Supreme Court established

 4      an analytical framework to determine the reasonableness of a

 5      sexually intrusive search, holding that courts must balance the

 6      scope of the particular intrusion, the manner in which it is

 7      conducted, the justification for initiating it, and the place

 8      in which it is conducted, that's 441 U.S. 520.          And see also

 9      Bame versus District of Columbia, 637 F.3d 380 from this

10      Circuit, and Grissom versus District of Columbia, 853 F.Supp.2d

11      118, which noted that the unreasonableness inquiry is a

12      particularized one, taking into account the facts and

13      circumstances of the particular case.

14                  Courts have also held that manual body cavity

15      searches must be conducted with probable cause.          Gonzalez

16      versus City of Schenectady, 728 F.3d 149.         The Second Circuit

17      upheld the lawfulness of a manual body cavity search of an

18      arrestee because officers had probable cause to conduct it.            In

19      Spencer versus Roche, 659 F.3d 142, the First Circuit said:

20      Applying the Bell balancing test, we have upheld digital

21      searches of a vagina and rectum when supported by probable

22      cause and appropriately carried out by medical professionals.

23      See Evans versus Stephens, 407 F.3d 1272, says that officers

24      must have at least reasonable suspicion to conduct either strip

25      searches or when a search includes touching genitalia or
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 77 of 98    77


 1      penetrating anuses.

 2                  Finally, a court in this district has found that

 3      where the plaintiff was arrested for simple assault and a

 4      federal protective services officers fondled and manipulated

 5      the plaintiff's genitals over his clothes while searching him,

 6      the Court denied defendant's motion to dismiss on qualified

 7      immunity grounds, holding that no reasonable objective officer

 8      would conclude that an extensive exploration of a person could

 9      include fondling and sexual assault as alleged in this case.

10      That was the Dickey case, 174 F.Supp.3d at 372.

11                  Thus, the Court finds that the right to be free from

12      a sexually intrusive search when conducted without probable

13      cause is a clearly established right.

14                  Defendant says he has submitted a video of the

15      searches that conclusively demonstrates that no constitutional

16      violation occurred.      It's Exhibit H to Doe's motion and the

17      parties have been referring to it as the Blue Plains Video.

18                  Doe points out that the search of Horse only lasts 19

19      seconds and they only pat down Horse's buttocks for one second.

20      And that's at the Blue Plains Video at 5 minutes and 12 seconds

21      to 5:31.    He also points out that Gonzalez's search lasts only

22      35 seconds and that the video shows that he pats down the groin

23      and buttocks area outside of Gonzalez's pants, contrary to

24      Gonzalez's allegation that Doe reached inside his underwear.

25      And for that he points to the video at 8 minutes and 50 seconds
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 78 of 98         78


 1      to 9 minutes and 25 seconds.

 2                  But the video evidence submitted is shot from a

 3      distance, it's somewhat bury, and there's no sound.              And the

 4      D.C. Circuit had problems with a video like that in Fenwick

 5      versus Pudimott, P-U-D-I-M-O-T-T, 778 F.3d 133, where the video

 6      was blurry and soundless, the Court had trouble drawing

 7      conclusions from the video and it did little to affect the

 8      Court's analysis.

 9                  It is difficult to see exactly where Officer Doe's

10      hands are, although with respect to plaintiff Horse they do

11      generally appear to be outside of his clothes.          The video does

12      not conclusively establish that Officer Doe only searched above

13      Gonzalez's clothes, however, because Doe was standing behind

14      Gonzalez in the video and Gonzalez is facing the camera, so

15      it's difficult to tell what he's doing.

16                  Furthermore, at the 5 minute, 20 second point of the

17      video, Officer Doe's hands are near or on Horse's groin and

18      buttocks area.     At both points in the video plaintiff Horse

19      does something that can be characterized as flinching.             Horse

20      has also submitted a sworn declaration stating that Officer

21      John Doe did indeed assert a finger in his anus.           And that's

22      docket 58-4, paragraph 7.

23                  At 9 minutes and 8 seconds into the video, Gonzalez

24      is required to stand with his legs further apart.           And in his

25      sworn declaration he attests that it was Doe who asked him to
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 79 of 98   79


 1      spread his legs.     That's the Gonzalez declaration, Docket 58-3,

 2      at paragraph 10.

 3                  At 9 minutes and 13 seconds into the video Gonzalez

 4      also visibly flinches, he turns back and says something to Doe.

 5      Furthermore, he avers that Officer Doe touched his testicles

 6      and inserted a finger into his anus in the declaration.

 7                  Summary judgment is appropriate if the movant shows

 8      that there was no genuine dispute as to any material fact and

 9      the movant is entitled to summary judgment as a matter of law.

10      The party seeking summary judgment bears the initial

11      responsibility of informing the district court of the basis for

12      its motion and identifying those portions of the pleadings,

13      depositions, answers to interrogatories and admissions on file,

14      together with affidavits, if any, which it believes demonstrate

15      the absence of a genuine issue of material fact, which we all

16      know the Supreme Court said in Celotex Corporation versus

17      Catrett, 477 U.S. 317.

18                  In assessing a party's motion, the Court must view

19      the facts and draw reasonable inferences in the light most

20      favorable to the party opposing the summary judgment motion,

21      which is the plaintiff in this instance.

22                  The Blue Plains Video is not so conclusive that I can

23      rule as a matter of law at this time that no genuine issue of

24      fact remains for the jury.       And if the body cavity or intrusive

25      search did occur, there are currently not enough facts on the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 80 of 98         80


 1      record to determine whether the search is reasonable or

 2      conducted with probable cause.        And, therefore, the motion for

 3      summary judgment, Count 16, will be denied.

 4                  However, plaintiffs, especially plaintiff Horse,

 5      should carefully evaluate the strength of the evidence on these

 6      counts, given the fact that whatever took place, and it took

 7      place in an instant, and there's little in the video to support

 8      the allegations that the officer placed his hand inside the

 9      detainee's clothes, nor does the video support the original

10      description of this event as involving a group of men lined up.

11                  So this ruling is without prejudice to the renewal of

12      the motion at the close of discovery.         And even if the claims

13      survive that round of briefing, it is worth considering that it

14      is not clear how concerned a jury will be about these very

15      brief encounters.

16                  At this point the Court need not address the

17      admissibility of the supposed 404(b) evidence or the allegedly

18      impermissible hearsay submitted because the Court finds that

19      defendant's motion for summary judgment must be denied even

20      without considering that evidence at all.

21                  Therefore, for everything -- all the reasons I've

22      just stated, defendant's motion to dismiss the Horse complaint,

23      at Docket 38, is granted as to Claims 2, 4, 5, 8, 9, 10, 13,

24      and 14.    The motion is denied as to all other claims.          The

25      municipal liability claims under § 1983 cannot proceed against
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 1      the District on the final policy maker theory, but they may

 2      proceed on the failure to train and failure to supervise

 3      grounds.    And Docket 55, Defendant John Doe's motion to dismiss

 4      and motion for summary judgment, is denied.

 5                   But, we're not done.     All right.    There's another

 6      complaint.    And I don't -- I don't mean by my jocular tone to

 7      belittle the seriousness of anything that is in this case,

 8      either what's alleged by the defendants or the officers'

 9      insistence on the reasonableness of their actions, it's just

10      4 o'clock in the afternoon on a Friday, and that's all my tone

11      reflects.

12                   In Schultz versus District of Columbia, civil action

13      18-0120, plaintiffs Jesse Schultz, John Baker, Alexander Stokes

14      Contompasis were among those demonstrating against President

15      Trump on January 20th, 2017.       In this case the operative

16      document is the complaint at Docket 1.         Schultz participated in

17      the march as a protester.       Baker attend the demonstration as

18      street medic, Contompasis was a journalist covering the

19      demonstration.     All of the plaintiffs were detained in the

20      kettle and arrested.      And unlike the plaintiffs in Horse, none

21      of these three complain that they were pepper sprayed or

22      assaulted.

23                   They've brought a class action lawsuit against the

24      District of Columbia, Chief of Police Peter Newsham, and ten

25      members of the MPD; Lamar Green, Robert Alder, Jeffrey Carrol,
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 1      Keith Deville, Paul Niepling, Michael Howden, Melvin

 2      Washington, Gregory Rock, Daniel Thau, and Anthony Alioto in

 3      the complaint's paragraphs 8 to 10.        They allege six claims on

 4      behalf of themselves and those similarly situated.

 5                  Claim 1, violation of the Fourth Amendment for false

 6      arrest.    Claim 2, common law false arrest.        Claims 3 and 6,

 7      violations of the First Amendment Assemblies Act and negligence

 8      per se based on the First Amendment Assemblies Act.              Claim 4 is

 9      a violation of the First Amendment.        And 5 is a violation of

10      the Fourth and Fifth Amendments for the conditions of

11      confinement.

12                  Schultz and Baker purport to represent the false

13      arrest class in paragraph 5 and -- how do I pronounce his name?

14                  MR. LIGHT:    Contompasis.

15                  THE COURT:    You added a syllable.

16                  MR. LIGHT:    Contompasis.

17                  THE COURT:    -- represents the confinement class.

18                  Do you need a break?

19                  THE COURT REPORTER:     Is it much longer?

20                  THE COURT:    It's really not that much longer.          It's,

21      like, nine, ten pages with my big print.

22                  THE COURT REPORTER:     Let's finish.

23                  THE COURT:    And, really, if you need one, just

24      holler.

25                  Defendants move to dismiss all claims under Rule
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 83 of 98    83


 1      12(b)(6), at docket 12.      For the reasons set forth in Horse

 2      versus District of Columbia, 17-CV-1216, the motions will be

 3      denied as to Count 1, arrest without probable cause; Count 2,

 4      common law false arrest; and Count 5, violations of the Fourth

 5      and Fifth Amendments regarding the conditions of confinement.

 6                  The municipal liability claims in Counts 1 and 5 will

 7      be permitted to proceed on the failure to supervise and failure

 8      to train theory, but not on the theory that the chief was a

 9      final policy maker.

10                  Counts 3, 4, and 6 warrant additional discussion

11      because there the factual allegations vary from the Horse

12      factual allegations.

13                  With respects to Count 3 and 6, negligence per se

14      arising out of violations of the First Amendment Assemblies

15      Act, they allege violations of six provisions, but the

16      provisions they rely on are not the same as those in Horse,

17      although there was some overlap.

18                  As stated earlier, with respect to Horse, there is no

19      private cause of action under the statute, so plaintiffs can't

20      proceed on that ground.      And plaintiffs cannot proceed on a

21      negligence per se theory because the provisions they rely on

22      are either not meant to promote public safety or they don't set

23      forth specific guidelines that govern behavior under the test

24      set forth in McNeil Pharmacy versus Hawkins, 686 A.2d 567.

25                  One of the provisions plaintiffs rely on is
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 1      § 5-331.04(c), which states:       No time, place, or manner

 2      restriction regarding a First Amendment assembly shall be based

 3      on the content of the beliefs expressed or anticipated to be

 4      expressed during the assembly, or on factors such as the attire

 5      of appearance of persons participating or expected to

 6      participate in an assembly, nor may such restrictions favor

 7      non-First Amendment activities over First Amendment activities.

 8                  Plaintiffs cannot bring a negligence per se claim

 9      under this particular provision because it is not a public

10      safety provision.     Rather, this provision, instead of promoting

11      public safety, is meant to ensure that police don't infringe on

12      individual's First Amendment rights.

13                  The five other provisions plaintiffs rely on for

14      their negligence per se claims are:        § 5-331.07(c), which says:

15      Where participants in a First Amendment assembly, or other

16      persons engaged in unlawful disorderly conduct, violence

17      towards persons or property, or unlawfully threatened violence,

18      the MPD shall, to the extent reasonably possible, respond by

19      dispersing, controlling, or arresting the persons engaged in

20      such conduct, and not by issuing a general order to disperse.

21                  § 5-331.07(b)(1), where participants in a First

22      Amendment assembly fail to comply with reasonable time, place,

23      and manner restrictions, the MPD shall to the extent reasonably

24      possible, first seek to enforce the restrictions through

25      voluntary compliance and then seek, as appropriate, to enforce
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 85 of 98    85


 1      the restrictions by issuing citations or arresting.

 2                  § 5-331.07(e)(1), if and when the MPD determines that

 3      a First Amendment assembly shall be dispersed, they shall issue

 4      at least one clearly audible and understandable order to

 5      disperse using an amplification system or device and shall

 6      provide the participants a reasonable and adequate time to

 7      disperse and a clear and safe route for dispersal.

 8                  § 5-331.08, no emergency area or zone will be

 9      established by using a police line to encircle them, except

10      where there is probable cause to believe that a significant

11      number or percentage of the persons have committed unlawful

12      acts, the police have the ability to identify them, have

13      decided to arrest them.

14                  And then § 5-331.12(b)(2), the MPD shall provide to

15      any person not released within a reasonable time of arrest food

16      appropriate to the person's health.

17                  All these provisions use non-specific words and

18      phrases such as "reasonably possible," "as appropriate," "if

19      and when the MPD determines," "adequate time," "probable

20      cause," "significant number," "ability to identify,"

21      "reasonable time," and "appropriate."         These statutes give the

22      MPD considerable discretion and it would be difficult to

23      evaluate a negligence claim using these as standards of care

24      without resorting to the general standard of reasonableness

25      required.    And I think I set forth all the cases that require
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 86 of 98         86


 1      that fully already.      Therefore, these provisions can't serve as

 2      a basis for the Schultz plaintiffs' negligence per se claim.

 3                  Plaintiffs say if they can't allege negligence

 4      per se, then they can allege general negligence and should be

 5      afforded the opportunity to demonstrate what the applicable

 6      standard of care was through expert testimony.

 7                  But, the plaintiffs haven't pled a general negligence

 8      claim in their complaint.       Their negligence claims are framed

 9      only as negligence per se.       If you look at the complaint at 29,

10      Count 3, negligence per se, violation of the First Amendment

11      Assembly Act.     Count 6, negligence per se, same thing.        The

12      extent to which they allege general negligence is as follows:

13      To the extent that the violations of the First Amendment

14      Assembly Act were not intentional, they were negligent and

15      constitute negligence per se.       That's a far cry from what is

16      required in a complaint to plead general negligence, in which

17      the complaint must specify a negligent act and characterize a

18      breach of the duty which gives rise to liability.

19                  The D.C. Court of Appeals says:        We note that the use

20      of the terms "carelessly and negligently," without more, are

21      conclusory and don't raise a cognizable claim of negligence.

22      D.C. versus Chinn, 839 A.2d 701.        The complaint is devoid of

23      any allegation of a duty that the officers owed to plaintiffs

24      or a breach of that duty.

25                  In their opposition plaintiffs allege for the first
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 1      time that their allegation of negligence is based on the theory

 2      that the defendants' actions leading up to the actual arrest of

 3      Schultz and Baker were negligent.        They state now that the

 4      defendants had a duty to take certain steps to separate the

 5      lawbreakers from the remainder of the individuals present prior

 6      to making arrests and the defendants failed to do so.            They

 7      also argue that MPD officers have a common law duty to exercise

 8      reasonable care under the circumstances for the protection and

 9      safekeeping of arrestees in their custody and control.           But

10      it's well settled that plaintiffs cannot amend their complaint

11      through their opposition.       Thus, they failed to state a claim

12      for negligence or negligence per se, and Counts 3 and 6 are

13      dismissed without prejudice.

14                  Count 4 is the First Amendment violation arrest,

15      protected speech.     Plaintiffs Schultz and Baker claim that

16      Defendant Deville violated their First Amendment rights because

17      he targeted individuals for arrest without probable cause based

18      on their actual or perceived anarchist or anti-capitalist

19      ideology or their association with such individuals.

20      Defendants say the officer is entitled to qualified immunity

21      because he acted pursuant to probable cause and plaintiffs fail

22      to allege a violation of their clearly established rights.

23      Unlike in Horse, defendants do not argue that plaintiffs have

24      failed to allege causation.

25                  As I stated earlier, to establish a claim for
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 88 of 98       88


 1      retaliation under the First Amendment, an individual must prove

 2      that he engaged in protected conduct, the government took some

 3      retaliatory action sufficient to deter a person of ordinary

 4      firmness in plaintiff's position from speaking and there exists

 5      a causal connection between the exercise of a constitutional

 6      right and the adverse action taken against him.          That's the Doe

 7      case from this circuit that I cited earlier.

 8                  Plaintiffs have a clearly established First Amendment

 9      right to be free from arrest without probable cause based on

10      their speech, and plaintiffs have asserted enough facts to

11      show, as in Horse, that the arrest itself was not based on

12      probable case.     Furthermore, unlike the First Amendment claim

13      in Horse, plaintiffs in the Schultz complaint have alleged that

14      Officer Deville arrested individuals because they were

15      demonstrating.

16                  In paragraph 88 of the complaint, plaintiff alleges

17      that he stated that the group was problematic because they were

18      anarchist or anti-capitalist and that he didn't want the

19      protesters to reach New York Avenue and 11th Street because it

20      was, quote, the footprint of capitalism, close quote.            This is

21      enough to raise an inference of causation.

22                  Therefore, the First Amendment claim in this

23      complaint will not be dismissed.        An analysis of whether the

24      plaintiffs have come forward with the evidence they need will

25      be more appropriate at the summary judgment stage.           Therefore,
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 89 of 98   89


 1      defendant's motion to dismiss, Docket 12, is granted as to

 2      Claims 3 and 6, and the other claims will move forward.

 3                   Now, at this point, as we all know, defendants are

 4      going to have to answer, they're going to have time to do that,

 5      and then the next step is to hold an initial scheduling

 6      conference, guided by a meet and confer report that the parties

 7      submit, giving me a proposed schedule for further discovery in

 8      this case.    And we've already had a lot of discovery, which was

 9      helpful in enabling the plaintiffs to name the defendants in

10      the case.

11                   But, it does seem reasonable and prudent for the

12      parties to take a really hard look at their respective cases

13      now and for the parties to give serious consideration to the

14      early mediation that the District is not usually prepared to

15      undertake.

16                   The criminal case was from inauguration day, which

17      presumably involved individuals who were allegedly more

18      involved in the unrest than these plaintiffs, did not fare well

19      at all.    There's been a lot of public scrutiny of the way the

20      day was managed already.       And from the plaintiffs' perspective,

21      while they may have valid claims that they were wronged, the

22      damages may not be substantial.

23                   So I'm going to ask the parties to inform me, in 30

24      days, when the answer is due, whether they would agree to

25      mediation now with a magistrate judge or through the court's
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 90 of 98         90


 1      mediation program or the circuit mediator herself.

 2                  So think about it.     I think this is a case that cries

 3      out for that sort of result.       And to spend a lot of time and

 4      money on discovery in the meantime may not make a lot of sense.

 5                  Based on what you tell me when the answers are

 6      submitted and this notice is provided to me, then I'll either

 7      set a schedule for the Rule 16.3 report or I will take,

 8      immediately, steps to provide you with the referral that you

 9      seek.

10                  So, that would make your answers due -- when would 30

11      days from today be?      I think it's still September 26, but it's

12      possible that it could be the next day.

13                  THE COURTROOM DEPUTY:      It's Friday, the 27th, Your

14      Honor.

15                  THE COURT:    So October 26th is a Saturday.         So how

16      about October 25th for the answers in this case?           Does that

17      give the District enough time?        I realize that we are talking

18      about a lengthy complaint, so I'm willing to hear you, if

19      that's not enough time.

20                  MR. BLECHER:    They are --

21                  THE COURT:    They are shorter now than they used to be

22      though.

23                  MR. BLECHER:    They are.    Thank you for the

24      opportunity to address the Court.        And thank you for the

25      incredible work that you did in working through all the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 91 of 98       91


 1      allegations.

 2                  In terms of answering the complaint, I thought I just

 3      understood the Court to say that there was going to be a period

 4      of time for the parties to put their heads together and decide

 5      what next steps are.      I thought I heard Your Honor say that

 6      that was a period of time for, in addition to considering

 7      mediation, to propose a date for the answer to the complaint;

 8      that would be our position, if we could think about that.            It

 9      is going to take a considerable amount of time to wade through.

10      I mean, Your Honor knows it's something like 500 total

11      allegations.

12                  THE COURT:    That's fine with me.      If the District --

13      well, I think that would be fine.        But then I don't think -- I

14      don't want to delay things substantially to have you spend

15      other month and come together and say we have no intention of

16      mediating at this phase.

17                  MR. BLECHER:    Of course.

18                  THE COURT:    And then there's another month to answer

19      and then we get around to the Rule 16.3 report.          So I thought

20      the two things could go on a parallel track.

21                  What's the plaintiffs' response?        I mean, if you

22      think that this is the kind of thing that in good faith there's

23      going to be some serious consideration about this, then I would

24      like you to focus on that.       And it's not as if there haven't

25      been -- it hasn't been around for a long time already, for
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 92 of 98         92


 1      reasons through no fault of anyone, for everybody doing what

 2      needs to be done to get this right.

 3                   But what's the plaintiffs' perspective about whether

 4      we can say let's figure this issue out first and then maybe we

 5      could do the answer and the Rule 16.3, if we have to, on the

 6      same track?

 7                   MR. MICHELMAN:    Your Honor, having just conferred

 8      with counsel for the Schultz matter, plaintiffs' position is

 9      that the Court's concern about delay is well taken.              It's very

10      important to us.     That said, we're willing to give the District

11      a short amount of time to think about if they're serious about

12      mediation.

13                   So we would counter-propose that they get two weeks

14      to see if they are serious about mediation, and then their time

15      to answer would need to start so we can get moving on this

16      case.

17                   THE COURT:   All right.    Well, I'm going to split the

18      difference a little bit here because we are talking about an

19      organization and running things up the flagpole and getting a

20      lot of people to think about it, we have some Jewish holidays

21      in the interim.     So I'm going to ask for a status report from

22      the parties on the 18th of October, letting me know if you

23      would like to be referred for mediation.         Obviously, at that

24      point if there's some serious communication still going on and

25      you need some extra time, you'll let me know.          But then, I
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 93 of 98     93


 1      would, at that date, if you're not interested and that's clear,

 2      set a date for the answer and probably the Rule 16 report at

 3      the same time.      So as soon as the answer lands, we're in court

 4      talking about what the schedule will be for further

 5      proceedings.

 6                  Okay.    Is there anything further I need to take up on

 7      behalf of the defense right now?

 8                  MR. BLECHER:    Just a point of clarification, Your

 9      Honor.   So in the status report that the parties file on the

10      18th, we should inform the Court whether mediation will be --

11      is an avenue that the parties are willing to pursue, propose a

12      date for an answer.      And would you prefer -- would the Court

13      prefer that we propose a schedule going forward, or is that

14      something the Court is going to set unilaterally after setting

15      the answer date?

16                  THE COURT:    Well, if you are agreed as of the 18th

17      that the case is going forward, if you want to propose a

18      schedule for your answer and for when the 16.3 report will be

19      due, that will be fine.      The Rule 16 report usually includes,

20      then, the discovery schedule.       And if you want to put all that

21      in there, that's fine.      But that may be a lot to get done by

22      the 18th.

23                  What I would really like to know by the 18th is do

24      you have a desire to be referred for mediation?          And if you do,

25      do you want to go to a magistrate judge?         Do you want to go to
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 94 of 98     94


 1      the court's ADR program, where they tend to bring in a private

 2      lawyer who has some experience with the subject matter?          Or to

 3      have me go directly to our circuit mediator and say this case

 4      is of the magnitude that I would like you to handle it

 5      personally?    Or if you have some other suggestion; you would

 6      like to go to a senior judge?       I've had some success in that

 7      situation.    There are Superior Court judges that occasionally

 8      hear cases here because of the overlap between D.C. claims that

 9      people have looked to.

10                   So, you can be creative.     If you want to bring in an

11      outside mediator, that would, I think, then probably be at the

12      parties' expense.     So, think about it.      If you're serious about

13      it, that's what I need to know on the 18th.          And if you can at

14      that point, tell me when you agree the next things would be

15      due.   If you don't agree, that would be fine, too.

16                   MR. BLECHER:   Thank you, Your Honor.      And if I could

17      just state on the record, since we're all here, the time and

18      energy that it's going to take in the next 21 days or whatever

19      it is to confer with everybody and decide whether this is going

20      to happen is not going to give my colleague nor I a ton of time

21      to be working on answering a complaint --

22                   THE COURT:   All right.    Well, I understand that and I

23      think it's in everyone's interest to have you devote the time

24      and effort to this, thinking this through in a thorough way

25      that considers both sides' interests.         Often at the end of the
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 95 of 98        95


 1      day this is the kind of case that's going to end up with a

 2      negotiated resolution.      And so if there's a way to have it take

 3      less time, that may be beneficial for everybody.

 4                  MR. BLECHER:    Thank you.    The District appreciates

 5      the Court's time.

 6                  THE COURT:    All right.    Anything further I need to

 7      take up for any of the plaintiffs right now?

 8                  MR. MICHELMAN:     Yes, Your Honor.     The Claim 16 is

 9      against a John Doe who has been identified to the Court.         The

10      parties -- with respect to John Doe, the plaintiffs and counsel

11      for Mr. Doe agreed that there would be -- we wouldn't -- we

12      would agree to keep his identity sealed pending Your Honor's

13      ruling.    But I believe the agreement was that his identity

14      would become unsealed should the claim against him proceed.            So

15      I would be asking --

16                  THE COURT:    I don't think we need to decide that at

17      this particular moment.      I think, first, you two need to confer

18      among yourselves to find out if you have an agreement or you

19      don't have an agreement and what the nature of that agreement

20      is.   And if there's a dispute about what happens next and when,

21      then you can bring that to my attention when we start talking

22      about the scheduling order and the meet and confer and all

23      that.   But I don't think I have to decide that at this moment.

24                  MR. MICHELMAN:     Thank you, Your Honor.

25                  THE COURT:    I can't decide anything else today.
     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 96 of 98      96


 1                  MR. MICHELMAN:     And plaintiffs, like the District,

 2      appreciate the Court's thoroughness and time devoted to this

 3      incredibly complicated case.

 4                  THE COURT:    Yes.

 5                  MR. LIGHT:    Your Honor, in the Schultz case we

 6      currently have stayed the deadline for certifying the class.

 7      And I wanted to have that stay extended so the parties can have

 8      the discussions as Your Honor contemplated.

 9                  THE COURT:    Absolutely.    That sounds like a good

10      idea.    All right.

11                  MR. LIGHT:    Okay.   Perhaps we could stay it until

12      the --

13                  THE COURT:    Well, if it's just stayed, it's stayed.

14      It doesn't have to have an end date.

15                  MR. LIGHT:    Okay.   Thank you.

16                  THE COURT:    And that can be part of the scheduling

17      thinking, if we end up moving forward with a schedule.

18                  MR. LIGHT:    I'm not positive, but I seem to recall

19      the stay currently has an end date that's keyed to the

20      resolution of the motion to dismiss.         But if we could just stay

21      it indefinitely for now.

22                  THE COURT:    Right now I'll just stay it.       Let's do it

23      until at least October 18th.       We'll see where we're headed from

24      there.   But I think it's still premature to start dealing with

25      the class allegations.
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 1                  MR. LIGHT:    Thank you, Your Honor.

 2                  THE COURT:    All right.       Okay.   Thank you, everybody,

 3      for your patience.      Especially Janice, who deserves a round of

 4      applause at this point, surviving this afternoon.

 5                  All right.    Thank you, everybody.

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     Case 1:20-cv-01469-DLF Document 98-1 Filed 11/19/20 Page 98 of 98   98


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 2                   CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4           I, JANICE DICKMAN, do hereby certify that the above and

 5      foregoing constitutes a true and accurate transcript of my

 6      stenographic notes and is a full, true and complete transcript

 7      of the proceedings to the best of my ability.

 8                             Dated this 14th day of October 2019

 9

10

11                                  ________________________________

12                                  Janice E. Dickman, CRR, CMR, CCR
                                    Official Court Reporter
13                                  Room 6523
                                    333 Constitution Avenue, N.W.
14                                  Washington, D.C. 20001

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



BLACK LIVES MATTER D.C., et al.,

               Plaintiffs,

       v.
                                                    Case No. 1:20-cv-01469-DLF
DONALD J. TRUMP, et al.

               Defendants.


                                   [PROPOSED] ORDER

       Upon consideration of the Motions to Dismiss Plaintiffs’ Third Amended Complaint filed

by Defendant Barr, the official-capacity federal Defendants, and the District of Columbia

Defendants, ECF 76, 79, 80, and all briefing thereon, it is hereby ORDERED that the motions are

DENIED.



Date: __________                           ___________________________________

                                           Dabney L. Friedrich
                                           United States District Judge
